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  1                     IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF FLORIDA
  2                           WEST PALM BEACH DIVISION
                             CASE NO. 9:18-cv-80176-BB
  3
       IRA KLEIMAN, as the personal representative
  4    of the Estate of David Kleiman, and W&K Info
       Defense Research, LLC,
  5
                   Plaintiffs,                                       November 5, 2021
  6                                                                  9:58 a.m.
                  vs.
  7
       CRAIG WRIGHT,
  8
                 Defendant.                    Pages 1 THROUGH 182
  9    ______________________________________________________________
                          TRANSCRIPT OF TRIAL DAY 5
10                     BEFORE THE HONORABLE BETH BLOOM
                        UNITED STATES DISTRICT JUDGE
11                            And a Jury of 10
       Appearances:
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  1         (Call to order of the Court, 9:58 a.m.)

  2               THE COURT:    Good morning to everyone.

  3               MR. RIVERO:    Good morning, Your Honor.

  4               THE COURT:    How is everyone this morning?

  5               Go ahead and have a seat.

  6               All the Members of the Jury are here.

  7               Are there any issues that we need to address before we

  8    proceed?

  9               MR. BRENNER:     None for the Plaintiffs.

10                MR. RIVERO:    Judge, there is one matter that we do

11     have to address.

12                Well, just to advise the Court, we don't have

13     agreement on the exhibits.            So I'll have to move them

14     individually, and there are quite a number.                           But that's not the

15     issue I wanted to raise with the Court.

16                Your Honor, yesterday there was a ruling concerning

17     the privilege log and I ask the Court to allow me to -- in less

18     than five minutes, but to state our objection on this, because

19     I believe the Court's being led into a serious error.                          The

20     Court issued a decision in Johnson last year, November of 2020,

21     establishing the burden is on the defendant.

22                Judge, yesterday, Mr. Kleiman testified that he had

23     not consulted a lawyer named Warren Brams about litigation --

24     about this litigation.        Warren Brams is referred to nine

25     different times in the privilege log at Page 28 as having been

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  1    consulted in anticipation of litigation --

  2               THE COURT:    And Mr. Rivero, can you tell me the first

  3    time that you received the Plaintiffs' privilege log?

  4               MR. RIVERO:    Your Honor, I don't have the date.                       But

  5    let me just make clear --

  6               THE COURT:    Well, I just want to make clear that I

  7    understand that it was well within the discovery period that

  8    the parties had over the course of years, correct?

  9               MR. RIVERO:    Yes, Judge.               But there's no waiver here

10     at all because we, in fact, questioned -- as to the February 25

11     and the others, we questioned the defense because we saw the

12     dates.

13                And Mr. Brenner affirmed he had reviewed the

14     February 25th matter and confirmed that it was related to

15     litigation.     That, of course, applied to the others.                      We

16     took -- we are entitled to -- Judge, it's not a waiver.                           If we

17     ask counsel and counsel affirms to us this is a proper

18     assertion of privilege, we don't have a basis at that point.

19                It's a well-known counsel who says:                        "This is

20     privileged."     We don't have a basis to come to the Court when

21     we don't know what's behind it.                 We don't -- now, Mr. Brenner

22     did happily make a connection with control numbers.                         We saw the

23     blackouts.

24                Judge, as it turns out, I'm focusing on the April --

25     same problem for February, but clearer as to April.                         This

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  1    gentleman has testified that he did not consult with

  2    Warren Brams about this or any litigation; that -- this is in

  3    his testimony yesterday in the afternoon -- that Warren Brams

  4    is not a litigator; that Warren Brams was hired to do work --

  5    unrelated work as to his father's probate estate.

  6               But Mr. Brams is listed nine times in the privilege

  7    log.   We never learned that until yesterday afternoon when the

  8    issue was raised.

  9               As to the February 25th issue, Judge, we specifically

10     asked Mr. Brenner, Mr. Brenner sent us an email saying:                         "This

11     is the particular document."

12                Can you show the February 25th document to the Court,

13     Mr. Shah.

14                THE COURT:    And is this one of the documents that is

15     listed on the privilege log?

16                MR. RIVERO:    Yes, Your Honor -- no.                      Judge, let me be

17     clear.    The documents are listed on the privilege log -- and

18     I'll show the Court the privilege log -- by control number.

19                THE COURT:    But you're seeking to -- by way of your

20     memorandum that you filed either late last night or very early

21     this morning, you're seeking to introduce the privilege log

22     into evidence.

23                MR. RIVERO:    Judge, there's two possibilities.                     Here's

24     the problem.     There is a serious sword-and-shield problem here,

25     but not as was alleged against us.

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  1               THE COURT:    Well, you've stated the privilege log

  2    should be admitted as evidence, since the date upon which Ira

  3    Kleiman began to anticipate litigation is relevant to

  4    Mr. Wright's defense.

  5               MR. RIVERO:    Judge, we would, of course, accept just

  6    those particular entries because the other entries are not

  7    relevant.    Let me tell the Court why this is so serious.

  8               Judge, the Plaintiff alleges fraud.                        A central element

  9    of the Plaintiffs' case is that he reasonably or, in the common

10     law, detrimentally relied.            But Judge, on February 25, he says

11     in his privilege log that he consulted litigation counsel in

12     anticipation of litigation.

13                In our view, Judge, that destroys any detrimental

14     reliance on anything that Mr. Wright said after -- Dr. Wright

15     said after that date.       But it's not just that.                    On April 25, he

16     consults eight or nine times that I can show you on the

17     privilege log with Warren Brams, and he says it's in

18     anticipation of litigation.

19                Judge, each of those entries destroys any possible

20     claim on the element of detrimental reliance that he could have

21     been defrauded by anything that Craig Wright said; central to

22     our defense.

23                What I seek, Your Honor, is merely to be able to

24     impeach him because either -- there's only two possibilities.

25     Either there is an invalid assertion of privilege -- if that's

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  1    the case, Judge, there's no other choice; the Court has to

  2    allow the evidence in because it's not privileged.                      We didn't

  3    learn of that problem until yesterday afternoon.                      Or Judge,

  4    there was a proper assertion of privilege.

  5               THE COURT:    You didn't learn it until Mr. Kleiman

  6    testified?

  7               MR. RIVERO:    Judge, we did not learn until Mr. Kleiman

  8    testified that --

  9               THE COURT:    But you didn't learn there was an

10     assertion of a privilege?

11                MR. RIVERO:    Judge, they asserted privilege to

12     hundreds of documents --

13                THE COURT:    Right.         But all contained on a privilege

14     log that was provided during discovery, was it not?

15                MR. RIVERO:    Correct, Judge.                   But let me just be very

16     clear.    I had no basis whatsoever until Mr. Kleiman says

17     yesterday, inconsistent with the privilege log, that he did not

18     consult with counsel.       I didn't know that --

19                THE COURT:    So I just want to make sure I understand

20     the argument, Mr. Rivero.

21                You're saying that a layperson, through his testimony,

22     can effectively waive an attorney-client privilege that's been

23     asserted on a privilege log that was provided years before

24     during discovery.

25                MR. RIVERO:    Judge, I want to break it down.

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  1               They gave us a privilege log.                      We had no factual basis

  2    to doubt the assertion by counsel, who we trust.                           When I

  3    finally get a chance to talk to -- that was after the

  4    depositions.     This is later in the process.

  5               When I have a chance to ask Mr. Kleiman, he denies

  6    having consulted with Counsel Brams.                      He denies consulting with

  7    Counsel Brams in April.

  8               It's their burden, Judge, to establish that

  9    there's entitlement.      It's not a matter of waiver.                       They simply

10     can't establish an entitlement to assert privilege when the

11     party says:     "I absolutely did not consult about litigation."

12                Same as to February, when he says:                         "I don't remember

13     consulting about litigation at that time."                            That makes it

14     impossible for them to meet their burden to establish a basis

15     for work product.

16                Judge, I must tell you this -- what I seek is to have

17     the admission of evidence to cross the Plaintiff on a central

18     element of a core claim in the case.                      If that is denied to me,

19     Judge, our fundamental due process rights are being violated

20     here.    And there is -- Judge, that is error, in my view.                            And I

21     wanted to make sure that the Court was aware of it and I want

22     to make sure to make the record.

23                THE COURT:    Response?

24                MR. BRENNER:     Good morning, Your Honor.                      Briefly,

25     let's get the history right.

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  1               Mr. Rivero may not know it because he wasn't involved

  2     in it, but I was.     If you look at the attachments to their

  3     motion, you'll see there was an extensive email back-and-forth

  4     between myself and Mr. Kass.              That email -- those exchanges

  5     took place in March of 2020.

  6               If you look at -- I believe it's the first email

  7     attachment, because that will be the last -- at least from this

  8     motion, it's the end of the trail.                     And I don't remember

  9     anything else, but I'm having my IT folks go back to a year and

 10     a half ago, or whatever that was.

 11               So what happened was, is they started raising this

 12     issue.   And they -- we were going back and forth and I said:

 13     "Mr. Kass, how about we do this?                  Why don't you pick the number

 14     of documents that you want and I'll then do a specific review

 15     of those.    And then I'll give you the answer and then you can

 16     decide what to do."

 17               I don't remember where we started.                          We ended at 30.

 18     The agreement Mr. Kass and I had was 30 documents, which is the

 19     email -- you could see he writes an email on -- it's Page 3 of

 20     8 of the exhibits, of 767-1.              He says:            "Andrew, following up

 21     with this morning's meet and confer, I attached a list of

 22     entries of your privilege log where we are requesting

 23     additional information."

 24               They don't attach the attachment here, but I think we

 25     know what's on the attachment.                I'm having my IT folks look at

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  1     it.   If you look at my email, I then go through all 30 of them.

  2     Although it's not 30.       He chose to do 27.                        That's fine.

  3               Mr. Rivero just told you that one of the specific

  4     documents they challenged here -- or the only one they

  5     challenged here is on his motion at Control 321009 -- 321009.

  6     That is one of the ones.          And I wrote to him about it.                       It's in

  7     Bucket Number 2.

  8               Do you see that, Judge, on the first page of the

  9     exhibits?    It happens to be highlighted?

 10               THE COURT:    I see it.

 11               MR. BRENNER:      I guess they highlighted it here.

 12               And then if you look at Buckets Number 2 and 4 at the

 13     end of the email, I say to them:                  "Here, I honestly don't want

 14     to fight with you guys about this.                     I don't want to involve the

 15     Court if we don't have to.            If you want to look at those, look

 16     at them, take them.

 17               If you look at my email:                  "To try to move this along,

 18     I'm willing to provide you with an opportunity to review an

 19     example from Buckets 2 and 4 with the express agreement that it

 20     shall not be construed as a waiver of privilege over the two

 21     examples or any other documents.

 22               "They will also be limited to attorneys' eyes only and

 23     should be returned to us within 24 hours."

 24               Okay.    So we -- and just so you know, the privilege

 25     issues were litigated in front of Judge Reinhart.                            My

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  1     recollection is, Judge, I know that we litigated privilege

  2     issues.    We had some issues concerning Dr. Wright's assertion

  3     of privilege over documents he was disclaiming that he had

  4     control over.    My recollection is they never raised any of

  5     these issues to Judge Reinhart.                 I can't tell you that with 100

  6     precision.

  7                So that's the history.               That's what happened.        And as

  8     far as I know -- and we got this at 9:00 this morning, and I'm

  9     having my IT folks look at it -- I think this is the end of the

 10     trail.    I think after I make this offer to them, they no longer

 11     follow up.

 12                I also passed a note -- again, I'm always reluctant to

 13     do this without my own eyes, but the log was produced before

 14     the deposition of Ira Kleiman.                And my guess is it's between

 15     his first and second ones.

 16               Judge Reinhart instituted a procedure, which worked

 17     out well, with all honesty, that there were initial depositions

 18     of the parties to sort of identify things and then more

 19     substantive ones.     I'm guessing this is before the substantive

 20     one, but it may have been before both.                        So they had all this.

 21                This reference to this lawyer -- and the name is

 22     Warren -- I forgot the name -- they asked Mr. Kleiman that, and

 23     he said it had to do with his father's estate.

 24                THE COURT:   What is his full name?

 25                MR. BRENNER:     The lawyer?

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  1               THE COURT:    Yes.

  2               MR. BRENNER:      Can I ask my client?

  3               THE COURT:    Well, I think Mr. Rivero knows.                    You said

  4     consulting -- is it --

  5               MR. RIVERO:     Yes, Your Honor.                    It's a lawyer named

  6     Warren Brams, who appears nine times on the entries related to

  7     April 25 -- I think that's 2014 -- Page 28 and I believe Page

  8     29 of the privilege log, which I believe is marked, Your Honor,

  9     as -- just for the record, as 193.                     Defendant's 193.

 10               MR. BRENNER:      And my recollection from the testimony

 11     yesterday is they asked Mr. Kleiman who -- either who is Warren

 12     Brams or what his -- and he said it had something to do with

 13     the -- I can't remember if it was his father -- I think it was

 14     about his father's estate.            I was unclear whether it was

 15     planning for that or something happened after his father

 16     passed.   I just don't recall the precise testimony.

 17               So Judge, you know, as far as whether the privilege

 18     log is admissible evidence, I'm pretty confident it's not.                          But

 19     I can't give you the legal research because I got the motion at

 20     9:00 this morning.

 21               I have one case that someone emailed me as we were

 22     sitting here that stands for that proposition.                        But obviously

 23     if we're going to have that -- that issue, we would like to

 24     have an opportunity to brief it.

 25               But I think it's important to know the history, that

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  1     Defendant made a decision to not challenge any of this stuff.

  2     They made a decision to negotiate over it.                            We did.   At the end

  3     of the negotiation, I didn't say:                   "Well, that's it, we're not

  4     doing anything."     I said:        "If you want to look at them, just

  5     look at them attorneys' eyes only."

  6               The very document they're talking about, I offered

  7     they could look at those.           And this is my -- from reading the

  8     cold emails.    I don't -- honestly, from a year and a half,

  9     could not tell you the minute-by-minute recollection.                            But I'm

 10     just reading what I wrote.

 11               The document they have is in Bucket 2.                          And I told

 12     them I'm willing to provide them with examples -- an example

 13     from each of those.     My recollection is that was it.                         They

 14     moved on.    And now we're in the middle of trial and we're

 15     having to -- instead of using the jury's time, we're having a

 16     big fight over privilege logs.

 17               MR. RIVERO:     Judge, if I may correct --

 18               MR. BRENNER:      I'm sorry.

 19               THE COURT:    All right.              Let's get to the heart of this

 20     issue.   And that is that Mr. Kleiman testified that he did not

 21     meet with Mr. Brams on a certain date.

 22               MR. RIVERO:     He definitely testified he didn't meet

 23     with Mr. Brams.     He also said he did not remember doing

 24     anything in anticipation of litigation in February.

 25               Correcting the record, this email exchange is three

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  1     months after the last deposition of Kleiman.                          And Judge, there

  2     was an offer of one example after 30.                       There were, at the end,

  3     a thousand exhibits.

  4               Counsel and the party have the obligation to make

  5     good-faith assertions of privilege.                     And if the truth and the

  6     fact is that he had not -- he didn't remember doing it and he

  7     did not consult with Brams, it doesn't matter, Judge.                         We did

  8     not waive that.     Counsel represented to us these were

  9     privileged.    Those representations are as important as any

 10     other in this case.

 11               THE COURT:    That's correct.

 12               But with regard to Mr. Brams and whether it was

 13     Mr. Kleiman's father's attorney or Mr. Kleiman's attorney, you

 14     had a full opportunity during the course of discovery not only

 15     to depose Mr. Kleiman, you were able to ask questions with

 16     regard to the relationship between Mr. Kleiman and Mr. Brams.

 17               And let me state that the case law that you have cited

 18     within Docket Entry 767, specifically, you cited to one of my

 19     cases, that was an objection to a magistrate's discovery order.

 20     And each one of these cases was during the course of discovery.

 21               There is a reason why our local rules require that a

 22     privilege log set forth specific information.                         And that is to

 23     allow the parties an opportunity to challenge what's contained

 24     on the privilege log.

 25               As the parties are well aware, this case was filed in

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  1     February of 2018.     Here we are in November of 2021.                  You had a

  2     full opportunity to debate, to object, to bring these matters

  3     to Judge Reinhart during the course of the discovery.

  4               And I do not believe at this stage that it would be

  5     appropriate -- and you have even cited to the case, and the

  6     case applies equally here -- to use -- as I stated at sidebar,

  7     to use the privilege log as a sword as opposed to a shield,

  8     which it should be.     And I don't believe by virtue of the

  9     answers that Mr. Kleiman gave you that it gives you the

 10     opportunity to introduce the privilege log or to seek to

 11     introduce any documents that are contained on the privilege

 12     log.

 13               And I'll put aside the efforts that the parties made

 14     to try to resolve those issues.                 But be that as it may, those

 15     items are on the privilege log.                 And at the end of the

 16     discovery period, they remained on the privilege log unless

 17     they were challenged.

 18               So at this point, Mr. Rivero, if you believe that the

 19     Court has committed error and your fundamental rights have been

 20     violated, then let that be the case.                      But I believe that the

 21     Court has ruled properly with regard to your motion.

 22               MR. RIVERO:     Judge, I --

 23               THE COURT:    And specifically, your motion requesting

 24     reconsideration concerning the work-product privilege and the

 25     admissibility of Plaintiffs' privilege log is denied.

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  1               It is now 10:15 and we're going to bring the jury in.

  2               Mr. Kleiman, if you'll come forward, sir.

  3               MR. RIVERO:     Judge, if I may, one moment.                I don't

  4     argue court rulings.      I just want to make clear for the record,

  5     this is a 38-page privilege log where there was an assertion

  6     that we took in good faith that there was a real basis, and I

  7     understand the Court's ruling.

  8               THE COURT:    And you know the Court's ruling with

  9     regard to the period of time that the Court gave you for

 10     discovery in this case.

 11               All right.    Come forward, sir, and let's bring in the

 12     jury.

 13          (Before the Jury, 10:14 a.m.)

 14               THE COURT:    All right.              Good morning, Members of the

 15     Jury.   Please be seated.         It is good to see each of you.            Happy

 16     Friday.

 17               I know this is a very soggy day and you made your way

 18     through many puddles and flooding and I do appreciate you being

 19     here on time.

 20               I apologize for the delay.                    The fault is all mine.

 21     But we are now ready to proceed.

 22               And let me remind you, Mr. Kleiman, you were

 23     previously placed under oath.

 24               And let's continue with the cross-examination.

 25               MR. RIVERO:     May it please the Court, counsel, Ladies

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  1     and Gentlemen.

  2                         CROSS-EXAMINATION [CONTINUED]

  3     BY MR. RIVERO:

  4     Q.   Good morning, Mr. Kleiman.

  5     A.   Good morning.

  6     Q.   Mr. Kleiman, I want to clarify some things from your

  7     testimony since this afternoon [sic].

  8          One is that you talked about the laptops that your brother

  9     had, including at the hospital.                 Do you remember talking about

 10     that?

 11     A.   Yes.

 12     Q.   All right.    And sir --

 13                 MR. RIVERO:   Mr. Shah, if you could show everyone in

 14     the courtroom the slide Number 21 from the Andreas Antonopoulos

 15     demonstrative.

 16     BY MR. RIVERO:

 17     Q.   Mr. Kleiman, when you went to your brother's home, you did

 18     not find what's sometimes referred to as a "tower" computer

 19     like this one that's shown at the Antonopoulos Slide Page 21,

 20     correct?

 21     A.   That is correct.

 22     Q.   There were three laptops, right?

 23     A.   Yes.

 24     Q.   Those laptops were not so valuable that you tried to resell

 25     them, correct?

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  1     A.   I don't believe I tried to resell my brother's laptops, no.

  2     Q.   Instead what you did was, as to one of them, you tried to

  3     repurpose it for use by your wife?

  4     A.   I tried to install a hard drive so she could use it, yes.

  5     Q.   But you didn't see -- they weren't something so special or

  6     of such great value that you thought you could go onto -- I

  7     forget if it was Craigslist or eBay that you used for the

  8     wheelchair.

  9          You didn't do that?

 10     A.   It's just a normal laptop.

 11     Q.   Okay.   Just a normal laptop.                All right.

 12          All right.    Now, sir, I want to show you Plaintiff's 138,

 13     which you were shown during direct examination.

 14               MR. RIVERO:     Have I got the wrong -- I plainly have

 15     the wrong -- could you take that down, sir.

 16               Let me take a look at that.

 17               Now, if you could show to the witness Plaintiffs' 882,

 18     which I believe is in evidence.

 19               Can we confirm?

 20          (Pause in proceedings.)

 21               MR. RIVERO:     One moment, Your Honor.

 22          (Pause in proceedings.)

 23               MR. RIVERO:     All right.              Let me go to a different

 24     subject while we figure out some exhibit numbers.

 25

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  1     BY MR. RIVERO:

  2     Q.   Do you recall being asked about an email that you were

  3     shown --

  4                 MR. RIVERO:   Mr. Shah, did you have Plaintiffs' 138?

  5     I think I have the wrong number.

  6     BY MR. RIVERO:

  7     Q.   Let me just try it this way:                 Do you remember that in one

  8     of the emails shown to the jury, there was a statement by

  9     Dr. Wright about Satoshi and David Kleiman's death?

 10     A.   I don't remember specifically.

 11     Q.   I'll have to find it for you.

 12          Sir, let's talk about Coin-Exch. for a moment.                       Coin-Exch.,

 13     we saw a bunch of documents about that.                         You discussed

 14     Coin-Exch. over a period of time with Dr. Wright, correct?

 15     A.   Correct.

 16     Q.   In both emails and orally?

 17     A.   Yes.

 18     Q.   All right.

 19          Now, you -- he told you that that was a proposed company to

 20     develop an exchange or trading market for cryptocurrencies,

 21     including Bitcoin, right?

 22     A.   I think that was part of it, yes.

 23     Q.   And he didn't tell you that it was a company formed for the

 24     purpose of inventing Bitcoin, right?

 25     A.   Correct.

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  1     Q.   Bitcoin had already been invented years before, right?

  2     A.   Yes.

  3     Q.   And he didn't tell you that it was a company formed for the

  4     purpose of mining Bitcoin?

  5     A.   No.

  6     Q.   All right.    Its purpose was another; is that right?

  7     A.   I think he also mentioned it had something to do with

  8     creating like the world's first Bitcoin bank.

  9     Q.   Okay.   So a bank and a trading exchange.

 10          All right.    Now, sir, didn't he also tell you that they

 11     had -- that they had put together six million lines of code in

 12     relation to this bank/trading exchange?

 13     A.   Yes.    I recall that.

 14     Q.   As to mining, you do not know whether or not Craig Wright

 15     stopped any Bitcoin mining by the end of 2010, do you?

 16     A.   No.

 17     Q.   You can't put any date on when -- what time frame

 18     Dr. Wright mined Bitcoin?

 19     A.   Just based upon his comments that I've seen.

 20     Q.   You mean in emails?

 21     A.   I think also like Twitter messages.

 22     Q.   Okay.   But from what he told you, or from whatever you

 23     personally know, you don't know during what period of time he

 24     mined, the start date and the end date?

 25     A.   No.

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  1     Q.    All right.   Now, let me --

  2                MR. RIVERO:    Mr. Kass, if I could have the exemplars

  3     and also the demonstrative on the devices.                            We can start with

  4     the digital example.

  5                Mr. Shah, would you show the hard drives to the jury.

  6                Yes.

  7     BY MR. RIVERO:

  8     Q.    Now, Mr. Kleiman, I'm going to try -- I'll hand these as I

  9     go.    Those are exemplars.

 10           Can you tell me --

 11                MR. RIVERO:    Judge, this is for purposes of

 12     identification.     This is a demonstrative.

 13     BY MR. RIVERO:

 14     Q.    This that I've marked D272, you have this --

 15                MR. RIVERO:    May I approach, Your Honor?

 16                THE COURT:    You may.

 17     BY MR. RIVERO:

 18     Q.    Can you tell me:    Does this conform to one of the

 19     examples -- not the examples; the exemplars.                           Let me say this

 20     differently.

 21           Does that exemplar conform to one of the devices that you

 22     have?

 23     A.    It looks similar.

 24     Q.    To which one?

 25     A.    The one on the top right.

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  1     Q.   Okay.   So this one that I've handed you looks to you to be

  2     like this one that's on the top right of the photograph,

  3     correct?

  4     A.   Or the bottom right as well.                  I see two Seagate drives.

  5                 MR. RIVERO:    Your Honor, may I approach and show D275

  6     to the witness?

  7                 THE COURT:    You may.

  8     BY MR. RIVERO:

  9     Q.   All right.    Sir, this is another Seagate.                       You may not be

 10     able to say which is which, but do those two -- are those two

 11     the devices or the kinds of devices we're seeing here and here?

 12     That's the top right and the bottom rightmost devices.

 13     A.   Yes.

 14                 MR. RIVERO:    Your Honor -- all right.                    Your Honor,

 15     just so that the jury can see as best as we can represent, may

 16     I just show the jury what they are, make sure they can see it?

 17                 MR. BRENNER:     Your Honor, I'd like an opportunity to

 18     see the demonstratives.

 19                 THE COURT:    Yes.       Of course.

 20                 MR. RIVERO:    Judge, I'm going to -- my mistake.                    I'll

 21     hand the entire set of devices to Mr. Brenner.

 22                 THE COURT:    That would be helpful.

 23     BY MR. RIVERO:

 24     Q.   So just to be clear, this is what we're talking about --

 25     when we look at this photograph, the devices we're talking

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  1     about, the two on the right, these are Seagate hard drives like

  2     the ones that you have at your house.

  3     A.   Yes.

  4     Q.   And that's what the back looks like?

  5     A.   Yes, it does.

  6     Q.   You know how to work with these, right?

  7     A.   Yeah.   You simply plug it into the computer, format it, if

  8     it needs to be formatted, and then you can install whatever

  9     software you want on it.

 10     Q.   Did you have to do anything like open it to reformat it or

 11     it's just done with the machine itself?

 12     A.   That's just done with the computer.

 13     Q.   Okay.   All right.     Sir, this is --

 14                 MR. RIVERO:   I've marked as 274 -- and Mr. Brenner's

 15     already seen it.     And I think -- let me just -- I think this

 16     is -- the best way to do this is if I can ...

 17          (Pause in proceedings.)

 18     BY MR. RIVERO:

 19     Q.   Sir, I'm going to hand you what's been marked D274 and D271

 20     as exemplar demonstratives.

 21          And tell me if those resemble --

 22          (Court reporter interruption.)

 23                 MR. RIVERO:   Let me repeat it.

 24     BY MR. RIVERO:

 25     Q.   Mr. Kleiman, would you tell me if those two that I have

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  1     handed you -- I'll ask you to read the exhibit numbers because

  2     I don't remember them -- if they appear to be similar to any of

  3     the devices that you have in your possession.

  4     A.    Yes.    D274 appears to be a Western Digital hard drive, like

  5     the top two on the left.

  6     Q.    And the other?

  7     A.    D271 could possibly be like the Hitachi Travelstar on the

  8     bottom left.

  9     Q.    I'm going to show you D273 and ask you if this one doesn't

 10     look like the Hitachi.

 11           If you would hand me back the others, I would appreciate

 12     it.

 13     A.    Yes.    This looks like the Hitachi.

 14     Q.    Okay.   So let me just be clear.                  This one that you're

 15     handing me right now is like the Hitachi that you have.                    And

 16     then you said that D274 looks to be one of the Western

 17     Digitals, right?

 18     A.    Yes.

 19     Q.    Okay.   And sir, D271 is not -- we weren't able to find the

 20     one for the time period.          It has a different label.            But will

 21     you agree with me that D271 is a Western Digital similar to one

 22     of these two?      I don't know if these have the gigabyte numbers

 23     on them.

 24     A.    It could possibly be.

 25     Q.    All right.    Thank you, sir.

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  1          Now, sir, in terms of -- this is -- this is very similar to

  2     what you found in your brother's house?

  3     A.   Yes.

  4     Q.   And then we talked yesterday about --

  5                 MR. RIVERO:   Your Honor, pardon me one moment while I

  6     locate the last ...

  7                 THE COURT:    All right.

  8          (Pause in proceedings.)

  9     BY MR. RIVERO:

 10     Q.   Sir, showing you 266, 263, and 262.                        Are these similar to

 11     the Survivor USBs found on the -- on the photograph that we

 12     have, although their colors are not the same?

 13     A.   Yes.   It appears to be.

 14     Q.   All right.    We don't have an example of this one,

 15     Mr. Kleiman.    So I'll just say that.

 16          And then, sir, these other items, do they appear to be

 17     similar -- if I can have that.

 18          Thank you.

 19          Do they appear to be similar to the items in the

 20     photograph?

 21     A.   Yes.   They appear similar.

 22     Q.   And sir, something that's not in your photograph, you

 23     referred to a Samsung Galaxy from that time period.

 24          This is Defendant's 276.

 25          Do you remember if that's what the phone that your brother

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  1     had looked like?

  2     A.   Yes.    It appears something like this.

  3     Q.   And with the exception of the phone, you have these other

  4     devices in your possession at your home?

  5     A.   Yes, I do.

  6     Q.   And would you agree with me the difference, of course, is

  7     that none of these could potentially contain anything of

  8     your -- that we know of -- none of these could have anything

  9     that belonged to your brother, these exemplars we bought off

 10     the Internet?

 11     A.   Yes.    Those -- I don't believe those could -- yes.

 12     Q.   But the devices that you have in your house may or may not

 13     have data that your brother put on them, right?

 14     A.   They do have data that my brother put on them.

 15     Q.   Now, sir, yesterday, you talked about the fact that when

 16     you -- when you used these devices, that as you used them, you

 17     conceded that you overwrote some data, right?

 18     A.   I might sometimes overwrite my own files, yes.

 19     Q.   Your position is that the only thing you overwrote on these

 20     devices was your own data when you wrote over them?

 21     A.   From what I can recall, yes.

 22     Q.   Okay.    But, sir -- so it's your position that all these

 23     devices, when you get your hands on them, they are completely

 24     empty except for one encrypted TrueCrypt file.                        All these

 25     devices have nothing on them except one TrueCrypt file and,

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  1     therefore, you did not overwrite anything?

  2               MR. BRENNER:      Objection.              Misstates the testimony.

  3               THE COURT:    Sustained.

  4     BY MR. RIVERO:

  5     Q.   All right, sir.    Did the devices have -- any of these

  6     devices have anything on them when you got them from your

  7     brother's house?

  8     A.   Yes, they did.

  9     Q.   Okay.   So they had -- did each one have data on it?

 10     A.   They had some of the forensic software that my brother

 11     would use for his job.

 12     Q.   Well, sir, you say -- so did you actually -- did you

 13     personally go through and find every kind of data that was on

 14     these devices?

 15     A.   I looked through all of the programs that he had on the

 16     drives, yes.

 17     Q.   Okay.   And is it your testimony they're still there or

 18     they're not there, that data?

 19     A.   Oh, I believe they are there, yes.

 20     Q.   And you don't know if you overwrote them or not?

 21     A.   I don't believe that I did.                I don't see why, you know,

 22     that would be necessary.

 23     Q.   Sir, do you recall reading your -- the paper that your

 24     brother wrote with Dr. Wright?

 25     A.   I think I mentioned that I don't think I ever took the time

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  1     to read that paper.     It's a little bit more advanced.                    I

  2     wouldn't understand the technical stuff from that.

  3     Q.   But you were concerned that you were throwing papers out

  4     and formatting certain drives after you talked to Dr. Wright?

  5     A.   I was concerned about throwing out anything, not just

  6     drives, but just -- you know, at that point -- you know, I

  7     didn't know where Dave could have possibly stored these things.

  8     I'm just ...

  9     Q.   Now, you know -- I assume you know today that the public

 10     address -- I'm sorry, a private key -- a private key for

 11     Bitcoin would be 77 characters of letters and numbers.                       You

 12     understand that, right?

 13     A.   Yes.

 14     Q.   Okay.   So when you threw out papers, can you tell us

 15     whether you saw on any of those papers any 77-number list of

 16     numbers -- or I'm sorry -- list of numbers and letters?

 17     A.   I don't recall seeing anything like that, no.

 18     Q.   And, in fact, it's possible since -- you don't recall that

 19     you could have thrown away something with such a -- with such

 20     characteristics?

 21     A.   Anything is possible, but it's highly unlikely.                      I mean,

 22     again, my brother was a security professional.                        He's not just

 23     going to keep something very valuable like that laying around

 24     his house.

 25     Q.   What would be more likely is that he would put it on a

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  1     military specification device like this, is it not?

  2     A.   I don't know.    I think if I were him, I would probably keep

  3     it in a safe.

  4     Q.   Now, you definitely do not remember seeing any research

  5     papers among the papers that you threw away?

  6     A.   What type of research -- no.                 I don't recall seeing any

  7     research papers, no.

  8     Q.   And you don't remember -- you didn't come across his work

  9     papers?

 10     A.   I think I mentioned I came across like some old papers from

 11     when he worked in the police force and some things related to

 12     the Security Doc company he worked for.                         But aside from that, I

 13     don't recall.

 14     Q.   But you didn't come across any work papers; isn't that

 15     right?

 16     A.   Those were the only work papers -- yes.

 17     Q.   And you threw the papers out because you thought they were

 18     unnecessary?

 19     A.   Which papers are you referring to?

 20     Q.   The papers you threw out.

 21     A.   Yeah.    Lots of just -- like mail and things that didn't

 22     look like I needed to keep.

 23     Q.   Now, you then -- thereafter, you regularly used these

 24     drives, right?

 25     A.   Yes.    As my personal storage devices, yes.

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  1     Q.   And you do not know as to any of these devices, hard drives

  2     or otherwise, whether any had encrypted partitions.                       You don't

  3     know.

  4     A.   The only encrypted thing that I saw on that was that one

  5     file that said:     "Do not delete." Aside from that, I don't

  6     know.

  7     Q.   There's an important distinction I'm making, Mr. Kleiman.

  8     I understand that you say that all you saw was one encrypted

  9     file.   But you can't tell the jury, and you don't know, if

 10     these devices were set up by your security -- computer security

 11     brother with encryption partitions.                     You don't know?

 12     A.   No.   I don't know.

 13     Q.   And prior to litigation, you never got any professional

 14     help to try to open that TrueCrypt file that you did see.

 15     A.   Once Craig told me about all this, I realized that, you

 16     know, this is potentially very valuable and sensitive

 17     information.    Who am I supposed to trust with that?

 18          And the only person I wanted to trust was Dr. Wright.

 19     Q.   Sir, but by April 15, 2015, you had lost trust in

 20     Dr. Wright, had you not?

 21     A.   I wouldn't say I completely -- I started having questions

 22     at that point.

 23     Q.   Sir, didn't you say -- didn't you say that:                      "Up until

 24     April 15, I was a complete believer in what you were telling

 25     me"?

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  1     A.   That is correct.

  2     Q.   But starting on April 15, you were no longer a complete

  3     believer, right?

  4     A.   At that point, I started to ask him questions.

  5                 MR. RIVERO:    Well, let me show you what's been marked

  6     as Plaintiffs' 157.

  7                 Mr. Shah, not for the jury at this point.

  8     BY MR. RIVERO:

  9     Q.   Mr. Kleiman, this is an email exchange between you and

 10     Dr. Wright?

 11     A.   Yes.

 12                 THE COURT:    It's in evidence, Mr. Rivero.

 13                 MR. RIVERO:    Thank you.

 14                 If we can show the jury.

 15                 Mr. Shah, if you could move up to the second page.

 16                 And keep going.

 17                 I'm sorry.    Go -- yes.

 18                 Go to the "Ira Kleiman," the next page.

 19                 MS. MCGOVERN:      Andres, could you please publish?

 20                 MR. RIVERO:    Oh, I'm sorry.                  I couldn't hear the

 21     question.

 22                 THE COURT:    What was the question?

 23                 MS. MCGOVERN:      Andres, could you please publish?

 24                 MR. RIVERO:    Oh, I'm sorry.                  I didn't know where the

 25     question was coming from.

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  1                 Oh, I'm sorry.      Could you publish to the jury?         I

  2     apologize.

  3                 Yeah.   I'm sorry.

  4                 And Mr. Shah, if you could, go to the page that at the

  5     bottom ends in 9179.

  6     BY MR. RIVERO:

  7     Q.   All right.     So let's see what -- this is your email to

  8     Dr. Wright on April 23rd, right?

  9     A.   Yes, it is.

 10     Q.   And you said to Dr. Wright:                "The information I have to

 11     work with is what you have told me and the documents from the

 12     ATO office."

 13          You were already in touch with the Australian Taxation

 14     Office by April 23, right?

 15     A.   I don't recall the exact date that they reached out to me.

 16     Was that April 15?

 17     Q.   Well, sir, I'm referring to your email of April 23.

 18          Isn't it clear, by April 23, you have documents from the

 19     ATO?

 20     A.   Yes.   They sent me a questionnaire, along with different

 21     contracts and -- yes.

 22     Q.   And is it your recollection that was on April 15?

 23     A.   I believe it was.

 24     Q.   All right.     So you had been dealing -- for two months, you

 25     had been dealing with Dr. Wright, correct?

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  1     A.   Yes.

  2     Q.   But on April 15, you get a set of documents that you hadn't

  3     seen before?

  4     A.   Correct.

  5     Q.   From the ATO?

  6     A.   Yes.

  7     Q.   And you say, "From those documents, it appears clear to see

  8     a systematic transfer of assets out of W&K back to you."

  9          That's what you said, right?

 10     A.   Yes.

 11     Q.   And then you say:      "Up until April 15, I was a complete

 12     believer in what you were telling me, but you never mentioned

 13     any of the actions you were taking against W&K prior to

 14     contacting us."

 15          That's what you said, right?

 16     A.   Right.

 17     Q.   So sir, at that point, you had suspicions about Dr. Wright?

 18     A.   Yes.

 19     Q.   All right.

 20                 MR. RIVERO:   Let's look at the page before, Mr. Shah.

 21     BY MR. RIVERO:

 22     Q.   This is -- okay.     Now here, he answers you.

 23          And then you say to him:             "It's not about information they

 24     fed me.     It's about contracts that you signed and agreements

 25     that don't seem logical."

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  1          And you go on:    "I don't understand why Dave would make

  2     that agreement with you for a business divorce why would a

  3     successful partner suddenly separate and leave one partner with

  4     everything of accountable value and the other with only

  5     10 percent in a future venture and an undisclosed amount of

  6     Bitcoins," and it goes on, right?

  7     A.   Yes.

  8     Q.   You're telling him you don't trust him?

  9     A.   I'm telling him that I'm starting to have questions.

 10     Q.   And isn't it true that shortly after April 23 you went to

 11     see a lawyer to plan on litigation?

 12     A.   No.    That's not correct.

 13     Q.   Let me show you -- let me show you --

 14                 MR. RIVERO:    Only to the witness, counsel, and the

 15     Court, please.     RM850.

 16     BY MR. RIVERO:

 17     Q.   And sir, I'm going to direct you -- this is just --

 18                 MR. BRENNER:     Your Honor, may I just have a moment to

 19     read the exhibit?     This is not on the exhibit list.

 20                 MR. RIVERO:    You know what, Judge?                       Actually, let me

 21     take this down.     I'm realizing --

 22     BY MR. RIVERO:

 23     Q.   Do you remember --

 24                 MR. RIVERO:    If you can show it just to Mr. Brenner,

 25     that would be good.

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  1               THE COURT:    What exhibit number is this?

  2               MR. RIVERO:     It's not an exhibit number, Judge.                   So I

  3     just realized I'm trying to refresh recollection, if it's

  4     necessary, so I didn't make the proper foundation.

  5               THE COURT:    All right.

  6     BY MR. RIVERO:

  7     Q.   Sir, do you remember that you told a reporter that you had

  8     doubts with -- in Dr. Wright within a couple of months after

  9     you were in communication with him?

 10     A.   I don't remember that.

 11     Q.   Okay.   So let me show you what is RM850.

 12               MR. RIVERO:     Your Honor, for identification, we'll

 13     mark it as Defendant's 1005.

 14               MR. BRENNER:      How many pages is this?

 15               MR. RIVERO:     I don't know.                 So I'll ask Mr. Shah to

 16     just advance to allow --

 17               MR. BRENNER:      Okay.         Hold on.            Please start from the

 18     last page and then come up, since it will be in order.

 19               THE COURT:    This is the first time that this is being

 20     shown to counsel?

 21               MR. RIVERO:     No, Judge.              It's a document produced in

 22     discovery.

 23               THE COURT:    Right.          Is it on anyone's exhibit list?

 24               MR. RIVERO:     No, Your Honor.                   It's solely for the

 25     purpose of refreshing recollection.                     He has said he does not

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  1     recall having a conversation with a reporter.

  2                THE COURT:    All right.             Let's continue.

  3                MR. BRENNER:     Okay.         You could scroll to the next

  4     page, please.

  5          (Pause in proceedings.)

  6                MR. BRENNER:     Next page, please.

  7          (Pause in proceedings.)

  8                MR. BRENNER:     Next, please.

  9          (Pause in proceedings.)

 10                MR. BRENNER:     This is being used to refresh

 11     recollection?

 12                MR. RIVERO:    Yes, it is.

 13                MR. BRENNER:     Okay.

 14     BY MR. RIVERO:

 15     Q.   All right.    Sir, you had a chance to look at the email.

 16     Does that refresh your recollection that you said to a reporter

 17     later --

 18                MR. BRENNER:     Your Honor, that's not -- he can't read

 19     the contents of the document.               You can ask the witness to look

 20     at the document, ask him to refresh his recollection of the

 21     previous question.      You can't ask a new question.

 22                THE COURT:    That's right.

 23                Reask your question, please.

 24     BY MR. RIVERO:

 25     Q.   Okay.   So having looked at the document, do you recall that

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  1     after a couple of months' communications with Craig Wright, you

  2     soon learned that you couldn't trust him?

  3     A.   Could you repeat that, please.

  4     Q.   Yeah.

  5          Did you -- sir, did you -- did you determine within a

  6     couple of months that you couldn't trust Dr. Wright?

  7     A.   No.   I didn't.    At that point, I started having questions.

  8     Q.   Okay.   Changing subjects, sir.

  9                MR. RIVERO:    Going back to Plaintiffs' 139 -- If we

 10     could show the Court, counsel, and Mr. Kleiman.

 11                Could you scroll down.

 12                And it may be lengthy.               Keep scrolling.

 13                Page 4, Mr. Shah.

 14     BY MR. RIVERO:

 15     Q.   Okay.   Sir, do you recall that you were shown

 16     Plaintiffs' 139?

 17                MR. RIVERO:    I'm not sure if it's in evidence.

 18                THE COURT:    It is not in evidence.

 19                MR. RIVERO:    It is not in evidence.

 20                THE COURT:    Is there any objection to the introduction

 21     of 139?

 22                MR. BRENNER:     If you could -- no, Your Honor.           I

 23     thought -- no, Your Honor.

 24                THE COURT:    Are you seeking to admit it at this time?

 25                MR. RIVERO:    Yes, Judge.

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  1                 THE COURT:    All right.            It's in evidence.

  2          (Plaintiffs' Exhibit 139 received into evidence.)

  3     BY MR. RIVERO:

  4     Q.   Mr. Kleiman, looking at Page 4, do you remember that you

  5     were asked about the statement --

  6                 MR. RIVERO:   If you would highlight it.

  7     BY MR. RIVERO:

  8     Q.   -- "Satoshi was a team.            Without the other part of that

  9     team, he died."

 10          Do you remember that?

 11     A.   Yes.

 12     Q.   And do you remember that what you said was that you either

 13     understood or you talked to Dr. Wright about -- that what he

 14     told you was that when Dave died, Satoshi died?

 15     A.   That's what I understood, yes.

 16     Q.   All right.    Sir, are you aware that the last public

 17     appearance anywhere of Satoshi Nakamoto was on December 12,

 18     2010?   Did you know that?

 19     A.   I may have seen that somewhere, yes.

 20     Q.   Did you see it in your expert's -- your expert's

 21     demonstrative shown to the jury at Slide 5?

 22     A.   No, I didn't.

 23                 MR. RIVERO:   If we can show that to the jury,

 24     Mr. Antonopoulos -- I mean Mr. Shah.

 25

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  1     BY MR. RIVERO:

  2     Q.    All right, sir.    Let me ask you:                  Are you aware that your

  3     expert, who claims to be an expert on the history of Bitcoin,

  4     says the last time that Satoshi appeared in public was

  5     December 12, 2010?

  6     A.    I wasn't aware of that.

  7     Q.    All right.   And that's -- I'm sorry.                       I said that wrong.

  8     Let me make sure I said it right.

  9           December 12th, 2010, right?

 10     A.    Okay.

 11     Q.    Do you understand your expert said that?

 12     A.    I didn't know that.       No.

 13     Q.    You're looking at the slide from your expert.                       Can you read

 14     it?

 15     A.    Yes.

 16     Q.    What does it say?

 17     A.    "Last public post to use known Satoshi alias."

 18     Q.    Would you agree with me that's about 28 months before your

 19     brother's death?

 20     A.    Okay.

 21     Q.    Would you agree?

 22     A.    Yes.

 23     Q.    All right.   So sir, do you know of anything else that was

 24     done by Satoshi after December 12, 2010?                          Do you know -- have

 25     any personal knowledge of anything done after that date?

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  1     A.   I believe he had a lot of other email communications with

  2     other people.

  3     Q.   So you believe there were email communications after

  4     December 12, 2010?

  5     A.   I don't believe they were public communications, but

  6     private ones, yes.

  7     Q.   Okay.

  8                 MR. RIVERO:   Now, let's go back to what we were

  9     looking at, Plaintiffs' 139.

 10                 And if we could go to Page 4.

 11     BY MR. RIVERO:

 12     Q.   You were asked as to this --

 13                 MR. RIVERO:   If you can go to the -- to Mr. Wright's

 14     statement in the second paragraph, second sentence.

 15     BY MR. RIVERO:

 16     Q.   "Dave could edit his way through hell and back."                     Right?

 17     A.   Yes.

 18     Q.   When you were asked about that, you said that was a

 19     reference to editing code.            That's what you said?

 20     A.   I don't remember saying that, if I did.

 21     Q.   Okay.   The document does not say:                     "Editing code," does it?

 22     A.   This document?    No.

 23     Q.   All right.    And sir, the March 12 email --

 24                 MR. RIVERO:   If -- Mr. Shah, I believe it's

 25     Plaintiffs' 2.     But I'm not sure from memory.

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  1                 My memory's better than I hoped.

  2                 Mr. Shah, could you show -- just highlight the first

  3     phrase.

  4     BY MR. RIVERO:

  5     Q.   It says:    "I need your help editing a paper."                   Right?

  6     A.   Yes, it does.

  7     Q.   It does not say:      "I need your help editing code," does it?

  8     A.   No.

  9                 MR. RIVERO:    Your Honor, I need to go through the

 10     proposed documents.       So I would do that at this point, if I

 11     may.   I'll do them one by one, Your Honor?

 12                 THE COURT:    The proposed documents?

 13                 MR. RIVERO:    Yes.        I'm just going to -- Judge, I just

 14     wanted to advise the Court I'm going to move the admission of a

 15     number of documents with the witness at this point.

 16                 THE COURT:    All right.

 17                 MR. RIVERO:    All right.              Would you please show the

 18     witness Defendant's 30, and counsel and the Court, of course.

 19     BY MR. RIVERO:

 20     Q.   All right.    Sir, looking at Defense 30, is this an email

 21     from Dr. Wright to dave@davekleiman.com?

 22     A.   It appears to be.

 23     Q.   Okay.    And it has a Craig Wright email address,

 24     craig.wright@information-defense.com?

 25     A.   Yes.

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  1                 MR. RIVERO:    Judge, I would move the admission of

  2     Defense 30.

  3                 MR. BRENNER:     Your Honor, objection.                       Hearsay and

  4     Rule 602 with this witness.

  5                 THE COURT:    The objection is overruled.

  6                 It will be admitted into evidence.

  7          (Defendant's Exhibit 30 received into evidence.)

  8                 MR. RIVERO:    Mr. Shah, if you could show the witness

  9     Defense 59.

 10                 Oh, I'm sorry.       You know what?                  Since we're here,

 11     please show the jury Defense 30.

 12     BY MR. RIVERO:

 13     Q.   All right.    Sir, this is an email between Dr. Wright and

 14     David Kleiman on June 8th, 2008 -- sorry -- 2010.                             And do you

 15     see they're talking about --

 16                 MR. RIVERO:    Can you show the whole thing?

 17                 It's just one page.

 18     BY MR. RIVERO:

 19     Q.   They're talking about stitches being removed and then a

 20     question about the glass being half full.                              And they start

 21     talking about the glass.           Do you see that?

 22     A.   Yes.

 23     Q.   No mention of Bitcoin, the invention or mining of Bitcoin,

 24     is there?

 25     A.   Not in this email, no.

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  1     Q.    All right.

  2                MR. RIVERO:    Can you show the witness Defendant's 59.

  3     BY MR. RIVERO:

  4     Q.    Sir, is this from your brother's email address,

  5     dave@davekleiman.com to Dr. Wright, an email on February 15th,

  6     2011?

  7     A.    Yes, it is.

  8                MR. RIVERO:    Judge, I would move the admission of

  9     Defense 59.

 10                MR. BRENNER:     No objection.

 11                THE COURT:    Admitted into evidence.

 12           (Defendant's Exhibit 59 received into evidence.)

 13                MR. RIVERO:    All right.              Judge, D72.

 14     BY MR. RIVERO:

 15     Q.    Sir, is that an email from Craig Wright --

 16     craig.wright@information-defense.com to dave@davekleiman.com?

 17     A.    It appears to be.

 18                MR. RIVERO:    And Judge, move the admission of

 19     Defense 72.

 20                MR. BRENNER:     Your Honor, objection on relevance, 602

 21     grounds and hearsay.

 22                MR. RIVERO:    Judge, this is a communication between

 23     the --

 24                THE COURT:    I understand what it is.                     Let me look at

 25     it.

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  1          (Pause in proceedings.)

  2                 THE COURT:    The objection is overruled.

  3                 It will be admitted into evidence.

  4          (Defendant's Exhibit 72 received into evidence.)

  5                 MR. RIVERO:    If we can show it to the jury.

  6                 I'm sorry.    And can you show us the number, Mr. Shah?

  7                 72.

  8     BY MR. RIVERO:

  9     Q.   And do you see that this is -- Craig Wright is sharing a --

 10     is sharing a research idea with Mr. Kleiman?

 11     A.   Yes.    I see that.

 12     Q.   And so that research idea has nothing to do with Bitcoin,

 13     does it?

 14     A.   I don't believe so.

 15     Q.   Would you agree with me that, as friends, Mr. Wright and

 16     Mr. Kleiman would talk about different potential things they

 17     could work on together?

 18     A.   Yes.

 19     Q.   Let me show you --

 20                 MR. RIVERO:    Defense 73, Mr. Shah.

 21                 MR. BRENNER:     Can you just go to the second page,

 22     please.

 23          (Pause in proceedings.)

 24                 MR. BRENNER:     Okay.         And the first page, please.

 25          (Pause in proceedings.)

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  1     BY MR. RIVERO:

  2     Q.   Mr. Kleiman, do you see this is an email exchange from

  3     dave@davekleiman.com to Craig Wright, same email address, and

  4     also Lynn Wright at the information-defense.com site?

  5     A.   Yes, I see it.

  6                 MR. RIVERO:    Judge, move the admission of Defense 73.

  7                 MR. BRENNER:     No objection.

  8                 THE COURT:    Admitted into evidence.

  9          (Defendant's Exhibit 73 received into evidence.)

 10                 MR. RIVERO:    And I actually want to show the jury this

 11     one and talk about it.

 12                 If we can go to the beginning, Mr. Shah, which is the

 13     bottom.

 14     BY MR. RIVERO:

 15     Q.   Mr. Kleiman, now, you remember that we established that the

 16     formation of W&K is Valentine's Day 2011?

 17     A.   Yes.

 18                 MR. RIVERO:    Your Honor, I think Defense will be able

 19     to see it here, but I want to ask if the Court can see if I

 20     write anything here.

 21                 THE COURT:    I can see it.

 22                 MR. RIVERO:    Okay.         All right.

 23     BY MR. RIVERO:

 24     Q.   So this is the formation of W&K.

 25          And do you see that Mr. Kleiman writes to Mr. Wright and

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  1     Mrs. Wright and says:       "Is going through apparently YouApp.

  2     Must go postal mail for an LLC" and then has some information

  3     about the formation of an LLC?

  4           And then at the last paragraph --

  5                MR. RIVERO:    You can show it.

  6     BY MR. RIVERO:

  7     Q.    "Shown below are forms to assist you in filing with the

  8     Division of Corporations."

  9                MR. RIVERO:    Can you highlight that.

 10     BY MR. RIVERO:

 11     Q.    "You have two choices:          Print out the selective form and

 12     prepare it or fill in the form online, then print it out."

 13           Do you see that?

 14     A.    Yes, I do.

 15     Q.    All right.   Let's see what they say in response.                      That was

 16     on Monday, February 14.         Actually, it's David Kleiman following

 17     up.    It looks like it's a couple of hours later.

 18           He says:   Hmm.   I'm all ears on suggestions, but I see no

 19     way of filing for LLC or non-profit in time.                          Do you have any

 20     ideas?"

 21           And then he says:     "I have files, three fictitious business

 22     names.    I can easily apply for another, if needed."

 23           Do you see that?

 24     A.    Yes, I do.

 25     Q.    All right.   Sir, you're aware that in the Computer

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  1     Forensics company that your brother had with Carter Conrad and

  2     Patrick Paige, there was an operating agreement?

  3     A.   Yes.    I think I've seen something like that, yes.

  4     Q.   And there were the formalities that one would expect to see

  5     for a corporation?

  6     A.   Yes.

  7     Q.   Do you see here that your brother is proposing the

  8     formalities for the formation of an LLC, including filing with

  9     the Department of Corporations?

 10     A.   Yes.

 11     Q.   And do you see that he's talking about the use of a

 12     fictitious name for a corporation?

 13     A.   Correct.

 14     Q.   Okay.    Let's see what happens in response.

 15          So then, Mr. Kleiman, there's no response back, but he

 16     says:   "I sent an email to see if there's an expedited or

 17     online way to accomplish.            In any case, how about a name?"

 18          Do you see that?

 19     A.   Yes.

 20     Q.   Okay.

 21                 MR. RIVERO:    Now, let's move, then, to Defense 74.

 22                 This is a joint exhibit, Judge.                        I move its admission.

 23                 THE COURT:    Admitted into evidence.

 24          (Joint Exhibit 12 received into evidence.)

 25                 MR. RIVERO:    If we can go to the bottom of the email.

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  1     BY MR. RIVERO:

  2     Q.   All right.    So here, Mr. Kleiman is saying to Craig Wright

  3     and Lynn Wright:     "Last page of attached.                          Do I think I can

  4     list you as manager" -- sorry.                Sorry.          I misread that.

  5          "Do you think I can list you as MGR or MGRM with a foreign

  6     address?"

  7               THE COURT:    Let me just correct the record.                         This is

  8     Joint 12 and not Defense 74.

  9               MR. RIVERO:     Judge, I apologize.

 10               THE COURT:    Joint 12 is admitted into evidence.

 11          (Joint Exhibit 12 previously received into evidence.)

 12               MR. RIVERO:     Thank you, Your Honor.                        It's Joint

 13     Exhibit 12.

 14     BY MR. RIVERO:

 15     Q.   And I'm referring to the last -- to the first email where

 16     David Kleiman writes:       "Last page of attached.                       Do you think I

 17     can list you as MGR or MGRM with a foreign address?                            They would

 18     kick it back," question mark.

 19          Do you see that?

 20     A.   Yes, I do.

 21     Q.   Do you know if -- do you know about your brother's

 22     discussing the matters about the formation of this

 23     corporation -- we haven't seen the name of it yet, this

 24     corporation With Craig Wright and Lynn Wright?

 25     A.   Just from these emails.

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  1     Q.   Okay.   Then Mr. Kleiman writes in the following one:                           "It

  2     is under vendor registration that it requested," D-U-N-S,

  3     "DUNS.   See," and then there's a site, correct?

  4     A.   Yes.

  5     Q.   Do you know what "DUNS" is?

  6     A.   No, I don't.

  7     Q.   And then, Mr. Kleiman, he's following up.                          He says to

  8     Dr. Wright and to Mrs. Wright:                "Are either of these your

  9     current addresses?"       And he lists two Australian addresses,

 10     correct?

 11     A.   Yes.

 12     Q.   And then Dr. Wright writes back.                     He says:       "The

 13     51 Cowangarra Road in Bagnoo.               The other is not any longer."

 14     Right?

 15     A.   Yes.

 16     Q.   Okay.   And let's see the --

 17                 MR. RIVERO:    If we can keep going.

 18     BY MR. RIVERO:

 19     Q.   Further discussion, would you agree with me, sir, about --

 20     I'm sorry.

 21          Now, if we look at the attachment's name, we're going to

 22     see it says:    "W&K Info Defense Research."                          Do you see that?

 23     A.   Yes, I do.

 24     Q.   All right.    So do you understand that they were going back

 25     and forth about the formalities of how to open up a corporation

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  1     named "W&K Info Defense Research, LLC"?

  2     A.    Yes.

  3     Q.    All right.

  4                  MR. RIVERO:    Mr. Shah, is there any more or is that

  5     it?

  6                  That's it.    Okay.

  7                  Let's move on to Defendant's 75.

  8     BY MR. RIVERO:

  9     Q.    All right, sir.      Do you see --

 10                  MR. BRENNER:     If you can go to the last page, please.

 11           (Pause in proceedings.)

 12                  MR. BRENNER:     Okay.         Okay.

 13           (Pause in proceedings.)

 14                  MR. BRENNER:     Is there any way to enlarge that at all?

 15           (Pause in proceedings.)

 16                  MR. BRENNER:     Next page, please.

 17                  Make it larger, please.

 18           (Pause in proceedings.)

 19                  MR. BRENNER:     Scroll down a little, please.

 20                  Go to the top real quick, top of this one.

 21           (Pause in proceedings.)

 22                  MR. BRENNER:     Next page or first page.                  And a little

 23     larger, please.

 24           (Pause in proceedings.)

 25                  MR. BRENNER:     A little bit lower, please.

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  1               A little bit lower, please.

  2               Okay.

  3               Thank you.

  4               I don't know if he moved it, but we have no objection,

  5     Your Honor.

  6               THE COURT:    Are you seeking to introduce it?

  7               MR. RIVERO:     Yes, Your Honor.

  8               THE COURT:    All right.              It's into evidence.

  9          (Defendant's Exhibit 75 received into evidence.)

 10               MR. RIVERO:     Judge, at this point, I would ask that

 11     emails bearing the dave@davekleiman.com email address and/or

 12     the Dave Kleiman signature block all be admitted.                       And I can

 13     list the numbers, if that would be acceptable.                        I don't know if

 14     there would be an objection to that.

 15               THE COURT:    Well, why don't we go through so we can

 16     identify which exhibits they are.

 17               MR. RIVERO:     All right.              There are quite a number,

 18     Your Honor, but I'll do that.

 19               All right.    Let's go to -- Mr. Shah, let's just look

 20     at -- Your Honor, I'm not sure if this was yet admitted.                       I

 21     haven't asked --

 22               THE COURT:    It is.          It's in evidence.

 23               MR. RIVERO:     Thank you very much.

 24               Mr. Shah, if you go, I believe, to the second page,

 25     we'll see where the email string picks up where we were before

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  1     and if we can make it larger so the jury can see it.

  2                  No.   A little further down.

  3     BY MR. RIVERO:

  4     Q.    Okay.   Do you see, Mr. Kleiman -- we're just following in

  5     the same string.        You see:        "Look over the attached" -- yeah.

  6     You see -- I want to make sure we just follow -- this is all

  7     going to be integrated in all of these exhibits.                            But if you

  8     look, they attach, don't they, Mr. Kleiman -- we have that last

  9     email we saw where Dr. Wright says his current address is:                            "51

 10     Cowangarra Road.        The other is not any longer."

 11           That's what we just saw, right?

 12     A.    Yes.

 13     Q.    But as happens with emails, sometimes then there will be a

 14     break, but they continue with another -- the string continues

 15     on.    It sort of depends on when it was printed, right?

 16     A.    Yes.

 17     Q.    Okay.   So let's look at the next one.

 18           Mr. Kleiman says -- and this is right in this time period

 19     near Valentine's Day February 16 -- "look over the attached

 20     really quickly.      Let me know if it is okay.                         Or should the POC

 21     be in the US?"

 22           Do you know what the "POC" is?

 23     A.    No.    I don't.

 24     Q.    "I see a non-US vendor on the list.                         Pay special attention

 25     to additional authentication."

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  1          Do you have any idea, as the representative of W&K or the

  2     personal representative of W&K, why they were talking about

  3     whether it was non-US or US for W&K?

  4     A.   No, I don't.

  5     Q.   Okay.   Do you know whether it had anything to do that they

  6     wanted to make sure to get the benefit of a veteran's

  7     preference in applying to the Department of Homeland Security

  8     because of Mr. Kleiman's status as a veteran?

  9     A.   I'm not aware of anything like that.

 10     Q.   Okay.   Let's look -- okay.              So above that, Craig Wright

 11     responds:    "Looks good.       Can you choose a domain name?         The

 12     non-US bit is okay."

 13          See that?

 14     A.   Yes, I do.

 15     Q.   And then Mr. Kleiman responds with an exclamation:

 16     "Infodefenseresearch.com and info-defense-research.com are

 17     available."

 18          Do you see that?

 19     A.   Yes.

 20     Q.   Mr. Wright answers:        "Not for long.

 21     Infodefenseresearch.com to go."                 Right?

 22     A.   Yes.

 23     Q.   Does this just look like normal things that you -- you --

 24     let me back up.

 25          You design websites, right?

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  1     A.   Yes, I do.

  2     Q.   I assume you get involved in the selection of website

  3     names?

  4     A.   Yes.

  5     Q.   And you've got to pick a domain name or somebody else could

  6     grab it, right?

  7     A.   Correct.

  8     Q.   Let's see what happens next.

  9          David Kleiman says:        "So are you going to register

 10     infodefenseresearch.com or you want me to?                            Should I list that

 11     as the company website, Dave."

 12          Do you see that?

 13     A.   Yes, I do.

 14     Q.   Sir, in any of the emails that we've been looking at,

 15     perhaps tediously, is there any reference to Bitcoin

 16     whatsoever?

 17     A.   Not that I've seen, no.

 18                 MR. RIVERO:   Mr. Shah, go ahead and take us -- if

 19     that's the end -- or keep going up.

 20     BY MR. RIVERO:

 21     Q.   All right.    David Kleiman says:                  "Okay.        Registration

 22     successful.     Congratulations.            Your registrations are

 23     successful.     Do we want/need any of these?"

 24          And do you understand any of these following references

 25     either to -- something involving bpn.gov, something related to

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  1     census.gov, or there's another thing related to United States

  2     Department of Education.           Do you understand any of that?

  3     A.   No, I don't.

  4     Q.   All right.    But would you agree me, it appears that all of

  5     the references that Mr. Kleiman is making have something to do

  6     with the United States Government?

  7     A.   Yes.

  8     Q.   All right.    Let's go to the next one.

  9          Okay.   So Mr. Kleiman says:                "Which TTA number is SCADA

 10     Isolation 4?"     Right?

 11     A.   Yes.

 12     Q.   Do you remember that when we were looking at that requests

 13     for proposal yesterday, there was a TTA number for each of the

 14     rejected requests for proposal?

 15     A.   Yes.

 16     Q.   Okay.   And sir, isn't it true that SCADA isolation is not

 17     relating to the invention or mining of Bitcoin?

 18     A.   I don't know what SCADA means.

 19     Q.   All right.    But you see that at the bottom of that email

 20     Dave Kleiman says:     "BAA11-02, Proposal Title 1 SCADA

 21     Isolation, but I did not see a TTA number."

 22          Do you see that?

 23     A.   Yes, I do.

 24     Q.   Does it appear that right here at the beginning, as they're

 25     forming the company, Mr. Kleiman is talking to Mr. Wright about

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  1     a TTA proposal?

  2     A.    Yes.

  3     Q.    Now, we saw TTA proposals yesterday?

  4     A.    Yes.

  5     Q.    Let's look at the next email.

  6           Then Wright answers:        "TTA Number 5, Secure Resilient

  7     Systems and Networks seems to fit SCADA best."                        Right?

  8     A.    Yes.

  9     Q.    Sir, that's a computer security subject, right?

 10     A.    It could be.

 11     Q.    Well, when it says -- when Mr. Wright -- Dr. Wright

 12     proposes Secure Resilient Systems and Networks, don't you agree

 13     with me that that appears to be related to computer security?

 14     A.    I'm not entirely sure.          But yes, it sounds like it could

 15     be.

 16     Q.    And you have no indication it's related to Bitcoin.

 17     A.    No, I don't.

 18     Q.    All right.   Let's go to the next one.

 19           And this is a further discussion about -- the whole thing

 20     is related to registration.             The subject is "Re:            Registration

 21     - TTA1," right?

 22     A.    Yes.

 23     Q.    Mr. Kleiman, would you agree that the business of W&K was

 24     doing TTA proposals to government agencies, in particular, the

 25     Department of Homeland Security?

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  1     A.   Craig mentioned that that was part of it, yes.

  2     Q.   All right.

  3                 MR. RIVERO:    Is there any more, Mr. Shah?

  4     BY MR. RIVERO:

  5     Q.   Okay, sir.    But you would certainly agree with me here at

  6     the time that W&K is being formed, there's no mention of

  7     Bitcoin, correct?

  8     A.   No.

  9     Q.   But there is a bunch of mention about TTA proposals, right?

 10     A.   Correct.

 11     Q.   All right.    Okay.

 12                 MR. RIVERO:    Mr. Kleiman, let's look at Defense 78.

 13     BY MR. RIVERO:

 14     Q.   Is this an email from Craig Wright to David Kleiman in

 15     the -- at the dave@davekleiman.com address?

 16     A.   Yes, it is.

 17     Q.   Does it show the signature block for David Kleiman?

 18     A.   Yes.

 19                 MR. RIVERO:    Your Honor, I move the admission of

 20     Defendant's 78.

 21                 MR. BRENNER:     No objection, Your Honor.

 22                 THE COURT:    Admitted into evidence.

 23          (Defendant's Exhibit 78 received into evidence.)

 24     BY MR. RIVERO:

 25     Q.   Mr. Kleiman --

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  1                 MR. RIVERO:    Showing it to the jury.

  2                 Is that the entire text, Mr. Shah?

  3     BY MR. RIVERO:

  4     Q.   Look at what Dr. Wright says at the bottom.                         It says:

  5     "Subject:     DHS Cyber and R&D $40 million."

  6          And Dr. Wright says:          "Dave, I cannot get these myself

  7     being I am not a US citizen.               On the other hand, we could do

  8     something in partnership."

  9          Are you aware this is the first time that Dr. Wright, in

 10     Dave's life, uses the term "partnership" with David Kleiman?

 11     A.   I was not aware, no.

 12     Q.   All right, sir.      Can't you see that the partnership is

 13     about making proposals to the Department of Homeland Security?

 14     A.   Yes.   Craig mentions that these type of projects was part

 15     of what W&K was doing.

 16     Q.   Your brother knew how to use to word "partnership."                         Right?

 17     A.   Yes.

 18     Q.   And your brother formed a partnership with Patrick Paige

 19     and Carter Conrad, did he not?

 20     A.   Yes, he did.

 21     Q.   All right.    So then Craig continues:                        "Are you interested

 22     in being the lead if I am to put in a funding app for

 23     research?"

 24          Do you see that proposal?

 25     A.   Yes, I do.

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  1     Q.   All right.    And here's what your brother responds:                   "I was

  2     just reading the same thing.              Hmm.         With individual grants

  3     ranging up to $3 million, DHS's areas of interest include

  4     software assurance, enterprise security metrics, usable

  5     security, as well as the challenges posed by insider threats.

  6     I would gladly do something with you.                       Did you have something

  7     specific in mind?"

  8          Can you read that?

  9     A.   Can I read what?

 10     Q.   Were you able to follow that?

 11     A.   Yes.

 12     Q.   You see the topics that your brother is saying to

 13     Dr. Wright, do you not?

 14     A.   Yes.   I see them.

 15     Q.   And none of those topics has anything to do with Bitcoin,

 16     does it?

 17     A.   I don't see Bitcoin mentioned here, no.

 18     Q.   Do you see any reference:              "Let's add to our existing

 19     partnership and do this new thing"?

 20          Do you see any reference like that?

 21     A.   No, I don't.

 22     Q.   Do you see any reference to:                 "Let's do it again.      Let's

 23     ride again"?

 24     A.   No.

 25     Q.   Dr. Wright answers:        "Several things, actually.               I will

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  1     send some ideas and papers tonight."                       Right?

  2     A.   Yes.

  3     Q.   Okay.   I believe the next --

  4                 MR. RIVERO:    Can I see this document number, Mr. Shah.

  5                 Defendant's 79.

  6                 THE COURT:    All right.             That is withdrawn.    What is

  7     the joint exhibit number?

  8                 MR. RIVERO:    Thankfully, my team is ahead of me,

  9     Judge.   It's Joint Exhibit 13.

 10                 THE COURT:    All right.

 11                 MR. RIVERO:    So I will just show it to the jury.

 12                 THE COURT:    Admitted into evidence.

 13                 MR. RIVERO:    Thank you.

 14          (Joint Exhibit 13 received into evidence.)

 15                 MR. RIVERO:    One moment, Your Honor.

 16          (Pause in proceedings.)

 17                 MR. RIVERO:    Judge, I want to make sure that I

 18     admitted -- that I requested the admission of D78.                     I believe I

 19     did, but I'm not --

 20                 THE COURT:    D78 is in evidence.

 21                 MR. RIVERO:    Thank you.

 22     BY MR. RIVERO:

 23     Q.   Joint 13, continuation of the same discussion, is it not,

 24     Mr. Kleiman?

 25     A.   Yes.

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  1                  MR. RIVERO:   Is this only one page, Mr. Shah?

  2                  Let's look at this page.                Okay.

  3                  At the bottom, please.

  4     BY MR. BRENNER:

  5     Q.    Okay.   That picks up where we just were -- part of where we

  6     just were.     This might be a different fork of an email; is that

  7     right?

  8     A.    Yes.

  9     Q.    Okay.   So here, there's a response from your brother --

 10                  MR. RIVERO:   If you could move up to the next email.

 11     BY MR. RIVERO:

 12     Q.    This is Dave Kleiman following up on his own email of the

 13     day before:      "I sent an email to see" -- oh, I think we already

 14     saw this.

 15           "I sent an email to see if there's an expedited or online

 16     way to accomplish.      In any case, how about a name?"

 17           And then Craig Wright says -- he doesn't say a name, does

 18     he?    I'm sorry.    He says a name.               The name he says is:   "Lynn,"

 19     question mark.

 20     A.    "Lynn," question mark?

 21     Q.    Isn't that his response, "Lynn," question mark?

 22     A.    Oh, yes.   I see it now, yes.

 23     Q.    Your brother asks:       "How about a name?" And Mr. Wright

 24     refers the question to Lynn.               Isn't that right?

 25     A.    Yes.

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  1     Q.   And "Lynn" is Lynn Wright, Dr. Wright's wife, correct?

  2     A.   Yes.

  3     Q.   But there's no -- there's no forthcoming response

  4     immediately on this chain from Lynn.                      Instead, Dave Kleiman

  5     comes back, I guess the next day, and says:                           "Wright Kleiman

  6     Information Security, W&K Info Defense."

  7          Do you see that?

  8     A.   Yes, I do.

  9     Q.   It was your brother who named it, right?

 10     A.   Yeah.   It may have been, yes.

 11     Q.   Well, the ultimate name was W&K Info Defense, right?

 12     A.   Yes.

 13     Q.   But Dr. Wright asks Lynn to give her input about a name;

 14     isn't that right?

 15     A.   Yes.

 16     Q.   And sir, you've seen Lynn Wright is being copied

 17     consistently in these emails?

 18     A.   Yes.

 19     Q.   Okay.

 20                 MR. RIVERO:   Let's see the next email.

 21     BY MR. RIVERO:

 22     Q.   Lynn Wright comes back -- not Craig Wright.                         Lynn Wright

 23     comes back and says:      "Either/or.               You choose."         Isn't that

 24     right?

 25     A.   Yes.

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  1     Q.   I notice that yesterday -- or maybe it was -- I'm sorry.

  2     It was the day before you said:                 "Oh, W&K.             That's Craig Wright

  3     and David Kleiman."

  4          That was your testimony, right?

  5     A.   Yes.   That's what I believe, yes.

  6     Q.   That's what you believe, right?

  7     A.   Yes.

  8     Q.   But you don't have that in -- anywhere, it's not written

  9     that way.

 10     A.   (No verbal response.)

 11     Q.   "It's not written that way" is the question.

 12     A.   Perhaps not, yes.

 13                 MR. RIVERO:   Let's look at the top of the next one.

 14     BY MR. RIVERO:

 15     Q.   Craig Wright confirms -- well, Craig Wright says:                          "W&K

 16     Info Defense Research."         That's how it comes about?

 17     A.   (No verbal response.)

 18     Q.   Correct?

 19     A.   Yes.

 20     Q.   Isn't it true that Lynn Wright had a role in this company?

 21     A.   I think you would have to ask her.

 22     Q.   You don't have information about that?

 23     A.   Just -- I remember her deposition.                       But I don't recall what

 24     she said exactly about her role.

 25     Q.   So you know that her testimony is going to be shown here?

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  1     A.   (No verbal response.)

  2     Q.   All right.

  3               MR. RIVERO:     Let's go to Defense 80.

  4               Judge, I think I just moved the admission of Joint

  5     13 -- or I didn't have to.

  6               THE COURT:    It's in evidence.

  7               MR. RIVERO:     Yeah.         Thank you, Judge.

  8               All right.    Judge, I showed just Mr. Kleiman and the

  9     Defense, Defense 80.      And Judge, I renew my request to -- for

 10     the admission of emails that have the david@davekleiman.com and

 11     I can list those out by number, Judge.

 12               THE COURT:    Well, why don't we do this -- we're going

 13     to take a break soon.       Why don't you and Mr. Brenner confer so

 14     that he has an opportunity to review each of them and make sure

 15     that there's not an objection.

 16               MR. RIVERO:     I will do that again, Your Honor.                    I will

 17     do that again.

 18               THE COURT:    All right.              Thank you.

 19     BY MR. RIVERO:

 20     Q.   All right, sir.    Let's go to the bottom.

 21               MR. RIVERO:     This is 64 pages.                     Can you show the

 22     bottom of the email.

 23               Is that it?     There's no -- Mr. Shah, there's no

 24     further -- okay.

 25               I'm sorry.    Could you just scroll through -- Mr. Shah,

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  1     through the emails first so we can -- okay.                            That was it.

  2     BY MR. RIVERO:

  3     Q.   So just looking for the moment at the email, that is from

  4     Craig Wright to dave@davekleiman.com?

  5     A.   Yes.

  6                 MR. RIVERO:    All right.              Judge, I'm not sure I moved

  7     the admission of 80, but I would move the admission.

  8                 MR. BRENNER:     Judge, I've seen Page 1 of 64.                     Maybe we

  9     could review this one over the break.

 10                 THE COURT:    Do you want to do that and we'll take our

 11     break now?

 12                 MR. RIVERO:    Yes, Your Honor.

 13                 THE COURT:    All right.

 14                 Then, Ladies and Gentlemen, let's take a 20-minute

 15     break and I'll see you back here in 20 minutes.

 16          (Jury not present, 11:22 p.m.)

 17                 THE COURT:    All right.             Let's see if we can come to

 18     some agreement with regard to these extra exhibits.

 19                 MR. BRENNER:     Yeah, Judge, if they could give them to

 20     me -- what they're going to do after the break in order, and

 21     we'll stay ahead of them.            If I have them in order, I'll --

 22     because I --

 23                 THE COURT:    Are these the same exhibits that you

 24     attempted to confer about last night?

 25                 MR. BRENNER:     I don't know about last night.                     The last

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  1     list I got was 9:00 this morning.                   So I don't know -- so I have

  2     not looked at them this morning.

  3               MR. RIVERO:     I thought this list was provided earlier.

  4     And so I apologize if that was it.

  5               But Judge, maybe if we can just look at them.                         My only

  6     request is if they are all to or from the email

  7     dave@davekleiman.com, or with the signature block, if we could

  8     get agreement, that would be helpful.

  9               THE COURT:    Of course.              All right.            I'll see you back

 10     here in 20 minutes.

 11          (Recess from 11:23 a.m. to 11:43 a.m.)

 12               THE COURT:    All right.              Where is Mr. Kleiman?

 13               MR. BRENNER:      Oh.       Let me go get Mr. Kleiman.

 14               Sorry, Judge.

 15               THE COURT:    All right.              Were we able to resolve the

 16     issues with the exhibits?

 17               MR. BRENNER:      Mr. Freedman and Mr. Roche are -- there

 18     was about 50 of them, so they're going through them.                          They told

 19     me they are in order.       So by the time he hits one, I should be

 20     able to just say:     "No objection" if it's no objection.

 21               THE COURT:    All right.              Perfect.

 22          (Pause in proceedings.)

 23               THE COURT:    All right.              Mr. Kleiman, if you'll make

 24     your way back to the witness stand, please.

 25          (Pause in proceedings.)

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  1               THE COURT:    Okay.         We can bring in the jury.

  2          (Before the Jury, 11:44 a.m.)

  3               THE COURT:    All right.              Welcome back, Ladies and

  4     Gentlemen.

  5               Please be seated.

  6               And we'll continue with the cross-examination.

  7     BY MR. RIVERO:

  8     Q.   Mr. Kleiman, before I come back to these email exchanges

  9     between your brother and Craig Wright, I just want to talk with

 10     you about one other subject and that is your telephone

 11     communications with David Kleiman.

 12          Would you agree with me that between March 12 and

 13     April 7th, 2013, on the cell phone at least, you spoke with

 14     David Kleiman six times?

 15     A.   What time again?

 16     Q.   This is between -- this is in the last year, the last 13

 17     months of your brother's life.

 18               MR. BRENNER:      Objection, Your Honor.                    Subject to court

 19     order.

 20               THE COURT:    The objection is sustained.

 21               MR. RIVERO:     I'll move on.

 22     BY MR. RIVERO:

 23     Q.   Sir, would you agree with me that David Kleiman's telephone

 24     voice messages from March 12, 2012 to February 19, 2013 contain

 25     voice mails left for David Kleiman?

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  1     A.   It may have.

  2     Q.   All right.    Let me show you what's been marked as

  3     Defendant's 429.

  4               MR. RIVERO:     But not for publication to the jury yet.

  5               And it's a lengthy exhibit, so if you would show it --

  6     Mr. Shah, if you would just page through for counsel.

  7          (Pause in proceedings.)

  8               MR. RIVERO:     Judge, I don't know if counsel have seen

  9     enough or if they need to see every page.

 10               MR. BRENNER:      Unfortunately --

 11               MR. RIVERO:     You can keep going, Mr. Shah.

 12               MR. BRENNER:      No.       No.       Unfortunately, this was not on

 13     the list that we were given to review over the break.

 14               But I do have an objection to this.                         I've seen enough

 15     to know that I have an objection.

 16               MR. RIVERO:     Okay.         Judge, I guess what I would like

 17     to ask, then, Mr. Kleiman -- could we go to the top, Mr. Shah.

 18               Just to explain to counsel, this is a different topic.

 19     I'm going to be coming back to the other topic, but I wanted to

 20     get this out of the way.          It's only one exhibit.

 21     BY MR. RIVERO:

 22     Q.   Sir, is this a document produced by your side in this

 23     litigation?

 24     A.   It looks to be.

 25     Q.   And you are the personal representative of your brother's

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  1     estate?

  2     A.   Yes.

  3     Q.   And this is an email concerning records from TelTech

  4     Systems to the estate of David Alan Kleiman?

  5     A.   Yes.

  6     Q.   All right.    And you produced this in this litigation, as

  7     you can see at the bottom of Page 1.

  8     A.   Yes.

  9                 MR. RIVERO:    Judge, I would move the admission of

 10     Defendant's 429.

 11                 MR. BRENNER:     Objection.              Hearsay, Your Honor.

 12                 THE COURT:    Is that the sole basis, is hearsay?

 13                 MR. BRENNER:     Hearsay and relevance, Your Honor.

 14                 THE COURT:    Are there specific voice mails that you

 15     wish to focus on?

 16                 MR. RIVERO:    Judge, it's the absence of voice mails

 17     and that is highly relevant.

 18                 MR. BRENNER:     Yeah, Judge.                And also, understand,

 19     subject to the Court's order, too.

 20                 THE COURT:    Yeah.        That's where -- the objection is

 21     sustained.

 22                 MR. RIVERO:    Well, Judge, then I guess I would want to

 23     show specific entries, in that event.                        But I'm not sure I

 24     understand -- Judge, if I could just understand.                       I didn't

 25     understand what the objection was.

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  1                THE COURT:    With regard to certain communications --

  2     that's why I'm -- the objection is sustained.                         If you want to

  3     ask Mr. Kleiman about -- the objection is sustained.

  4                MR. RIVERO:    Okay.         Thank you, Judge.

  5                THE COURT:    So let's continue.

  6                MR. RIVERO:    All right.              I'll continue.

  7                All right.    Let's take that down, Mr. Shah.

  8     BY MR. RIVERO:

  9     Q.   Okay.   Let's go back to the series of documents we were

 10     talking about before the break.

 11          Sir, I just want to make sure that -- you don't know of any

 12     message received by your brother about Bitcoin at any time in

 13     the last 13 months of his life on his telephone voice mails?

 14     A.   Not to my knowledge, no.

 15     Q.   Okay.   So going --

 16                MR. RIVERO:    Mr. Shah, if you would put up

 17     Defendant's 80.

 18                MR. BRENNER:     8-0?

 19                MR. RIVERO:    8-0.

 20                Judge, I don't know if there's a position from the

 21     Plaintiff on this.      We would move its admission.

 22                THE COURT:    Is there any objection?

 23                MR. BRENNER:     I'm sorry.              He said -- I didn't hear him

 24     say "we move."     We object to this particular document on

 25     hearsay.

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  1                 MR. RIVERO:    So Judge, if I may lay the foundation.

  2     BY MR. RIVERO:

  3     Q.   Mr. Kleiman, do you see that on this document this is from

  4     craig.wright@information-defense.com?                       Do you see that?

  5     A.   Yes.

  6     Q.   And that's Dr. Wright, the Defendant in the case, right?

  7     A.   Yes.

  8     Q.   And do you see that it is to Dave Kleiman --

  9     dave@kleiman.com [sic]?

 10     A.   Yes.

 11     Q.   And sir, do you see that this is an email dated

 12     February 15, 2011?

 13     A.   Yes.

 14                 MR. RIVERO:    Judge, I move its admission for both

 15     context and -- not for the truth of the matter asserted, but

 16     instead that -- what subjects they are communicating about.

 17                 THE COURT:    The objection is overruled.

 18                 It will be admitted into evidence.

 19          (Defendant's Exhibit 80 received into evidence.)

 20                 MR. RIVERO:    And I would like the jury to see

 21     Defense 80.

 22                 We're in the same time period -- Mr. Shah, if you can

 23     show the whole email.

 24     BY MR. RIVERO:

 25     Q.   Again, we're in this Valentine's Day 2011 time period when

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  1     W&K is being formed and we're looking at the emails.

  2          Number one, would you agree with me, Mr. Kleiman, in this

  3     period of time, there's a very active set of emails between

  4     your brother, Craig Wright, and Lynn Wright?

  5     A.   I'm not certain that I've seen all Dave's emails, just what

  6     Craig has produced.       So --

  7     Q.   Well, that wasn't my question.                    My question was:        Just

  8     based on what you have seen already, isn't there a very active

  9     number of emails during a two-day period -- two- or three-day

 10     period?

 11     A.   Yes.

 12     Q.   Okay.   The one at the top, I think, is the new one.

 13                 MR. RIVERO:   Mr. Shah, if you could show the one just

 14     below it because I think it's a continuation of a series.

 15                 Oh, no.   Okay.

 16     BY MR. RIVERO:

 17     Q.   Okay.   This is transmitting a paper, but do you see the top

 18     is -- subject is "Registration"?

 19          You agree with me they've been talking about the

 20     registration of W&K?

 21     A.   Yes.

 22     Q.   And this attachment says:              "Research proposal, the

 23     quantification of information systems risk."                          Right?

 24     A.   Yes.

 25     Q.   And Dr. Wright continues on this topic about:                        "Need to add

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  1     tax registration number.          DUNS is optional for now."                  Right?

  2     A.   Yes.

  3     Q.   Do you have any idea if DUNS refers to -- and if you don't

  4     know, that's fine, sir -- Dun & Bradstreet?                           Do you know if

  5     that's what that is?

  6     A.   I've heard of it, yes.

  7     Q.   Yeah.   And that's a system that corporations register for

  8     in order to be able -- when their credit is checked, it's a way

  9     that you can check out that the corporation is on Dun &

 10     Bradstreet, right?

 11     A.   Okay.

 12     Q.   Oh, you don't know that?

 13     A.   I don't know that.

 14     Q.   Okay.   Then do you see under it Dr. Wright says to David

 15     Kleiman and Lynn Wright:          "Solicitation Number BAA11-02"?

 16     Right?

 17     A.   Yes, sir.

 18     Q.   And you see where it says "Whitepaper Rego site," and below

 19     it it has a website?

 20                 MR. RIVERO:   If you can highlight that and pull the

 21     whole thing out, Mr. Shah.            That "Whitepaper Rego" and then the

 22     next line.

 23     BY MR. RIVERO:

 24     Q.   Do you see that the site says:                    "DHS.gov"?

 25     A.   Yes.

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  1     Q.   And do you see that they're going -- there's instructions

  2     that are provided next:         "Go to proposal submission, then click

  3     number sign, solicitations, and then select BAA11-02."                    Right?

  4     A.   Yes.

  5                 MR. RIVERO:   And Mr. Shah, if you could show us the

  6     rest, just the whole thing.

  7     BY MR. RIVERO:

  8     Q.   And then he goes on down and he's talking again about the

  9     SCADA isolation.     Right?

 10     A.   Yes.

 11     Q.   And it's interesting.          He mentions something:            "I will have

 12     this sent through in a little bit.                     This is Greyfog." Do you

 13     see that?

 14     A.   I see it.

 15     Q.   And you don't know what "Greyfog" was?

 16     A.   I think I saw some kind of document referring to Greyfog.

 17     Q.   And Greyfog is yet another different project that

 18     Dr. Wright talked to your brother about doing, right?

 19     A.   Perhaps.

 20     Q.   And it was not a project related to Bitcoin invention or

 21     mining, was it?

 22     A.   I don't know.

 23     Q.   And it goes down through Proposal Title Number 1; Proposal

 24     Title Number 2.

 25          Do you see that?

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  1     A.    Yes.

  2     Q.    And the Title Number 2 refers to a TTA-09, correct?

  3     A.    Yes.

  4     Q.    And then he says:       "I will call before I run off in the

  5     morning.      More to come.       One email per.                  Regards."

  6                  MR. RIVERO:    Let's move on to Defendant's 82.

  7                  Just to the witness, please, and obviously the Court

  8     and --

  9     BY MR. RIVERO:

 10     Q.    All right.

 11                  MR. BRENNER:     We'll have no objection to this document

 12     if it speeds things along.

 13                  MR. RIVERO:    I couldn't hear, Judge.

 14                  MR. BRENNER:     I said we'll have no objection to this

 15     document if it helps to save having to lay the foundation.

 16                  MR. RIVERO:    Okay.         Thank you.

 17                  All right.    Mr. Shah, if you could show Defendant's

 18     82.

 19                  THE COURT:    All right.             D82 admitted into evidence.

 20           (Defendant's Exhibit 82 received into evidence.)

 21                  MR. RIVERO:    If you could publish.

 22                  Thank you.

 23                  Mr. Shah, if you could move up -- let's see.

 24                  Could you go to Page 2, please.                        And take the -- I'm

 25     sorry.    There are four pages.               If you could go to -- I just

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  1     lost track of my place, Judge.

  2          (Pause in proceedings.)

  3     BY MR. RIVERO:

  4     Q.   All right, sir.      I believe this email picks up on things

  5     we've already seen.

  6                 MR. RIVERO:    If you would go to Page 2, to the email

  7     that is February 15 at 2319.

  8     BY MR. RIVERO:

  9     Q.   Okay.   Do you see this is the email:                        "Registration

 10     successful.    Congratulations"?              Right?

 11     A.   Yes.

 12                 MR. RIVERO:   Okay.         Let's go up from there, Mr. Shah.

 13                 Okay.   And just keep scrolling up to the point where

 14     it's --

 15     BY MR. RIVERO:

 16     Q.   Okay.   Here are Cover Letter A and B.

 17                 MR. RIVERO:   Yes.        Thank you, sir.

 18                 If you can show the email.                  This is picking up on a

 19     previous email chain.

 20     BY MR. RIVERO:

 21     Q.   Do you see that your brother, on the 16th -- this is all in

 22     a period of two or three days -- again writes Craig Wright and

 23     Lynn Wright and he says here on the subject of "Registration -

 24     TTA1" -- he says:      "Here are Cover Letter A and B with listed

 25     deficiencies at the top"?

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  1          Talks about A and B, but in the middle he says:                  "I'm

  2     seeing if I qualify as a veteran-owned business for this, which

  3     is one of the deficiencies on A."

  4          Do you see that?

  5     A.   Yes, I do.

  6     Q.   Do you understand that the opportunity that -- for this

  7     proposed partnership that Craig Wright and David Kleiman are

  8     talking about in this email relies on your brother's veteran

  9     status?     Correct?

 10     A.   Perhaps.

 11     Q.   You didn't know that?

 12     A.   I didn't know that, no.

 13     Q.   You weren't involved personally?

 14     A.   No.

 15     Q.   You don't remember, I take it, that Dr. Wright mentioned

 16     this to you?

 17     A.   I don't believe he did.

 18     Q.   Okay.   You don't believe he did, but you certainly don't

 19     remember him doing it?

 20     A.   No.    I don't remember now.

 21     Q.   But you see it now on paper?

 22     A.   Uh-huh.    Yes.

 23     Q.   Your brother was a veteran.

 24     A.   Yes.

 25     Q.   And whether your brother was a veteran or not had

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  1     absolutely nothing in the world to do with whether one could

  2     invent Bitcoin or mine Bitcoin; isn't that right?

  3     A.   Yes.

  4     Q.   You don't have to be a veteran to invent Bitcoin, right?

  5     A.   No, you don't.

  6     Q.   And you don't have to be a Veteran to mine Bitcoin?

  7     A.   Correct.

  8                 MR. RIVERO:    Let's go to the next email.

  9     BY MR. RIVERO:

 10     Q.   And do you see that Dr. Wright says -- he starts by talking

 11     about some durations and dates, but he says:                           "Yes.   Check on

 12     the vet bit," smiley face.             "It may help."

 13          You see that?

 14     A.   Yes.

 15                 MR. RIVERO:    All right.              If you would --

 16                 Mr. Dunn [sic], if you would go to Defense 83.

 17     BY MR. RIVERO:

 18     Q.   All right, sir.      Is this, again, an email from Dr. Wright

 19     to Dave Kleiman at dave@davekleiman.com on February 16th, 2011?

 20     A.   It appears so.

 21                 MR. RIVERO:    Judge, move the admission of D83.

 22                 MR. BRENNER:     We object on hearsay grounds, Your

 23     Honor.

 24                 THE COURT:    Overruled.

 25                 Admitted into evidence.

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  1          (Defendant's Exhibit 83 received into evidence.)

  2                 MR. RIVERO:    Publish to the jury, please.

  3     BY MR. RIVERO:

  4     Q.   Very briefly, Mr. Kleiman, this is a discussion about a

  5     different TTA, Number 14, right?

  6     A.   Yes.

  7     Q.   Okay.   And sir, take your time -- what time you need.            This

  8     talks about "optimal derivative and risk strategy for software

  9     markets," right?

 10     A.   Yes.

 11     Q.   But it doesn't talk about Bitcoin.

 12     A.   Correct.

 13     Q.   Okay.

 14                 MR. RIVERO:    If we could show the witness D84.

 15     BY MR. RIVERO:

 16     Q.   Sir, can you see D84?

 17     A.   Yes.

 18     Q.   Is that from Dr. Wright to dave@davekleiman.com, copying

 19     Lynn Wright?

 20     A.   Yes, it is.

 21                 MR. RIVERO:    Judge, move the admission of D84.

 22                 MR. BRENNER:     No objection, Your Honor.

 23                 THE COURT:    Admitted into evidence.

 24          (Defendant's Exhibit 84 received into evidence.)

 25                 MR. RIVERO:    Thank you, Judge.

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  1     BY MR. RIVERO:

  2     Q.   Again, very briefly, Mr. Kleiman, this is in that same

  3     intense time period and there's a reference to TTA 5, right?

  4     A.   Yes.

  5     Q.   And this is -- it describes what it's about in some detail,

  6     right?

  7     A.   Yes.

  8     Q.   And it talks about things like advanced threats and

  9     malware, such as Stuxnet, right?

 10     A.   Right.

 11     Q.   Have you heard of Stuxnet?

 12     A.   I think I may have at some time, yes.

 13     Q.   It's some kind of a hacker malware that has been used

 14     internationally; isn't that right?

 15     A.   Perhaps.

 16     Q.   Something your brother would know about, no doubt?

 17     A.   He probably would, yes.

 18     Q.   But this has nothing do with Bitcoin.

 19     A.   Not to my knowledge, it doesn't.

 20     Q.   Let me go to --

 21                 MR. RIVERO:    Judge -- let's show D88 to Mr. Kleiman.

 22                 MR. BRENNER:     Judge, we'll, be having no objection to

 23     this, if it helps move it along.

 24                 THE COURT:    Admitted into evidence.

 25          (Defendant's Exhibit 88 received into evidence.)

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  1                 MR. RIVERO:   This is a chain that we have already

  2     seen.    If we could publish.

  3     BY MR. RIVERO:

  4     Q.   But it picks up -- you see at the -- about 3N, it's back to

  5     the thing about the address and the 51 Cowangarra.

  6          We've already seen that.             But then there's a response,

  7     right?

  8                 MR. RIVERO:   Can you go further up, Mr. Shah.

  9     BY MR. RIVERO:

 10     Q.   "Look over attached really quickly.                        Let me know if it is

 11     okay."    We may have seen this one.

 12          And then there's one response, right?                            "I will be

 13     forwarding some old emails."

 14     A.   Yes.

 15     Q.   No discussion of Bitcoin?

 16     A.   Not that I see.

 17     Q.   By the way, sir, do you notice that every proposal that we

 18     have seen for research has come from Dr. Wright going to your

 19     brother, but not the other way?

 20     A.   Yes.

 21     Q.   To the extent any of those ideas is intellectual property,

 22     the idea is coming from Dr. Wright; isn't that right?

 23     A.   Perhaps.

 24     Q.   Have you seen one going the other way, where your brother

 25     states:     "Here's the topic.          Here's how we're going to design

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  1     it.    We're going to put it this way"?

  2           You haven't seen that?

  3     A.    Not that I can recall.

  4     Q.    Okay.

  5                  MR. RIVERO:    Let's go to D171.

  6     BY MR. RIVERO:

  7     Q.    Now -- now we're in a different time period.

  8                  MR. RIVERO:    Judge, move the admission of --

  9     BY MR. RIVERO:

 10     Q.    Sir, this is from dave@davekleiman.com to Craig Wright?

 11     A.    Yes.

 12                  MR. RIVERO:    Move the admission.

 13                  MR. BRENNER:     Your Honor, there will be no objection

 14     to this document.

 15                  THE COURT:    All right.             Admitted into evidence.

 16           (Defendant's Exhibit 171 received into evidence.)

 17     BY MR. RIVERO:

 18     Q.    171 is just from your brother to Craig Wright:                    "How are

 19     you, my friend?     I have not heard from you in a while.                  As a

 20     matter of fact, I do not even recall seeing any posts by you of

 21     late.    Everything okay?"

 22           Do you see that?

 23     A.    Yes.    I see it.

 24     Q.    Do you know one way or another that there were long gaps of

 25     communication between your brother and Dr. Wright?

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  1     A.   I wouldn't know.

  2     Q.   Well, sir, let me ask you:                August 18, 2009.             This date is

  3     only a few months before the Thanksgiving Day story; isn't that

  4     right?

  5     A.   Yes.

  6     Q.   So as of August, it's like three months before

  7     Thanksgiving, your brother and Dr. Wright, from this email, are

  8     not in touch?

  9     A.   Being that I've never had direct access to my brother's

 10     email account, I wouldn't know if there is missing emails.

 11     These are all emails produced by Dr. Wright.

 12     Q.   Sir, but we don't need to know what the email was the day

 13     before if we see your brother's statement:                             "I have not heard

 14     from you in a while."        Isn't that right?

 15     A.   If this is a real email, perhaps.

 16     Q.   Okay.   Let's -- you have an expert coming on computer

 17     forensics, right?

 18     A.   Yes.

 19     Q.   And your side chose the documents that he was going to

 20     challenge the authenticity of, right?

 21                 MR. BRENNER:     Objection, Your Honor.                      That's beyond

 22     the scope of this witness's knowledge.

 23                 THE COURT:   Sustained.              Rephrase.

 24     BY MR. RIVERO:

 25     Q.   Sir, your computer expert has access to this document and

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  1     every document in the case; isn't that right?

  2     A.   I would imagine so.

  3     Q.   Do you know one way or another whether your computer expert

  4     is going to challenge any of the emails I've just shown you?

  5     A.   I don't know.

  6     Q.   Okay.

  7               MR. RIVERO:     Now, let me move to 173.

  8               MR. BRENNER:      Your Honor, there will be no objection

  9     to this document.

 10               THE COURT:    All right.              Admitted into evidence.

 11          (Defendant's Exhibit 173 received into evidence.)

 12               MR. RIVERO:     Okay.         If we can show it --

 13               MR. BRENNER:      Your Honor, this was not on the --

 14               MR. RIVERO:     Oh.       Then take it down.                Please take it

 15     down.   Please take it down, Mr. Shah.

 16               MR. BRENNER:      Your Honor, can we approach for -- well,

 17     the problem is the list we were provided doesn't include this.

 18     This is a 400-page document.              They said they would go in order;

 19     I go to the next one on the list.                   I don't know what their -- I

 20     honestly don't know what the plan is.

 21               MR. RIVERO:     Judge, it's not for truth of the matter

 22     asserted.    There is a very long attachment which is just a

 23     transmittal --

 24               THE COURT:    That's a separate issue.

 25               Did you provide it to Mr. Brenner ahead of time so he

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  1     had the opportunity -- is D173 on that list?

  2          (Pause in proceedings.)

  3                THE COURT:    All right.             Well, let's show it to

  4     Mr. Brenner so you can look at it now.

  5                MR. BRENNER:     Can you just bring it up real quick so I

  6     can see the non-attachment part?

  7                MR. RIVERO:    Yes.        Show Page 2 and show as much as --

  8                MR. BRENNER:     My apologies, Your Honor.                  It's our

  9     mistake.    It was on the list.

 10                THE COURT:    All right.             Is there any objection?

 11                MR. BRENNER:     Can I just see the first page, please.

 12                The first page.

 13          (Pause in proceedings.)

 14                MR. BRENNER:     Yeah.         Your Honor, the attachment is --

 15     the first page, we believe is hearsay.                        It's a statement by the

 16     Defendant.    And the attachment's all hearsay.

 17                I'm sorry.    The first page, the statement by the

 18     Defendant, is hearsay.        And the attachment is all hearsay.

 19                THE COURT:    All right.             It's a communication --

 20                MR. BRENNER:     We object.

 21                THE COURT:    -- with David Kleiman.

 22                Overruled.    It will be admitted into evidence.

 23          (Defendant's Exhibit 173 previously received into

 24     evidence.)

 25

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  1     BY MR. RIVERO:

  2     Q.   Please show D173 to the jury so they can see what

  3     Dr. Wright wrote to your brother on January 31, 2003.                 Subject

  4     is "Long Time."     And he says:            "This is Ph.D. thesis final."

  5     And he says:    "Been a while.            Thought I would send a copy of

  6     what has been driving me into the earth and keeping me busy.

  7     All the best, Dr. Craig Wright."

  8          Do you see that?

  9     A.   Yes, I do.

 10     Q.   By the way, do you notice this long string of initials

 11     behind Dr. Wright's name?

 12     A.   Yes.

 13     Q.   Now, your brother had -- people would, out of respect, call

 14     him Dave Mississippi, right?

 15     A.   Yes.

 16     Q.   Because he had a lot of certifications, right?

 17     A.   Yes.

 18     Q.   And you know that Dr. Wright has a lot of educational

 19     degrees?

 20     A.   Yes, I do.

 21     Q.   Okay.   Now, sir, I'm not going to take you through this

 22     entire thing, but what he sent was -- if you look at Page 2 --

 23     what he sent was something called "Qualification of Information

 24     Systems Risk," which says it's a thesis submitted for a doctor

 25     of philosophy, right?

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  1     A.   Yes.

  2     Q.   And it's 400 pages long, right?

  3     A.   I don't know.

  4                 MR. RIVERO:   Well, I'm sorry.                    Mr. Shah, if you

  5     could --

  6     BY MR. RIVERO:

  7     Q.   It's Page 2 out of 404 pages.

  8     A.   Okay.

  9     Q.   All right.    Sir, isn't it the case -- this is only two

 10     weeks before the flurry of activity on February -- on

 11     Valentine's Day of 2011, if I'm not mistaken.

 12                 MR. RIVERO:   Can you go back to the first page,

 13     Mr. Shah, to make sure that we're talking about January 31 --

 14     I'm sorry.    Wrong year.       Forget that.

 15     BY MR. RIVERO:

 16     Q.   It's January 31, 2013.           But would you agree with me that it

 17     appears that Dr. Wright and Mr. Kleiman have not been in touch

 18     for a while?

 19     A.   Yes.    Perhaps.

 20     Q.   Okay.

 21                 MR. RIVERO:   Let me go to D174.

 22                 Judge --

 23     BY MR. RIVERO:

 24     Q.   Mr. Kleiman, is this an email from Dave Kleiman --

 25     dave@davekleiman.com?

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  1               MR. BRENNER:      Your Honor, we'll have no objection to

  2     this exhibit.

  3               THE COURT:    Admitted into evidence.

  4          (Defendant's Exhibit 174 received into evidence.)

  5               MR. RIVERO:     Okay.         Let's move to D175.

  6               MR. BRENNER:      No objection, Your Honor.

  7               MR. RIVERO:     Okay.

  8               THE COURT:    Admitted into evidence.

  9          (Defendant's Exhibit 175 received into evidence.)

 10               MR. RIVERO:     And then I'll just show you this --

 11     actually, let's move on -- let's go to D176.

 12               MR. BRENNER:      No objection, Your Honor.

 13               THE COURT:    Admitted into evidence.

 14          (Defendant's Exhibit 176 received into evidence.)

 15               MR. RIVERO:     D177.

 16               MR. BRENNER:      No objection.

 17               THE COURT:    Admitted into evidence.

 18          (Defendant's Exhibit 177 received into evidence.)

 19               MR. RIVERO:     I'll show you this one briefly,

 20     Mr. Kleiman.

 21               Can you go to the bottom, Mr. Shah.

 22     BY MR. RIVERO:

 23     Q.   Sir, do you see that this is in the 2012 time period and

 24     that David Kleiman sends a message to Craig Wright:                   "What do

 25     you think?    Forwarding a call for papers"?

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  1          Do you see that?

  2     A.   Yes, I do.

  3     Q.   And it's an International Conference on Digital Forensics,

  4     right?

  5     A.   Yes.

  6     Q.   Do you see that there's a pattern where either your brother

  7     or Dr. Wright suggests:         "Hey, let's work on things together"?

  8     Right?

  9     A.   Yes.

 10                 MR. RIVERO:   Okay.         Let's go up.

 11     BY MR. RIVERO:

 12     Q.   Dr. Wright says:     "Looks okay.                 What would you suggest we

 13     publish?"    Right?

 14     A.   Yes.

 15                 MR. RIVERO:   Next, Mr. Shah.

 16     BY MR. RIVERO:

 17     Q.   And your brother says:           "I have no idea, good sir.                  You are

 18     the genius in coming up with great ideas.                             Respectfully, Dave

 19     Kleiman."

 20          You see that?

 21     A.   I see it.

 22     Q.   Mr. Kleiman, are you aware that your brother's friends,

 23     when they speak of your brother, show great respect for his

 24     superior abilities in computer forensics?

 25     A.   Yes.

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  1     Q.   And they actually speak of your brother with some awe.            Do

  2     you know that?

  3     A.   Yes.

  4     Q.   To this day, isn't that true?

  5     A.   Yes, it is.

  6     Q.   And he had an alphabet soup behind his name of certificates

  7     and credentials related to computer security, right?

  8     A.   Yes.

  9     Q.   But did you know that your brother, in turn, spoke in awe

 10     to Dr. Wright?

 11     A.   Perhaps.

 12     Q.   Did you know it?

 13     A.   Did I personally know it?

 14     Q.   Yes.

 15     A.   No.

 16     Q.   Do you see it?

 17     A.   Yes.   I see the email.

 18     Q.   All right.

 19                 MR. RIVERO:    Let me go, if we could to D -- I think

 20     that was 177 -- D245.

 21                 MR. BRENNER:     There will be no objection, Your Honor.

 22                 THE COURT:    Admitted into evidence.

 23          (Defendant's Exhibit 245 received into evidence.)

 24                 MR. RIVERO:    D246.

 25                 MR. BRENNER:     No objection, Your Honor.

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  1                 THE COURT:    Admitted into evidence.

  2          (Defendant's Exhibit 246 received into evidence.)

  3                 MR. RIVERO:    D247.

  4                 MR. BRENNER:     No objection.

  5                 THE COURT:    Admitted into evidence.

  6          (Defendant's Exhibit 247 received into evidence.)

  7     BY MR. RIVERO:

  8     Q.   Okay, sir.    Let me show the jury 247 briefly.                   This is

  9     October 17th, 2011 and Dr. Wright is writing to a number of

 10     individuals, including Dave Kleiman, correct?

 11     A.   Yes.

 12     Q.   And the subject is:         "Using checklists to make better

 13     best."

 14          Do you see that?

 15     A.   Yes, I do.

 16     Q.   And it doesn't appear that this or any of the emails we've

 17     been looking at have to do with Bitcoin, does it?

 18     A.   No, it doesn't.

 19     Q.   And then what Dr. Wright says to this group is:                    "Here is

 20     the draft of the full paper.               I have not proofed it yet,"

 21     smiley face.    "I like some of these really easy scientific

 22     tests, nothing really difficult.                   Just little things we sit and

 23     debate all the time that are so easy to create experiments for.

 24     Regards, Craig."

 25          Do you see that?

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  1     A.   Yes, I do.

  2     Q.   Okay.    Now, your brother responds and he brackets with

  3     these kind of turned-in brackets one phrase from Dr. Wright,

  4     where he says:     "I have not proofed it yet."

  5          Do you see that?

  6     A.   Yes.

  7     Q.   That's picking up out of Dr. Wright's email, right?

  8     A.   Yes.

  9     Q.   And what your brother's original statement is:                       "Looks good

 10     for first-pass review."

 11          Do you see that?

 12     A.   Yes.

 13     Q.   Number one, do you see that Dr. Wright asks six individuals

 14     if they would take a look at his paper?                         Do you see that?

 15     A.   Yes.

 16     Q.   And we don't have whether the other five responded in this

 17     email, right?

 18     A.   Right.

 19     Q.   But we do see that among the six people, one of the people

 20     he wanted to take a look at it was your brother, right?

 21     A.   Yes.

 22     Q.   Okay.    And let me ask you:             It's not -- it wouldn't be your

 23     view that if using checklists to make better best made some

 24     money, that -- that Mr. Kleiman is entitled to 50 --

 25     Mr. Kleiman is entitled to 50 percent of it because he looked

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  1     at the paper.     That's not your theory, is it?

  2     A.   No.

  3     Q.   And if all six of them looked at it, I'm assuming you don't

  4     think that it's 16 percent each because they looked at it?

  5     A.   No.

  6                 MR. RIVERO:    Let's look at D247.                         D247.

  7                 MR. BRENNER:     No objection, Your Honor.

  8                 THE COURT:    Admitted into evidence.

  9          (Defendant's Exhibit 247 previously received into

 10     evidence.)

 11                 MR. RIVERO:    Okay.         Very quickly show this D248 to the

 12     jury.

 13     BY MR. RIVERO:

 14     Q.   Do you see, yet again, Dr. Wright is sharing a paper, this

 15     time with David Kleiman and Bob Radvanovsky, who we heard

 16     about?     Do you see that?

 17     A.   Yes, I do.

 18     Q.   And do you see it's:          "Hi.        Next in the paper list, see

 19     attached.    Let me know your thoughts"?

 20          Do you see that?

 21     A.   Yes.

 22     Q.   And let's look at your brother's response:                            "That is great.

 23     Have any of your papers been accepted?                         If so, where will you

 24     be speaking?"

 25          Do you see that?

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  1     A.   Yes.

  2     Q.   Sir, isn't it clear there's a course of dealings between

  3     Dr. Wright and your brother where Dr. Wright asks David Kleiman

  4     to look at his papers as he writes them?

  5     A.   Yes.    It appears that way.

  6     Q.   Okay.

  7                 MR. RIVERO:    Now let's go to D248.

  8                 MR. BRENNER:     I think the confusion is he -- I think

  9     they asked for D247 into admission, then put up D248.                  But we

 10     don't have objection to 247 or 248.

 11                 MR. RIVERO:    Judge, I was taught not to have

 12     interchange with counsel, but if I can ask Mr. Brenner:

 13     Mr. Brenner, did I put up 248 as 247?

 14                 MR. BRENNER:     You put up 248 when you thought you were

 15     putting up 247.     I believe that's what --

 16                 THE COURT:    All right.             Without objection, 248 is in

 17     evidence.

 18          (Defendant's Exhibit 248 received into evidence.)

 19                 MR. RIVERO:    And then, Mr. Shah, could we show 247

 20     since I mistakenly referred to the wrong number and put up 247.

 21                 Thank you.

 22                 Well, I thought we did -- no, we did do 247.

 23                 All right.    Let's move on to 249.

 24     BY MR. RIVERO:

 25     Q.   Is this -- Mr. Kleiman, is this an email from

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  1     dave@davekleiman.com to Craig Wright?

  2     A.   Yes, it is.

  3                 MR. BRENNER:     Your Honor, there will be no objection

  4     to 249.

  5                 THE COURT:    Admitted into evidence.

  6          (Defendant's Exhibit 249 received into evidence.)

  7                 MR. RIVERO:    If we could show -- I'm sorry, Judge.        Is

  8     that admitted?

  9                 Thank you.

 10                 D250.

 11                 MR. BRENNER:     There's no objection to 250, Your Honor.

 12                 THE COURT:    Admitted into evidence.

 13          (Defendant's Exhibit 250 received into evidence.)

 14                 MR. RIVERO:    D251.

 15                 MR. BRENNER:     No objection to 251.

 16                 MR. RIVERO:    If you could show 251 to the jury.

 17                 THE COURT:    Admitted into evidence.

 18          (Defendant's Exhibit 251 received into evidence.)

 19     BY MR. RIVERO:

 20     Q.   This is just another example, again, of Dr. Wright writing

 21     to your brother, right?

 22     A.   Yes.

 23     Q.   This is on a date in April of 2010, correct?

 24     A.   Yes.

 25     Q.   And it appears he's sending -- he's sending something

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  1     that's reading material, right?

  2     A.   Yeah, perhaps.

  3     Q.   Yeah.   We don't know what it is, do we?

  4     A.   No.

  5     Q.   No indication that any email we've seen between your

  6     brother and Dr. Wright in all this series is related to

  7     Bitcoin?

  8     A.   Not that I've seen.

  9                MR. BRENNER:     Your Honor, at this point, we would make

 10     a cumulative objection to this line of questioning.                   It's --

 11                THE COURT:    And on grounds of cumulative?                It's

 12     referring to separate exhibits.

 13                The objection is overruled.

 14                MR. RIVERO:    If we could show D319.

 15                MR. BRENNER:     No objection to 319.

 16                MR. RIVERO:    319.        Okay --

 17                THE COURT:    Admitted into evidence.

 18          (Defendant's Exhibit 319 received into evidence.)

 19                MR. RIVERO:    Thank you, Judge.

 20                Let's show this briefly to the jury.

 21     BY MR. RIVERO:

 22     Q.   All right.    So Dave Kleiman is having an interchange with

 23     Craig Wright?

 24                MR. RIVERO:    Let's see lower down, Mr. Shah.

 25                Further.

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  1                 Is that it?

  2     BY MR. RIVERO:

  3     Q.   Okay.   Let's just see here.               This starts with a list --

  4     bounce list.    And then if you see above, it's -- if we go up,

  5     it's Dave Kleiman's signature block, right, Mr. Kleiman?

  6     A.   Yes.

  7     Q.   Okay.   And he's writing --

  8                 MR. RIVERO:   So let's go up.

  9     BY MR. RIVERO:

 10     Q.   Do you see what he says?             He says:            "Yep, Craig is a junky,

 11     a knowledge junky.     For those of you who have nothing good to

 12     say, why say anything?"

 13          Do you see that?

 14     A.   Yes.

 15     Q.   Do you know that -- are you aware that Dr. Wright was

 16     somewhat controversial in these blog sites because he acted

 17     like a know-it-all and annoyed people?

 18     A.   Yes.    I've seen that.

 19     Q.   And your brother was one of his biggest defenders on these

 20     sites, wasn't he?

 21     A.   Correct.

 22     Q.   Do you know if that was the basis for them forming this

 23     online friendship?

 24     A.   I don't know.

 25     Q.   All right.

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  1                 MR. RIVERO:   Let's go up.

  2     BY MR. RIVERO:

  3     Q.   And what happens is he's talking about Craig Wright.                         And

  4     here it says:     "Further, it amazes me how Craig has a blog

  5     helping to understand the rights of US-based digital forensics

  6     examiners" -- has the site -- "and he's based in Australia.                         He

  7     simply cares enough about the cause and the industry to help.

  8     It has no direct effect on him if US DFEs are required to have

  9     PI licenses."

 10          Do you see that?

 11     A.   Yes.

 12     Q.   And then he quotes from Monty Python, right?

 13     A.   Yes.

 14     Q.   Your brother was a big fan of Monty Python, wasn't he?

 15     A.   I think so.

 16     Q.   All right.    And he's just talking randomly.                     But above, he

 17     actually shares a recipe for cookies, right?

 18     A.   Yes.

 19     Q.   Okay.

 20                 MR. RIVERO:   Let's go to the top, Mr. Shah.

 21     BY MR. RIVERO:

 22     Q.   And he starts off his whole thing:                       "Hats off to you,

 23     Craig.   Sometimes you amaze me.                I literally today just took on

 24     a case today dealing exactly with this.                         You're making my life

 25     easy as I am gathering, with your permission, this information

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   1    you have provided for my client's review."

   2         Mr. Kleiman, again, had a lot of respect for Dr. Wright,

   3    did he not?

   4    A.   It appears that way.

   5    Q.   All right.

   6               MR. RIVERO:    Let's go to D319 -- oh, I'm sorry.                     326.

   7               Judge, I would move the admission of 326.

   8               MR. BRENNER:     326 is on the screen.

   9               MR. RIVERO:    Yes.        I'm sorry.              Defendant's 326.

  10               MR. BRENNER:     I'm sorry.              We would object on hearsay

  11    on this document, Your Honor.

  12               MR. RIVERO:    Judge, may I ask foundational questions?

  13               THE COURT:    Overruled.

  14               I'll allow it.

  15               MR. RIVERO:    Okay.

  16               THE COURT:    Admitted into evidence.

  17         (Defendant's Exhibit 326 received into evidence.)

  18               MR. RIVERO:    329.

  19               MR. BRENNER:     329 is no objection.

  20               THE COURT:    Admitted into evidence.

  21         (Defendant's Exhibit 329 received into evidence.)

  22               MR. RIVERO:    Mr. Shah, could you show it bigger to me.

  23    BY MR. RIVERO:

  24    Q.   Oh, now, let's just look at this.                      Just one thing --

  25               MR. RIVERO:    If you can show this to the jury.

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   1               If you show the January 24th, 2009 1:59 email, the

   2    bottom one and blow it up.

   3    BY MR. RIVERO:

   4    Q.   Do you see that Dr. Wright is talking to your brother and

   5    others and he's asking the question:                      "What happens when you

   6    overwrite data?"

   7         Do you see that?

   8    A.   Yes, I do.

   9    Q.   That was a topic of great interest to Dr. Wright and your

  10    brother; isn't that right?

  11    A.   I believe so.

  12    Q.   And that had nothing to do with Bitcoin?

  13    A.   Not to my knowledge.

  14    Q.   Okay.

  15               MR. RIVERO:    Let's go to 330.

  16               MR. BRENNER:     There will be no objection to that, Your

  17    Honor.

  18               MR. RIVERO:    If you can make it bigger, Mr. Shah.

  19               THE COURT:    Admitted into evidence.

  20         (Defendant's Exhibit 330 received into evidence.)

  21               MR. RIVERO:    Could you show 335, sir.

  22    BY MR. RIVERO:

  23    Q.   Mr. Kleiman, this is from dave@davekleiman.com?

  24    A.   Yes, it is.

  25               MR. RIVERO:    Judge, move its admission.

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   1                THE COURT:   Any objection?

   2                MR. BRENNER:     Hearsay, Your Honor.

   3                THE COURT:   Overruled.

   4                Admitted into evidence.

   5         (Defendant's Exhibit 335 received into evidence.)

   6    BY MR. RIVERO:

   7    Q.   Okay.   I showed you a timeline yesterday about the -- about

   8    this very important period from March 12, 2008 until the

   9    publication of the whitepaper.

  10         Do you remember that?

  11    A.   Yes.

  12    Q.   This is in that time frame.                 It's April 22nd, 2008, right?

  13    A.   Yes.

  14    Q.   Okay.   And David Kleiman -- this is exactly 40 days after

  15    the invitation email that you have in your complaint; isn't

  16    that right?

  17    A.   (No verbal response.)

  18    Q.   March 12 to April 22nd, exactly 40 days later.

  19    A.   Okay.

  20    Q.   All right.    March has 30 days.                   It's 30 plus 10, that's 40

  21    days, right?

  22    A.   Yes.

  23    Q.   No mention of Bitcoin or writing the Bitcoin Whitepaper,

  24    correct?

  25    A.   Not that I've seen.

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   1    Q.   But David Kleiman says to Craig Wright:                           "Craig, I know you

   2    have a bazillion initials after your name.                             Cannot remember if

   3    CISSP, ISSMP are among them.               If so, do you have any interest

   4    in writing this?     It would be writing for (ISC)2 and their new

   5    official guide.     I have not been doing well lately.                         And I am

   6    not going to be able to fulfill the requirements.                            If you would

   7    like this opportunity, let me know and I will make a formal

   8    introduction.     Dave."

   9         Did you follow that?

  10    A.   Yes, I did.

  11    Q.   Number one, do you have any idea what all those initials

  12    mean?

  13    A.   No, I don't.

  14    Q.   Okay.

  15                MR. RIVERO:    We can share that.

  16    BY MR. RIVERO:

  17    Q.   But sir, one thing is Dave Kleiman is saying he's not well

  18    enough to write some project that he's invited to -- or could

  19    write; isn't that right?

  20    A.   Yes.

  21    Q.   And he's asking if Dr. Wright would have an interest in

  22    writing it; isn't that right?

  23    A.   Yes.

  24    Q.   And this is just 40 days after the March 12th email,

  25    correct?

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   1    A.   Yes.

   2    Q.   All right.

   3                MR. RIVERO:    Let's go to Defendant's 336.

   4                Judge --

   5    BY MR. RIVERO:

   6    Q.   Sir, is this from dave@davekleiman.com?

   7    A.   Yes, it is.

   8                MR. RIVERO:    Judge, move the admission of D336.

   9                MR. BRENNER:     No objection.

  10                THE COURT:    Admitted into evidence.

  11         (Defendant's Exhibit 336 received into evidence.)

  12                MR. RIVERO:    D337, Mr. Shah.

  13    BY MR. RIVERO:

  14    Q.   This is from Craig Wright to dave@davekleiman.com and a

  15    string back and forth.

  16                MR. BRENNER:     This is 337.                No objection.

  17                MR. RIVERO:    Oh, sorry.              Thank you.

  18                Can we show the jury.

  19                THE COURT:    Admitted into evidence.

  20         (Defendant's Exhibit 337 received into evidence.)

  21    BY MR. RIVERO:

  22    Q.   Sir, this is four days later.                   And I just want to focus on

  23    the second email.      David Kleiman says to Craig Wright:                      "I'm

  24    pretty tired.     Been laying in bed all day."                         Right?

  25    A.   Yes.

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   1    Q.   Okay.

   2                MR. RIVERO:    Let's go to 338 -- oh.

   3    BY MR. RIVERO:

   4    Q.   And that is in this time period, again, between the email

   5    and the whitepaper, right?

   6    A.   Correct.

   7    Q.   Okay.

   8                MR. RIVERO:    Let's go to 338.

   9    BY MR. RIVERO:

  10    Q.   This is -- sir, this is from Craig Wright copying

  11    dave@davekleiman.com?

  12    A.   Yes.

  13                MR. RIVERO:    Judge, move the admission of 338.

  14                MR. BRENNER:     No objection, Your Honor.

  15                THE COURT:    Admitted into evidence.

  16         (Defendant's Exhibit 338 received into evidence.)

  17                MR. RIVERO:    Please show it to the jury.

  18    BY MR. RIVERO:

  19    Q.   Sir, this is a little less than three months after the

  20    email of March 12.       No reference to Bitcoin, is there?

  21    A.   Not that I've seen.

  22    Q.   But Dr. Wright is suggesting that Dave work with Shyaam on

  23    The Data Wipe Fallacy Paper, right?

  24    A.   Yes.

  25    Q.   No statement like:        "In addition to what we're already

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   1    doing," is there?

   2    A.   No.

   3               MR. RIVERO:    Let's go to 339.

   4    BY MR. RIVERO:

   5    Q.   Sir, is this from Craig Wright to a list that includes

   6    dave@davekleiman.com?

   7               MR. BRENNER:     Mr. Rivero, was it 339 or 359?

   8               MR. RIVERO:    339.

   9               MR. BRENNER:     Let me just take a quick look.            If you

  10    could just scroll down, please.

  11         (Pause in proceedings.)

  12               MR. BRENNER:     Next page, please.

  13         (Pause in proceedings.)

  14               MR. BRENNER:     And go back to the first one.

  15         (Pause in proceedings.)

  16               MR. BRENNER:     Renew our objection based on statements

  17    by the Defendant.      It's hearsay.

  18    BY MR. RIVERO:

  19    Q.   Mr. Kleiman, is dave@davekleiman a recipient?

  20    A.   Yes, he is.

  21               MR. RIVERO:    Judge, move the admission of 340 [sic].

  22               THE COURT:    The objection is overruled.

  23               Be admitted into evidence.

  24         (Defendant's Exhibit 339 received into evidence.)

  25               MR. RIVERO:    Let's go to 341.

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   1    BY MR. RIVERO:

   2    Q.   This is interesting -- well, first of all, this is from

   3    Craig to Dave Kleiman at davekleiman.com, right?

   4    A.   Yes.

   5                MR. RIVERO:    Move the admission of 341, Your Honor.

   6                MR. BRENNER:     No objection, Your Honor.

   7                THE COURT:    Admitted into evidence.

   8         (Defendant's Exhibit 341 received into evidence.)

   9                MR. RIVERO:    Okay.         Put it to the bottom one.

  10    BY MR. RIVERO:

  11    Q.   Squarely in the middle of this critical seven-month time

  12    frame between the invitation email and the whitepaper on

  13    Halloween Day 2008, right?

  14    A.   Yes.

  15    Q.   Okay.   And what -- do you notice this is --

  16                MR. RIVERO:    Is this the bottom one, Mr. Shah?

  17                Yeah.

  18    BY MR. RIVERO:

  19    Q.   Okay.   Do you know what Craig Wright is giving David

  20    Kleiman permission about?

  21    A.   No, I don't.

  22    Q.   Do you know if it was permission to use some of his

  23    writings?

  24    A.   No.

  25    Q.   All right.

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   1                MR. RIVERO:    Let's go to the one above it.

   2    BY MR. RIVERO:

   3    Q.   Do you see that on June 3rd -- June 3rd, that's two and a

   4    half months after the invitation email -- that Dave Kleiman

   5    says:    "Speaking of plagiarizing, maybe we could write a paper

   6    together"?    Right?

   7    A.   Yes.

   8    Q.   He doesn't say:      "Maybe we could write another paper

   9    together," does he?

  10    A.   No.

  11    Q.   "It seems I was asked to write a paper for an academic

  12    institution.     I think it would be fun to write something

  13    together."

  14         Do you see that?

  15    A.   Yes, I do.

  16    Q.   Again, no indication that they're already writing something

  17    together?

  18    A.   Correct.

  19    Q.   He says -- then he says, quote:                    "The world of digital

  20    forensics," unquote, "by Dr. Craig Wright and some dude named

  21    Dave."

  22         Self-deprecating by your brother?

  23    A.   Yes.

  24    Q.   And the topic is not Bitcoin?

  25    A.   No, it isn't.

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   1    Q.   The topic is computer forensics, which is an area that your

   2    brother really knows about?

   3    A.   Yes.

   4    Q.   And no reference to:          "Here, we'll do this one also."

   5    Correct?

   6    A.   Correct.

   7                MR. RIVERO:    Let's go up.

   8    BY MR. RIVERO:

   9    Q.   Now, 20 days pass and Dr. Wright responds:                        "Hi, Dave.   So

  10    what type of topic do you want to work on?"

  11         Do you see that?

  12    A.   Yes.

  13    Q.   Does it sound to you -- it doesn't sound to you, Doctor --

  14    Mr. Kleiman, like they are working together every day on a

  15    topic, does it?

  16    A.   I wouldn't know.

  17    Q.   Okay.

  18                MR. RIVERO:    Let's move on to D41 -- sorry,

  19    Defendant's 341.

  20                MR. BRENNER:     The number please, again.

  21                THE COURT:    Yeah, that's in evidence.

  22                MR. RIVERO:    Defendant's 342.

  23                MR. BRENNER:     You were just trailing off in the mic at

  24    the end of the number.         342?

  25                MR. RIVERO:    I'm sorry, Mr. Brenner.

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   1               MR. BRENNER:     No objection, Your Honor.

   2               THE COURT:    Admitted into evidence.

   3         (Defendant's Exhibit 342 received into evidence.)

   4               MR. RIVERO:    343.        Defendant's 343.

   5               MR. BRENNER:     Hearsay for the reasons stated before

   6    and also from a third party here.

   7    BY MR. RIVERO:

   8    Q.   Mr. Kleiman, is this --

   9               MR. RIVERO:    I was just going to ask foundation,

  10    Judge.

  11               THE COURT:    All right.             Go ahead.

  12         (Pause in proceedings.)

  13               THE COURT:    Go ahead.            Why don't you establish the

  14    foundation.

  15               MR. RIVERO:    Yeah.

  16    BY MR. RIVERO:

  17    Q.   Is this from Dr. Wright at his

  18    craig.wright@information-defense.com to Dave at

  19    dave@davekleiman.com?

  20    A.   Yes, it is.

  21               MR. RIVERO:    I move admission.

  22               MR. BRENNER:     Same objection.

  23               THE COURT:    The objection is noted.

  24               It's overruled.        Admitted into evidence.

  25         (Defendant's Exhibit 343 received into evidence.)

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   1                MR. RIVERO:    Defendant's 344.

   2                MR. BRENNER:     No objection, Your Honor.

   3                MR. RIVERO:    Please show this to the jury.

   4                THE COURT:    Admitted into evidence.

   5         (Defendant's Exhibit 344 received into evidence.)

   6    BY MR. RIVERO:

   7    Q.   Here's Dr. Wright to Kleiman on November 5, 2010, subject:

   8    "Hey, how are you?       Long time and all."

   9         Any mention of running a Bitcoin mining operation on a

  10    daily basis?

  11    A.   Not that I see.

  12    Q.   Any mention of a business partnership to run racks of

  13    servers in Tampa and in Australia?

  14    A.   Not that I've seen.

  15    Q.   All right.    What -- and then your brother says:                          "Well,

  16    have been in the hospital for two months.                              Have another four or

  17    five to go."

  18         Do you see that?

  19    A.   Yes, I do.

  20    Q.   Your brother was in a bad way.

  21    A.   (No verbal response.)

  22    Q.   Isn't that right?

  23    A.   Yes.

  24                MR. RIVERO:    Let's go to Defendant's 345, I believe.

  25                MR. BRENNER:     No objection.

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   1                THE COURT:    Admitted into evidence.

   2         (Defendant's Exhibit 345 received into evidence.)

   3                MR. RIVERO:    346.        Defendant's 346.

   4                MR. BRENNER:     No objection, Your Honor.

   5                THE COURT:    Admitted into evidence.

   6         (Defendant's Exhibit 346 received into evidence.)

   7                MR. RIVERO:    Defendant's 348.

   8                MR. BRENNER:     No objection to 348.

   9                THE COURT:    Admitted into evidence.

  10         (Defendant's Exhibit 348 received into evidence.)

  11                MR. RIVERO:    Okay.         I'll just show this briefly to the

  12    jury.

  13    BY MR. RIVERO:

  14    Q.   This is an email from your brother to Dr. Wright on

  15    March 9, 2009.     Do you know if your brother -- the document

  16    sounds like they're planning a dinner, right?

  17    A.   Yes.

  18    Q.   Do you know how many times Dr. Wright and Mr. Kleiman met

  19    in person?

  20    A.   I wouldn't know.

  21                MR. RIVERO:    349 -- I'm sorry -- 350.

  22    BY MR. RIVERO:

  23    Q.   Is this from Dr. Kleiman [sic] to a list including Dave

  24    Kleiman -- dave@davekleiman.com?

  25    A.   Yes, it is.

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   1               MR. RIVERO:    I move its admission.

   2               MR. BRENNER:     I believe counsel misspoke.                       It's from

   3    Dr. Wright.     And we object on hearsay grounds.

   4               THE COURT:    Objection is overruled.

   5               It's admitted into evidence.

   6         (Defendant's Exhibit 350 received into evidence.)

   7               MR. RIVERO:    Show it briefly to the jury.

   8    BY MR. RIVERO:

   9    Q.   Sir, you have a chance to look at it.                            You agree with me

  10    that this does not have reference to Bitcoin?

  11    A.   It doesn't appear to, no.

  12    Q.   All right.    But do you see that this is Dr. Wright writing

  13    out a list there and he says:               "I prefer C family code.               C++,

  14    C*."

  15         Do you see that?

  16    A.   Yes, I do.

  17    Q.   And do you see him then commenting:                        For a simple C* code

  18    example this could be simplified using for each statements, et

  19    cetera," and he goes on and discusses the use of that C family

  20    code.    Do you see that?

  21    A.   Yes, I do.

  22    Q.   All right.

  23               MR. RIVERO:    Mr. Shah, if you'll just show the rest to

  24    the jury, so can they see it, and then go to the next page.

  25               All right.    Let's go to Defendant's 352.

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   1                Judge, I move its admission.

   2                MR. BRENNER:     Your Honor, can I see that number one

   3    more time.

   4                MR. RIVERO:    Show the whole thing.                       It's a single

   5    page, Judge.

   6                MR. BRENNER:     Just renew the hearsay objection, Your

   7    Honor.

   8                THE COURT:    Overruled.

   9                Admitted into evidence.

  10         (Defendant's Exhibit 352 received into evidence.)

  11                MR. RIVERO:    Showing the jury.

  12    BY MR. RIVERO:

  13    Q.   Do you see that on March 17th, 2010 Dr. Wright asks

  14    Mr. Kleiman for comments on a paper?

  15    A.   Yes.    I see it.

  16    Q.   That's long after the Bitcoin Whitepaper, right?

  17    A.   Yes.

  18    Q.   You know there's a course of conduct where Dr. Wright runs

  19    his papers by David Kleiman, right?

  20    A.   Yes.

  21                MR. RIVERO:    Moving to 353.

  22                MR. BRENNER:     Your Honor, it's the same objection.

  23                Can we have a standing objection -- a hearsay

  24    objection to emails that are purely from Dr. Wright?

  25                THE COURT:    Communication between Dr. Wright and David

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   1    Kleiman, you have a continuing objection.

   2                MR. BRENNER:     Thank you, Your Honor.

   3                THE COURT:    Admitted into evidence.

   4                MR. RIVERO:    Thank you, Judge.

   5         (Defendant's Exhibit 353 received into evidence.)

   6                MR. RIVERO:    Just showing it briefly to the jury.

   7    BY MR. RIVERO:

   8    Q.   He's relentless, is he not?                 "Next paper in the list

   9    attached."

  10         He sends another paper?

  11    A.   Yes.

  12    Q.   You don't know if it has anything to do with Bitcoin?

  13    A.   I don't know.

  14                MR. RIVERO:    Defendant's 354.

  15                MR. BRENNER:     Mr. Rivero, you keep trailing away on

  16    the mic.     The last number?

  17                MR. RIVERO:    I'm sorry about that.                       I'm trailing off.

  18    I'm probably as tired as everyone, Mr. Brenner.                           354.

  19                Move its admission, Your Honor.

  20                MR. BRENNER:     No objection.

  21                THE COURT:    Admitted into evidence.

  22         (Defendant's Exhibit 354 received into evidence.)

  23                MR. RIVERO:    Okay.         I'm going to show this one to the

  24    jury.

  25    BY MR. RIVERO:

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   1    Q.    If we can see the bottom, Craig Wright writes to David

   2    Kleiman and Bob Radvanovsky April 18, 2010:                             "Paper so far.

   3    Hi.    I have sent some of these to each of you.                          But here's the

   4    compilation of completed papers thus far for the year.                            I have

   5    two more papers that I will have completed tomorrow.                            I will

   6    send these then, but I have some sleep to catch up on

   7    presently.     I have not found a means of totally eliminating

   8    sleep, but I am working on it."                   And it goes on.

   9          And then your brother answers above:                          "I was wondering if

  10    you quit sleeping."        Right?

  11    A.    Yes.

  12    Q.    No mention of mining Bitcoin?

  13    A.    No.

  14    Q.    Or inventing Bitcoin?

  15    A.    No.

  16                 MR. RIVERO:    D356.

  17                 MR. BRENNER:     No objection.

  18                 THE COURT:    Admitted into evidence.

  19          (Defendant's Exhibit 356 received into evidence.)

  20                 MR. RIVERO:    Let's go to 35 -- 360.                      Defendant's 360.

  21                 MR. BRENNER:     No objection.

  22                 THE COURT:    It's in evidence.

  23          (Defendant's Exhibit 360 received into evidence.)

  24                 MR. RIVERO:    Could you bring it up?

  25                 Thank you.

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   1               MR. RIVERO:    Okay.         Move on to 361.

   2               MR. BRENNER:     None other than the standing objection.

   3               THE COURT:    Admitted into evidence.

   4         (Defendant's Exhibit 361 received into evidence.)

   5               MR. RIVERO:    362?

   6               MR. BRENNER:     No objection to 362.

   7               THE COURT:    Admitted into evidence.

   8         (Defendant's Exhibit 362 received into evidence.)

   9               MR. RIVERO:    Defendant's 363.

  10               MR. BRENNER:     No objection.

  11               THE COURT:    Admitted into evidence.

  12         (Defendant's Exhibit 363 received into evidence.)

  13               MR. RIVERO:    Okay.         Can you show the second page.

  14               All right.    Let's show the first email there on the

  15    second page to the jury.

  16               You can go to the -- yeah.

  17    BY MR. RIVERO:

  18    Q.   Okay.   This is Dr. Wright writing to your brother.

  19               MR. RIVERO:    Can you bring it down, Mr. Shah, to the

  20    beginning.

  21    BY MR. RIVERO:

  22    Q.   Okay.   So he writes -- he says:                   "Another one down.   Well,

  23    that is another master's degree done.                       I've just completed the

  24    requirements with CSU for the master's I was doing there, which

  25    paths the way for my fourth master's at the Uni.                      I'm starting

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   1    to run out of degrees and, of course, I cannot do the master's

   2    agree in digital forensics at CSU," and he goes on.

   3         No reference to Bitcoin on November 27, just about two

   4    months -- no.     About a little less than a month after the

   5    release of the whitepaper, right?

   6    A.   Correct.

   7    Q.   Can we see what your brother says?

   8                MR. RIVERO:   Mr. Shah?

   9    BY MR. RIVERO:

  10    Q.   "Hi, Craig.    Sorry I have been hard to get ahold of.                           Just

  11    has been a whirlwind around here.                   Congrats," multiple

  12    examinations.     "Dark matter," smiley face.                         "I have FedEx

  13    account.     I could just give you the number and you could send

  14    it that way.     Let me know what you think.                          Dave."

  15         Do you see that?

  16    A.   Yes, I do.

  17    Q.   Okay.    So he's congratulating Craig Wright on getting a

  18    master's, right?

  19    A.   Yes.

  20    Q.   But sir, we don't see any email where they congratulate

  21    each other for the Bitcoin Whitepaper from Halloween until

  22    November 27th?

  23    A.   No.    I haven't seen it.

  24    Q.   And you don't know of such a congratulatory email like we

  25    saw on The Data Wipe Fallacy, do you?

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   1    A.   No.

   2                MR. RIVERO:    Let's go to D363 -- unless that was D363.

   3                Okay.   Then go to D380.

   4                MR. BRENNER:     No objection.

   5                THE COURT:    Admitted into evidence.

   6         (Defendant's Exhibit 380 received into evidence.)

   7                MR. RIVERO:    D389.

   8    BY MR. RIVERO:

   9    Q.   This is from Dr. Wright to Dave Kleiman at davekleiman.com,

  10    right?

  11    A.   Yes.

  12                MR. RIVERO:    Judge, move 389.

  13                MR. BRENNER:     No objection.

  14                THE COURT:    Admitted into evidence.

  15         (Defendant's Exhibit 389 received into evidence.)

  16                MR. RIVERO:    And Judge, if I can have one moment.        I

  17    think I can mercifully end this.

  18         (Pause in proceedings.)

  19                MR. RIVERO:    Judge, I would move the admission of

  20    Joint Exhibit 32, 34, 35 --

  21                THE COURT:    Hold on one second.

  22                MR. RIVERO:    Oh, I'm sorry, Judge.

  23                THE COURT:    Let me follow.

  24                Joint Exhibit 32, 34.              All right.

  25         (Pause in proceedings.)

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   1               THE COURT:    All right.             34, 35.

   2               MR. RIVERO:    52.       Let me repeat that, Judge:                   52, 53,

   3    54, 55, 57, 58, and 60.         I'd move them all because they are

   4    joint exhibits, Judge.

   5               THE COURT:    All right.             Admitted into evidence.

   6         (Joint Exhibits 32, 34, 35, 52 - 55, 57, 58 & 60 received

   7    into evidence.)

   8               MR. RIVERO:    All right.              And I have questions only

   9    about approximately four or five of these emails, sir.

  10               If you could show D340, Mr. Shah.

  11               Can we show that to the jury.

  12    BY MR. RIVERO:

  13    Q.   Sir, again, in the middle of the time period, you allege

  14    that between March 12, 2008 and Halloween Day 2008 your brother

  15    invented Bitcoin with Craig Wright.                     That's your allegation?

  16    A.   According to the things that Craig has told me, yes.

  17    Q.   Okay.   But on June 17, 2008, smack dab in the middle of

  18    that period, your brother writes to Craig Wright and he reports

  19    on his unavailability for the next 10 days because he has a lot

  20    of work in his real business, Computer Forensics.                            Isn't that

  21    right?

  22    A.   That's what this email appears to show.

  23               MR. RIVERO:    Judge, I apologize.                         My team has pointed

  24    out that I failed to move Joint Exhibits 61, 62, 96, 97, 98,

  25    12, and 124, Your Honor.          And, of course, I'll give this in

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   1    writing to the Court to make sure that --

   2                THE COURT:    All right.

   3                MR. RIVERO:    -- I've read it correctly.

   4                MR. BRENNER:     Can I just get the number of the exhibit

   5    that's currently on the screen, please.

   6                MR. RIVERO:    Would you like me to repeat them, sir?

   7                MR. BRENNER:     No.       No.       Just the one that's on the

   8    screen.     Just scroll down.

   9         (Pause in proceedings.)

  10                THE COURT:    All right.             And 12 is already in evidence.

  11                The others are admitted into evidence.

  12                MR. RIVERO:    Thank you.

  13         (Joint Exhibits 61, 62, 96 - 98 & 124 received into

  14    evidence.)

  15                MR. RIVERO:    Thank you.

  16                Mr. Shah, could you show Defendant's 349.                  And that's

  17    to the jury, too.

  18    BY MR. RIVERO:

  19    Q.   Do you see that in March they're talking about meeting and

  20    it appears to be in Orlando?               Correct?

  21    A.   Yes.

  22    Q.   Do you know if that's the first time that they met each

  23    other in person?

  24    A.   I think I heard something along those lines.

  25    Q.   And that would be -- they met in person about five months

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   1    after the release of the whitepaper?

   2    A.   Perhaps.

   3    Q.   Okay.

   4                MR. RIVERO:   And then I want you to look at D351.

   5    BY MR. RIVERO:

   6    Q.   Sir, do you see, again, this is just an interchange between

   7    Dr. Wright and David Kleiman, some --

   8                MR. RIVERO:   May I have one moment, Judge?

   9                THE COURT:    Certainly.

  10         (Pause in proceedings.)

  11    BY MR. RIVERO:

  12    Q.   Sir, no reference to Bitcoin, right?

  13    A.   Not that I see.

  14    Q.   Okay, sir.    I want to show you -- I want to go back to

  15    Defendant's 78.

  16                MR. RIVERO:   If Mr. Shah would show us that.

  17    BY MR. RIVERO:

  18    Q.   And, Mr. Kleiman, I've admitted many emails that I have not

  19    shown.    Do you understand that?

  20    A.   Yes.

  21    Q.   But do you understand that the jury will have them?

  22    A.   Okay.

  23    Q.   And isn't it a fact that there is not a single email other

  24    than the March 12th, 2008 email between Craig Wright and David

  25    Kleiman ever, ever that mentions Bitcoin?                             Isn't that true?

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   1    A.   It's a possibility.        It's also a possibility that a lot of

   2    emails have been scrubbed to erase their connection to the

   3    development of Bitcoin.

   4    Q.   Sir, you understand that if there were emails between -- to

   5    the extent there were emails between Dr. Wright and David

   6    Kleiman, David Kleiman would be one part of a two-way

   7    conversation, right?      Or in many occasions, multiple-party

   8    conversations, right?

   9    A.   Correct.

  10    Q.   You saw there were instances where there were five, six

  11    people on these emails, right?

  12    A.   Yeah.   Some, yes.

  13    Q.   And sir, in all these devices, you never found a single

  14    email other than the one we've seen, this March 12th, that

  15    referred to Bitcoin, did you?

  16    A.   He didn't store his emails on his devices.

  17    Q.   Sir, we can't know that because you overwrote these

  18    devices; isn't that true?

  19               MR. BRENNER:     Objection.              Argumentative.          Misstates

  20    the --

  21               THE COURT:    Sustained.

  22    BY MR. RIVERO:

  23    Q.   Sir, if you can look at D378 -- I'm sorry -- 78.                          It's the

  24    right one.

  25               MR. RIVERO:    Let's show the jury.                        This is already in

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   1    evidence.

   2                And if we can show the bottom one.

   3                Mr. Shah, if you could pull it out and if you could

   4    highlight the second sentence.

   5    BY MR. RIVERO:

   6    Q.   Sir, in all the emails that we've seen, there is never any

   7    reference to a partnership except on this instance, February 1,

   8    2011; isn't that right?

   9    A.   That's correct.     All the emails that you have seen.

  10    Q.   And sir, isn't it the fact that all of the emails -- sorry.

  11    Pardon me -- all of the public addresses as to which you lay

  12    half claim -- all of those public addresses predate February of

  13    2011.    Isn't that a fact?

  14    A.   Could you repeat that again.

  15    Q.   Yeah.

  16         The mined Bitcoin -- you lay claim to half of certain mined

  17    Bitcoin that you say was mined between Dr. Wright and

  18    Mr. Kleiman, right?

  19    A.   Yes.

  20    Q.   Isn't it true that every single block that you lay claim to

  21    was mined before February of 2011?

  22    A.   I'm not certain.

  23    Q.   You know that it's knowable -- you may not be able to know

  24    the identity of who mined it.               You know that the exact precise

  25    moment of the mining of each block is determinable through the

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   1    blockchain, right?

   2    A.   Again, I'm not sure.

   3    Q.   You know that your expert testified so?

   4    A.   I don't know that.

   5               MR. RIVERO:    Your Honor, one moment.

   6               THE COURT:    All right.

   7         (Pause in proceedings.)

   8               MR. RIVERO:    Judge, I only have one more housekeeping

   9    item and I'm done, which is, I believe I have not moved D340.

  10    I'm told.

  11               MR. BRENNER:     The number again.

  12               MR. RIVERO:    D340.

  13               MR. BRENNER:     I think you did.

  14               MR. RIVERO:    And I would move the admission of D340.

  15               MR. BRENNER:     I think that's the one that was -- yeah.

  16    If it hasn't been admitted.             We have no objection.

  17               THE COURT:    It has not been.

  18               It's admitted into evidence.

  19         (Defendant's Exhibit 340 received into evidence.)

  20               MR. RIVERO:    And Judge, D344, I would move the

  21    admission.

  22               THE COURT:    That's in evidence.

  23               MR. RIVERO:    That has been admitted?

  24               THE COURT:    Yes.

  25               MR. RIVERO:    Your Honor, thank you.

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   1               No further questions.

   2               MS. MCGOVERN:      Andres, I apologize.                    It's 349, my

   3    handwriting.

   4               MR. RIVERO:    I'm sorry, Judge.                     I'm being corrected.

   5               THE COURT:    349 is in evidence.

   6               MR. RIVERO:    It is in evidence.

   7               Thank you.    Thank you, Your Honor.

   8               THE COURT:    All right.

   9               The cross has been completed.

  10               Mr. Brenner, is there a redirect?

  11               MR. BRENNER:     Yes, Your Honor.

  12               THE COURT:    Do you want to start your redirect or

  13    perhaps we'll take our lunch recess a little bit early?

  14               MR. BRENNER:     I think it makes sense to start after

  15    lunch.

  16               THE COURT:    All right.

  17               Then, Ladies and Gentlemen, let's take our one-hour

  18    recess for lunch and I'll see you back here at 1:55.                         Have a

  19    pleasant lunch.

  20         (Jury not present, 12:54 p.m.)

  21               THE COURT:    All right.             Have a pleasant lunch.

  22               MR. BRENNER:     Thank you, Judge.

  23               MR. RIVERO:    Thank you, Judge.

  24         (Recess from 12:54 p.m. to 1:55 p.m.)

  25               THE COURT:    All right.             Welcome back.

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   1               Are we missing anyone?

   2               MR. BRENNER:     Let me grab them.                     Everyone's here.

   3          (Pause in proceedings.)

   4               MR. BRENNER:     Judge, I'm told that Mr. Freedman and

   5    Mr. Roche are both using the restroom.

   6               THE COURT:    All right.             Let me just stress moving

   7    forward that everyone is not here unless they are in the

   8    courtroom.    So I would request that if I give a time, that

   9    everyone is here on time.

  10               MR. BRENNER:     Absolutely, Judge.

  11               MR. RIVERO:    Judge, while we're waiting, I have two

  12    housekeeping matters.       I don't know if I can raise them with

  13    Mr. Brenner.     It's very simple.

  14               One, I forgot to move the admission of 351.

  15               And the other is I forgot, Your Honor, to -- I don't

  16    need to show -- Judge, I forgot to move the admission of 351

  17    and I forgot to just mark one other device.

  18               THE COURT:    All right.             351, any objection?

  19               MR. BRENNER:     Honestly, Judge, I don't know what it

  20    is.

  21               MR. RIVERO:    Here it is right here.

  22               MR. BRENNER:     Go to the next page, please.

  23          (Pause in proceedings.)

  24               MR. BRENNER:     Back one, please.

  25          (Pause in proceedings.)

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   1               MR. BRENNER:     No objection, Judge.

   2         (Defendant's Exhibit 351 received into evidence.)

   3               THE COURT:    All right.             And the next item?

   4               MR. RIVERO:    Judge, if I could have 264 noted for the

   5    record that I didn't show it, but I would show it in the

   6    future.

   7               MR. BRENNER:     Your Honor, these are the devices.

   8               THE COURT:    Yeah.        These are the exemplars and 264 was

   9    not identified.

  10               MR. BRENNER:     And they are just being used for

  11    demonstrative purposes.         I don't object to 264 as a

  12    demonstrative.

  13               THE COURT:    All right, then.

  14               MR. RIVERO:    Judge, I will use it perhaps at some

  15    other moment.     But that's fine.

  16               Thank you.

  17               THE COURT:    All right.

  18               Mr. Kleiman, if you'll step forward.

  19         (Pause in proceedings.)

  20               THE COURT:    All right.             Let's bring in the jury.

  21         (Before the Jury, 1:56 p.m.)

  22               THE COURT:    All right.             Welcome back, Ladies and

  23    Gentlemen.    Please be seated.             I trust everyone had a pleasant

  24    lunch and ready to get back to work.

  25               One or more of you did ask if we were going to have a

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   1    comfort break at 3:30.         Yes, we are.                We may compress it to

   2    about 15 minutes, but we're certainly going to take a break at

   3    that time.

   4                And we'll proceed with the redirect examination.

   5                MR. BRENNER:     Thank you, Your Honor.

   6                May it please the Court.

   7                               REDIRECT EXAMINATION

   8    BY MR. BRENNER:

   9    Q.   Good afternoon, Mr. Kleiman.

  10    A.   Good afternoon.

  11    Q.   I'm going to do my best to make sure that you get off the

  12    stand shortly.

  13         I want to start with you on something that was covered on

  14    Wednesday afternoon and then again on Thursday morning.                      Okay?

  15    A.   Okay.

  16    Q.   Do you recall being questioned by Mr. Rivero about whether

  17    you were aware of any emails where any of your brother's

  18    friends discussed your brother's involvement in Bitcoin?

  19    A.   Yes.

  20    Q.   And on Wednesday afternoon, do you recall identifying a

  21    person who you had recalled seeing an email that discussed that

  22    very topic?

  23    A.   Yes, I do.

  24    Q.   And what was that person's name?

  25    A.   Kimon Andreou.

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   1    Q.   Okay.   So let's write down -- I'm just going to call him

   2    "Kimon" because of my handwriting and my spelling.

   3         Okay.   And then on Thursday, were you asked again if you

   4    knew any emails that may not have been with you, but between

   5    and amongst your brother's friends where they discussed -- any

   6    of them discussed that Dave had talked to them about Bitcoin?

   7    A.   Yes.

   8    Q.   And did you identify another person of that -- that had an

   9    email to that effect?

  10    A.   Patrick Paige.

  11    Q.   Okay.   So let's go "Paige."

  12         So the jury has met Patrick Paige.                       And the jury was

  13    promised during your cross-examination that they would -- that

  14    the Defendant, Dr. Wright -- his counsel promised you that the

  15    jury would hear from Mr. Andreou, but they have not met him

  16    yet.

  17         So who is Kimon Andreou?

  18    A.   He worked with my brother.

  19    Q.   Okay.   And in what capacity did he work with your brother?

  20    A.   I believe they started out working at the Security Doc

  21    company.

  22    Q.   And after -- by the way, was Kimon part of Computer

  23    Forensics, LLC?

  24    A.   No, he's not.

  25    Q.   Did there come a point in time where they stopped working

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   1    together?

   2    A.   I believe so, yes.

   3    Q.   Even after they stopped working together, did they remain

   4    friends?

   5    A.   Yes.    I think Kimon referred to Dave as his best friend.

   6    Q.   Okay.    Okay.

   7         Do you recall that Mr. Rivero seemed surprised that there

   8    was an email from Kimon Andreou that referenced your brother

   9    being one of the co-creators of Bitcoin?

  10    A.   Yes.

  11    Q.   Have you now -- after you mentioned that in your testimony,

  12    have you, in fact, either confirmed that there is such an email

  13    or found out there is not such an email?

  14    A.   Yes.    There is such an email.

  15    Q.   Okay.

  16                MR. BRENNER:     Ms. Vela, if you could bring up for just

  17    the witness and counsel and the Court -- I believe it's P767.

  18                And we're just going to focus -- I think it's just the

  19    top email.

  20    BY MR. BRENNER:

  21    Q.   Again, who is this an email from?

  22    A.   From Kimon.

  23    Q.   Okay.    And who is it to?

  24    A.   To myself.

  25    Q.   Okay.

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   1                MR. BRENNER:     Now, if you could pull back out a bit.

   2    BY MR. BRENNER:

   3    Q.   There had been questions to you by Mr. Rivero where he

   4    pointed out on the bottom of documents there would be a -- what

   5    we call a Bates stamp.         There would be a name or an

   6    abbreviation and a number.             Do you see that?

   7    A.   Yes, I do.

   8    Q.   And he said to you on cross-examination, for example, if it

   9    says "Kleiman" and it has a number, it means that you or

  10    through your lawyers produced it to Dr. Wright's lawyers during

  11    the litigation.     Did you understand that?

  12    A.   Yes.

  13    Q.   Now, this one -- can you just read what the Bates-stamp

  14    modifier is?

  15    A.   Kimon_0000254.

  16                MR. BRENNER:     Your Honor, at this time, we would like

  17    to move P767 into evidence.

  18                MR. RIVERO:    Objection.              Hearsay.

  19                THE COURT:    The redacted parts -- is the jury going to

  20    have the benefit of the entire --

  21                MR. BRENNER:     Oh, I'm sorry, Your Honor.                P767 as

  22    redacted by agreement of the parties.

  23                THE COURT:    All right.             And the objection is on

  24    grounds of hearsay?

  25                MR. RIVERO:    Yes, Your Honor.

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   1                THE COURT:   All right.              And I believe that the door

   2    was opened for the admission of this exhibit.

   3                The objection is overruled and it will be admitted.

   4         (Plaintiff's Exhibit 767 received into evidence.)

   5                MR. BRENNER:     So let's publish that to the jury,

   6    please.

   7    BY MR. BRENNER:

   8    Q.   Okay.    It's -- tell the jury who it's from, who it's to,

   9    and the date it is.

  10    A.   It's from Kimon to myself.

  11    Q.   Okay.    If you look at the -- I guess it's the fourth

  12    paragraph, starts with:          "If all the documents are authentic."

  13    A.   Yes.    Okay.

  14                MR. BRENNER:     Can you highlight that, Ms. Vela.

  15                Thank you.

  16    BY MR. BRENNER:

  17    Q.   Can you read to the jury the email that you received from

  18    Kimon Andreou in 2016 that you were telling Mr. Rivero about

  19    and that was produced to Dr. Wright's lawyers during this

  20    litigation.

  21    A.   "If all the documents are authentic, then with the addition

  22    of the anecdotal information we have from discussions with

  23    Dave, all point to Dave and Craig, indeed, being behind

  24    Bitcoin."

  25    Q.   And when you told Mr. Rivero that you were aware of an

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   1    email from one of Dave's best friends to you saying that

   2    based --

   3               MR. BRENNER:     Well, you know what?                      Take that down for

   4    a second.

   5               If we could go down to the fifth paragraph and just

   6    highlight the first line.

   7    BY MR. BRENNER:

   8    Q.   And can you read that to the jury.

   9    A.   "I am convinced Craig and Dave are the co-creators of

  10    Bitcoin."

  11    Q.   Is that the email that you were telling Mr. Rivero existed

  12    prior to the litigation?

  13    A.   Yes, it is.

  14    Q.   Let -- that one of Dave's best friends, based on him

  15    knowing Dave, what he knew about Craig and Dave's relationship,

  16    that he believed that Craig and Dave were the co-creators of

  17    Bitcoin?

  18               MR. RIVERO:    Your Honor, object to the question's

  19    characterization of the testimony given.

  20               THE COURT:    Rephrase.

  21               Sustained.

  22    BY MR. BRENNER:

  23    Q.   Yeah.   Is this the email -- is this also part of the email

  24    you were referring to when you told Mr. Rivero that you were

  25    aware of an email from one of Dave's best friends saying that

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   1    he was convinced that Craig and Dave were the co-creators of

   2    Bitcoin?

   3    A.   Yes.

   4                MR. BRENNER:     Go back up to the paragraph that --

   5    Ms. Vela, that starts with:              "If all the documents are

   6    authentic."

   7                And just highlight that, please.

   8    BY MR. BRENNER:

   9    Q.   What is the basis for Kimon's opinion that he was convinced

  10    that Craig and Dave are the co-creators of Bitcoin?

  11    A.   He told me that they had a discussion with Dave.

  12    Q.   Okay.    Thank you.

  13                MR. BRENNER:     You could take that down, please.

  14                Thank you.

  15                Let's go to the next -- the Patrick Paige email.

  16                Give me one second.

  17         (Pause in proceedings.)

  18                MR. BRENNER:     And that's P122.                    I believe it's in

  19    evidence, Your Honor.

  20                THE COURT:   It is in evidence.

  21                MR. BRENNER:     I'm sorry.              I have the wrong exhibit

  22    number.

  23         (Pause in proceedings.)

  24                MR. BRENNER:     P867.         And I don't know ...

  25                THE COURT:   It is in evidence.

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   1         (Pause in proceedings.)

   2                MR. BRENNER:     Okay.         I'll bring up the Patrick Paige

   3    email in a second.       We'll move on to the next topic.

   4    BY MR. BRENNER:

   5    Q.   Do you recall discussions with Mr. Rivero -- I think it was

   6    mainly the first day, but maybe the first and second day, where

   7    he questioned you about why -- why Dave would have kept his

   8    involvement in Bitcoin a secret?                   Do you recall that?

   9    A.   Yes, I do.

  10    Q.   And I think there were a few lines of questions.

  11         One was along the lines of:                 Wouldn't he want you to -- to

  12    like, you know, sort of like a -- almost like an

  13    insider-trading stock tip-type deal?

  14    A.   Yes.

  15                MR. RIVERO:    Objection to the form of the question.

  16                THE COURT:    Let's rephrase, please.

  17    BY MR. BRENNER:

  18    Q.   Okay.    The -- did you have occasion in your communications

  19    with Craig Wright where the issue of the secrecy of he and

  20    Dave's involvement in Bitcoin was discussed?

  21    A.   Yes, I did.

  22    Q.   Okay.

  23                MR. BRENNER:     So if we could bring up -- let's bring

  24    up P122.     And I think I'm going to get lucky.

  25                If you could go to Page 3.

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   1    BY MR. BRENNER:

   2    Q.   Okay.   So this is actually --

   3               MR. BRENNER:     On P122, is that -- I believe it's in

   4    evidence, Your Honor.

   5               THE COURT:    It is in evidence.

   6               MR. BRENNER:     Okay.         Could we have that published to

   7    the jury, please.

   8    BY MR. BRENNER:

   9    Q.   On the first topic, P122, if you look at the email on the

  10    bottom there, when you told Mr. Rivero that you were aware of

  11    emails from another of Dave's friends, Patrick Paige, where he

  12    mentioned discussing Bitcoin with Dave, was this the email you

  13    were referring to?

  14    A.   Yes, it is.

  15    Q.   Okay.

  16               MR. BRENNER:     And can we just highlight the second

  17    sentence -- well, the second -- third sentence.

  18               Right there.     "He mentioned."

  19               No.   No.   "He mentioned."

  20    BY MR. BRENNER:

  21    Q.   And can you read that to the jury, please.

  22    A.   "He mentioned Bitcoin to me a while ago, but we never

  23    discussed it in depth."

  24    Q.   Okay.   And have we now covered the two --

  25               MR. BRENNER:     And by the way, if you could just scroll

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   1    out and look at the Bates stamp on that.

   2    BY MR. BRENNER:

   3    Q.   Do you recognize the Bates stamp, D-E-F-A-U-S -- as what

   4    that stands for?

   5    A.   Yes, I do.

   6    Q.   And what does it stand for?

   7    A.   Oh, "DEFAUS"?

   8    Q.   Yes.

   9    A.   I'm not sure.

  10    Q.   Okay.   Is that a document that you believe your side

  11    produced or the other side produced?

  12    A.   That looks like our side.

  13                MR. BRENNER:     Okay.         And if I could just do one other

  14    housekeeping matter on P767.               If I could use the ELMO for one

  15    second.

  16    BY MR. BRENNER:

  17    Q.   P767 was the document that Mr. Andreou produced -- Kimon

  18    Andreou produced during the litigation.                          I just want to show

  19    you the same document and have you identify if it was produced

  20    not only once to Dr. Wright's lawyers, but it was produced a

  21    second time.

  22         You see that?

  23    A.   Yes, I do.

  24    Q.   Did you produce that document, the Kimon Andreou email that

  25    we just went through talking about your brother -- his opinion

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   1    that your brother was a co-creator of Bitcoin --

   2    A.   Yes.

   3    Q.   -- based on -- did you produce that to Dr. Wright's

   4    lawyers?

   5                MR. RIVERO:    Objection, Judge.                     The document speaks

   6    for itself.

   7                THE COURT:    Overruled.

   8                I'll allow it.

   9                THE WITNESS:     Yes.        I believe so.

  10    BY MR. BRENNER:

  11    Q.   Okay.   Now, if we could go --

  12                MR. BRENNER:     Can I take the ELMO off.

  13                Thank you.

  14    BY MR. BRENNER:

  15    Q.   If we can go back to P122.                We were talking about the issue

  16    of secrecy.     And let's just go through some of the exhibits in

  17    evidence on that.

  18                MR. BRENNER:     If we could go to the last page of that

  19    exhibit, please.

  20    BY MR. BRENNER:

  21    Q.   So we went through this in the examination -- on the direct

  22    examination.     This is the email that ultimately is forwarded

  23    from Patrick to you.       So the body here is Dr. Wright's email.

  24    Do you recognize that?

  25    A.   Yes, I do.

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   1    Q.   Okay.   And from the very get-go, when Dr. Wright is

   2    reaching out -- if you could look at the second sentence --

   3                MR. BRENNER:     If we could highlight that, starting

   4    with:    "Dave and I" and all the way through the line.

   5                All the way through.

   6    BY MR. BRENNER:

   7    Q.   What was Dr. Wright telling you about whether his

   8    association with Dave was public or secret?

   9    A.   He was definitely telling me that it was secret.

  10    Q.   Did there come a time where Dr. Wright forwarded you some

  11    communications between himself and your brother?

  12    A.   Yes.    He sent me some private communications.

  13                MR. BRENNER:     First, if we could go to P120.

  14                And Your Honor, I'm not sure if this is in evidence.

  15                THE COURT:   It isn't -- oh, yes, it is.

  16                MR. BRENNER:     It is.          May I publish it to the jury?

  17                THE COURT:   You may.

  18    BY MR. BRENNER:

  19    Q.   This is an email -- well, we'll start from the top.

  20         Who is this an email from?

  21    A.   From Dr. Wright.

  22    Q.   And to whom?

  23    A.   To myself.

  24    Q.   And the date is 2/16/2014.                Can you orient the jury to

  25    about when this was in relation to when you first made contact

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   1    with Dr. Wright?

   2    A.    I think it was like a day after --

   3                 MR. BRENNER:     Okay.         And if you go to the paragraph

   4    that starts with "nobody."

   5                 And highlight the whole thing, please.

   6                 The whole thing, please.

   7                 Okay.   Thank you.

   8    BY MR. BRENNER:

   9    Q.    Can you read that to the jury.

  10    A.    "Nobody involved with this wants to ever, even after death,

  11    be known.      The myth is more powerful than all of us combined.

  12    I want Dave's family to know.                 But please understand he would

  13    not have wanted the world knowing."

  14    Q.    So this is now 10 months after Dave passed, correct?

  15    A.    Yes.

  16    Q.    And Dr. Wright is asking you to do what regarding the

  17    knowledge -- the knowledge he's giving you regarding Dave's

  18    involvement in Bitcoin?

  19    A.    He wants me to keep the private communications secret.

  20    Q.    Okay.

  21                 MR. BRENNER:     If we could go to P138, which I think is

  22    in evidence, but I would await confirmation before publishing

  23    it.

  24                 THE COURT:   Hold on one second.

  25          (Pause in proceedings.)

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   1                THE COURT:   Yes.        It is in evidence.

   2    BY MR. BRENNER:

   3    Q.   You mentioned this earlier, but I ask you:                        Did there come

   4    a time where Dr. Wright sent you some emails from -- by and

   5    between him and Dave?

   6    A.   Yes.

   7    Q.   Did you like receiving those emails?

   8    A.   Yes, I did.

   9    Q.   Okay.    Did he give you any special instructions with what

  10    you should do with those emails?                   I mean, did he ask you to

  11    commit to anything before he sent you those emails?

  12    A.   I forget his exact wording, but it was something like:

  13    "Please remove them offline.               Put them on a thumb drive," or

  14    something.     He didn't want them getting out.

  15                MR. BRENNER:     So let's look at first the bottom email

  16    on the Bates that ends at 892.

  17                Let's highlight just the bottom email, the March 6th,

  18    2014.

  19                Great.   Thank you.

  20    BY MR. BRENNER:

  21    Q.   Is this an email you received from Dr. Wright on or about

  22    March 6th, 2014?

  23    A.   Yes.

  24    Q.   And is this in connection with what you were just

  25    discussing, him -- about him starting to send you emails

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   1    between himself and Dave?

   2    A.   Yes, it is.

   3    Q.   And what does he ask you to do with those emails?

   4    A.   He asked me to promise to delete after reading them.

   5    Q.   And you mentioned on cross-examination a couple times that

   6    the only emails that you have received -- that you have seen

   7    between Dr. Wright and your brother are ones that Dr. Wright

   8    has produced to you; is that correct?

   9    A.   That is correct.

  10    Q.   Either he has sent to you -- and I'll say in real-time back

  11    then or you've since seen in the litigation; is that correct?

  12    A.   That is correct.

  13    Q.   Okay.

  14               MR. BRENNER:     If we could just go up.

  15               The next email -- well, yeah.                      So -- no, go to the

  16    next one.

  17               No.   Take that down, please.

  18               The next one.

  19    BY MR. BRENNER:

  20    Q.   Do you agree -- do you assent to his request that you keep

  21    the communications between himself, Dr. Wright, and your

  22    brother -- that you agree to keep them secret?

  23    A.   Yes, I did.

  24    Q.   Okay.

  25               MR. BRENNER:     Let's look at what he says in response.

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   1                Can You highlight that, please.

   2    BY MR. BRENNER:

   3    Q.   What is he asking you to do with these emails between him

   4    and your brother?

   5    A.   He's asking me to either delete them or encrypt them.

   6    Q.   Is Dr. Wright's request regarding secrecy of these emails

   7    consistent with your brother keeping it a secret when he was

   8    alive?

   9    A.   Yes, it is.

  10    Q.   Okay.    We're going to move to a new topic, Mr. Kleiman.

  11         Do you remember on cross-examination, I think it was

  12    earlier today, where it was in the discussion of Coin-Exch. and

  13    Mr. Rivero said to you:         "Aren't you aware, sir, that

  14    Coin-Exch. -- that Dr. Wright had" -- I think.                        I don't know

  15    the exact words, but essentially Dr. Wright has created six

  16    million lines of code for Coin-Exch.?

  17    A.   Yes.

  18    Q.   That's a lot of code, right?

  19    A.   Yes, it is.

  20    Q.   And you've heard suggestions -- and I think you heard some

  21    in your cross-examination -- that your brother was not a coder,

  22    he was just an editor of papers?

  23    A.   Right.

  24    Q.   Right?    That all Dr. Wright -- that really all that was

  25    going on between them is Dr. Wright would send him a paper and

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   1    your brother would make sure it was edited correctly, right?

   2    A.   Correct.

   3    Q.   Okay.    So let's look at that six million lines of code.

   4                MR. BRENNER:     And if we could bring up P160 for -- not

   5    for the jury.

   6                Your Honor, do you have that as admitted?

   7                THE COURT:    This is on Plaintiffs'?

   8                MR. BRENNER:     Yeah.         P160.

   9                THE COURT:    No.      It is not admitted into evidence.

  10    BY MR. BRENNER:

  11    Q.   Mr. Kleiman, can you -- like we did a few days ago, can you

  12    just -- without going through the contents of the document, can

  13    you describe -- is this an email exchange?

  14    A.   Yes, it is.

  15    Q.   And who is the email exchange between?

  16    A.   From Dr. Wright to myself.

  17    Q.   And you back to him?

  18    A.   Yes.

  19    Q.   Okay.

  20                MR. BRENNER:     Your Honor, we would move P160 into

  21    evidence.

  22                MR. RIVERO:    No objection, Your Honor.

  23                THE COURT:    All right.             Admitted into evidence.

  24         (Defendant's Exhibit 160 received into evidence.)

  25                MR. BRENNER:     And may we publish it to the jury?

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   1                THE COURT:    You may.

   2    BY MR. BRENNER:

   3    Q.   Okay.   So I want to take you down to the very last -- the

   4    paragraph that starts with:              "Dave took."

   5         So is this the reference to the six million lines of code?

   6    A.   Yes.    I believe it is.

   7    Q.   Okay.   So from that document, can we tell for sure who did

   8    the first two million?

   9    A.   No.

  10    Q.   Okay.   So the first two million could be Dr. Wright.                  Let's

  11    say two million.     It could be Wright or someone else, right?

  12    A.   Yes.

  13    Q.   Do we know from this document who did the last four million

  14    lines of code of the six million?

  15         What does Dr. Wright say was Dave's involvement?

  16    A.   He took them and transformed them into six million.

  17    Q.   From two million to six million?

  18    A.   Yes.

  19    Q.   So is the four million Dave?

  20                MR. RIVERO:    Objection.              Calls for speculation.

  21                THE COURT:    Do you want to establish how he has this

  22    knowledge?

  23    BY MR. BRENNER:

  24    Q.   Well, based on this email from Dr. Wright to you, what was

  25    your understanding of who Dr. Wright was saying -- not who

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   1    you -- you didn't know this at this time, right?                      You

   2    weren't --

   3    A.   Correct.

   4    Q.   What was your understanding of who Dr. Wright was saying --

   5    back in 2014, who Dr. Wright was saying generated the last four

   6    million lines of code?

   7               MR. RIVERO:    Your Honor, it's speculation as to the

   8    matter asserted.

   9               THE COURT:    As to the other individual.                  Sustained.

  10    BY MR. BRENNER:

  11    Q.   Not knowing what Dr. Wright meant -- I'm just taking what

  12    you understood -- what you understood -- what did you

  13    understand about this email from Dr. Wright regarding the four

  14    million lines of code?

  15               MR. RIVERO:    Objection, Your Honor.

  16               THE COURT:    The objection would be sustained.

  17               MR. BRENNER:     Okay.         We can take that down.

  18    BY MR. BRENNER:

  19    Q.   I want to talk briefly about the lawsuit that was filed

  20    against Computer Forensics.             Do you recall that?

  21    A.   Yes, I do.

  22    Q.   Okay.

  23               MR. BRENNER:     And I believe that's D005, which is in

  24    evidence, Your Honor.       I believe it's in evidence.

  25               THE COURT:    It is in evidence.

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   1                MR. BRENNER:     May I publish it to the jury?

   2                THE COURT:   You may.

   3                MR. BRENNER:     Thank you.

   4    BY MR. BRENNER:

   5    Q.   You remember going over this document with Mr. Rivero?

   6    A.   Yes.

   7    Q.   Now, you referenced in your cross-examination that the

   8    primary purpose of this lawsuit was regarding domain names; is

   9    that correct?

  10    A.   That is correct.

  11                MR. BRENNER:     So let's go to Paragraph 32.                And we'll

  12    get to the Bitcoin in a second.

  13    BY MR. BRENNER:

  14    Q.   But is this the domain names you were seeking?

  15    A.   Yes, it is.

  16    Q.   And you were seeking those back from Computer Forensics?

  17    A.   Yes.

  18                MR. BRENNER:     Let's go to Paragraph 35.                 And you could

  19    highlight the whole paragraph.

  20                Can we do just 35 without the word "foreclose,"

  21    please.

  22                Thank you.

  23    BY MR. BRENNER:

  24    Q.   Okay.    The first part of that paragraph is referring to

  25    websites.     Is that the domain names?

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   1    A.   Yes, it is.

   2    Q.   Okay.    Are those interchangeable terms for these purposes?

   3    A.   Correct.

   4    Q.   Okay.    And then it says:           "To the extent that Computer

   5    Forensics, Paige, or Conrad have retained any Bitcoin wallets,"

   6    and then it says:      "Were the property" -- at the time, did you

   7    know -- let me ask you this:              At the time of this lawsuit, who

   8    is the only person that had ever suggested to you that Bitcoin

   9    may be on Dave's devices or the devices that the Computer

  10    Forensics folks took because it was part of their business?

  11    A.   Dr. Wright.

  12    Q.   And is that why -- so when you wrote:                            "To the extent they

  13    have it," was that saying that you knew they had it or that you

  14    were you saying that if they did, as Dr. Wright said they did,

  15    that you wanted it back?

  16    A.   Correct.

  17    Q.   And then this lawsuit is ultimately resolved?

  18    A.   Yes, it is.

  19    Q.   And the resolution is what?

  20    A.   We received the domain names back.

  21    Q.   Right.    And had you concluded, when you resolved the

  22    lawsuit, that there was no Bitcoin wallets that were in the

  23    possession of Paige --

  24    A.   That is correct.

  25               MR. RIVERO:    Objection -- I'm sorry.                        Objection.

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   1    Leading.

   2    BY MR. BRENNER:

   3    Q.   What had you concluded regarding whether --

   4                THE COURT:   If you can rephrase, please.

   5    BY MR. BRENNER:

   6    Q.   What had you concluded regarding whether Patrick Paige,

   7    Carter Conrad, or Computer Forensics had any Bitcoin on some of

   8    Dave's devices?

   9    A.   Yeah.    We determined that they didn't have any of Dave's

  10    Bitcoin.

  11    Q.   So you got what they had, which was the domain names?

  12    A.   Yes.

  13    Q.   Okay.    Really quick --

  14                MR. BRENNER:     You could take that down, please,

  15    Ms. Vela.

  16    BY MR. BRENNER:

  17    Q.   Do you recall --

  18                MR. BRENNER:     If we could bring up JE103.

  19                I believe it's in evidence, Your Honor.                         It was used

  20    on cross, but ...

  21                THE COURT:   And this 103 is which -- Defendant's?

  22                MR. BRENNER:     JE.       Joint exhibit.                  I'm sorry.

  23                THE COURT:   All right.              Not a problem.

  24         (Pause in proceedings.)

  25                THE COURT:   It is in evidence.

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   1                MR. BRENNER:     May we publish it to the jury?

   2                THE COURT:   You may.

   3                MR. BRENNER:     Okay.         Thank you.

   4    BY MR. BRENNER:

   5    Q.   Do you recall that when Mr. Rivero was questioning you

   6    about this document --

   7                MR. BRENNER:     If we could highlight, starting on

   8    Friday, February 14th at 2014.

   9    BY MR. BRENNER:

  10    Q.   See that?

  11    A.   Yes, I do.

  12    Q.   And do you remember him saying to you that it was -- that

  13    something looked fishy because this didn't say who it was to

  14    and from and the reply, and said this is a document you

  15    produced and why does it not have that information?

  16    A.   Yes.

  17    Q.   Okay.   First of all, when you produced documents, did you

  18    go and copy them or did you turn it over to document services

  19    to copy your materials?

  20    A.   I believe the document services.

  21    Q.   Okay.   If we scroll down to the Bates stamp, this is, in

  22    fact, a document that you produced, right?

  23    A.   Yes.

  24    Q.   By the way, do you have any doubt that -- do you have any

  25    doubt that, for example, the one we highlighted, and I think

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   1    the one Mr. Rivero talked to you about, was an email written by

   2    Craig Wright on or about February 14, 2014?

   3    A.   No.    I have no doubt.

   4                MR. BRENNER:     I just want to bring up P139 real quick,

   5    which I believe is in evidence, Your Honor.

   6         (Pause in proceedings.)

   7                THE COURT:   It is in evidence.

   8                MR. BRENNER:     Okay.         If we could just go to the Bates

   9    stamp on this document.

  10    BY MR. BRENNER:

  11    Q.   This one's produced by D-E-F-A-U-S.

  12         That's not you, right?

  13    A.   No.

  14                MR. BRENNER:     Okay.         And let's scroll back up to the

  15    email on March 11th, the one in the middle there.

  16                No.   The one in the middle, please.

  17    BY MR. BRENNER:

  18    Q.   Is that the exact same formatting that Mr. Rivero was

  19    questioning whether something fishy had gone on?

  20    A.   Yes.

  21    Q.   Okay.

  22                MR. BRENNER:     Let's just look at one more.              P138,

  23    please.

  24                And let's go to Page 2.

  25                I believe this is in evidence.

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   1    BY MR. BRENNER:

   2    Q.   Again, a document not produced by you, right?

   3    A.   No.

   4    Q.   D-E-F-A-U-S?

   5    A.   No, it isn't.

   6    Q.   Right.    Again, in the exact same formatting as the

   7    documents you produced?

   8    A.   Yes, it is.

   9    Q.   Anything fishy about the way you produced them or the

  10    way -- as far as the formatting or the way that -- whoever is

  11    responsible for D-E-F-A-U-S produced them?

  12    A.   No.

  13    Q.   Okay.    I'm going to switch topics on you.

  14         Do you recall during your cross-examination that you were

  15    asked questions about an email -- I don't think it's an

  16    exchange.     I think it's a single email that you wrote to

  17    someone named Andy Cush?

  18    A.   Yes.    I recall.

  19    Q.   Okay.    And do you recall that Mr. Rivero highlighted part

  20    of that document, which talked about this issue that you have

  21    discussed about how you had been confused about if your brother

  22    had Bitcoin, why did he not spend it?

  23         Do you remember that?

  24    A.   Yes, I do.

  25                MR. BRENNER:     If we could bring up D489, which I

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   1    believe was admitted during cross-examination.

   2    BY MR. BRENNER:

   3    Q.   Okay.   Just so we're clear, the email address Dave K2 is

   4    you in this email?

   5    A.   Yes, it is.

   6    Q.   Okay.   And Mr. Rivero highlighted the last paragraph --

   7                MR. BRENNER:     Just to go really quick, that starts:

   8    "If my brother."     Just start with that sentence and just the

   9    first sentence is great.

  10    BY MR. BRENNER:

  11    Q.   He highlighted that whole thing, right?

  12    A.   Yes.

  13    Q.   He did not highlight the paragraph before, did he?

  14    A.   Correct.

  15                MR. BRENNER:     Okay.         Let's highlight the paragraph

  16    before.

  17    BY MR. BRENNER:

  18    Q.   And can you read to the jury what this email was actually

  19    about, what you were telling Mr. Cush?

  20    A.   "Did you read the article last month about the Taiwanese

  21    guy kidnapped and held for Bitcoin ransom?                             I don't care to put

  22    my family at risk of being abducted for Bitcoins that likely

  23    don't even exist.      If Craig wasn't already able to access the

  24    Bitcoin wallets that he shared with David, he would have asked

  25    to see the drives I have, but he didn't.                           I believe whatever

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   1    hidden Bitcoins exist out there are in Craig's possession.             It

   2    is likely that some of them have been used to build his various

   3    companies and supercomputers."

   4                MR. BRENNER:     You can take that down, Ms. Vela.

   5    BY MR. BRENNER:

   6    Q.   I want to talk to you briefly about Coin-Exch.

   7         Do you recall Mr. Rivero asking you if there had been a

   8    series of communications both yourself with Dr. Wright and also

   9    between respective counsel regarding Coin-Exch.?

  10    A.   Yes.

  11    Q.   And do you recall Mr. Rivero talking to you about

  12    Dr. Wright at some point just on his own sending you a share

  13    certificate?

  14    A.   Yes, I do.

  15    Q.   And do you remember Mr. Rivero asked you if you were aware

  16    that in the corporate records of his company, Coin-Exch., that

  17    it, in fact, had noted that you received shares?

  18    A.   Yes.

  19    Q.   And that Mr. -- Dr. Wright had made all sorts of promises

  20    of how much Coin-Exch. was worth?

  21    A.   Yes.

  22    Q.   And how those changed over time?

  23    A.   Yes.

  24    Q.   Those exchanges, were those -- did they start in 2014?

  25    A.   Yes.   I believe so.

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   1    Q.   Whether it's 2014, 2015, 2016, 2017, 2018, 2019, 2020, up

   2    till today in 2021, regardless of what's shown on any corporate

   3    books of Dr. Wright's company, has the estate of Dave Kleiman

   4    received a single penny from Coin-Exch.?

   5    A.   No, it hasn't.

   6    Q.   Thank you.

   7                MR. BRENNER:     Can you bring up the -- well, let me

   8    just do it this way.

   9                May I borrow your demonstrative?

  10                MR. RIVERO:    Sure.

  11                MR. BRENNER:     Thank you.

  12    BY MR. BRENNER:

  13    Q.   A lot of questions -- you were asked about what was -- the

  14    words changed.     Sometimes they were "deleted" and sometimes

  15    they were "overwritten."

  16         Let me just be very clear with you.                         Did you, in fact, in

  17    2014, '15, '16, '17, '18 -- I believe, were the questions.                         Did

  18    you, in fact, during those time periods, periodically add your

  19    own stuff to some or all of these devices?

  20    A.   Yes.    Many times.

  21    Q.   I'm sorry?

  22    A.   Yes.    Many times.

  23    Q.   Thank you.

  24         At any time when you added something to it, any one of

  25    them, did a message come on the screen that says:                         "The disk is

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   1    full.    You cannot add"?

   2    A.   No.

   3    Q.   In 2014, 2015, 2016, 2017, 2018, did you -- during that

   4    time period -- or time periods -- did you periodically remove

   5    some of the stuff you had added to those devices?

   6    A.   Yes.    Many times.

   7    Q.   Okay.   During that period 2014, 2015, 2016, 2017, 2018, did

   8    you remove any of the stuff of Dave's that was on these devices

   9    when you took them?

  10    A.   No, I didn't.

  11    Q.   And is the stuff -- you testified on direct that the stuff

  12    of Dave's that was on the devices -- let me back up.

  13         On direct, you testified that at some point during the

  14    litigation you turned over the devices to Dr. Wright's counsel.

  15    Do you recall that?

  16    A.   Yes.

  17    Q.   Or that's -- experts hired by Dr. Wright's counsel?

  18    A.   Correct.

  19    Q.   Forensic experts?

  20    A.   Yes.

  21    Q.   And whatever stuff that was -- whatever of Dave's stuff

  22    that was on it in 2014, -- or 2013, when you got them right

  23    after Dave's death, was that stuff on it when you turned it

  24    over to the experts hired by Dr. Wright?

  25    A.   Yes, it was.

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   1    Q.   Okay.   And did you -- is it your understanding that they

   2    inspected them?

   3    A.   Yes.

   4    Q.   Do you know if they copied them?                     I don't know the answer.

   5    Do you know the answer to that?

   6    A.   I think the term used is they "imaged" them.

   7    Q.   "Imaged" them.     Took a duplication of them?

   8    A.   Yes.

   9    Q.   Okay.   To this day, whether it be Dr. Wright's experts,

  10    experts hired by your lawyers, has anyone concluded that there

  11    was Bitcoin or Bitcoin private keys on these devices?

  12    A.   No.

  13    Q.   And the only person that's ever suggested it is who?

  14    A.   Dr. Wright.

  15    Q.   There was discussions with you from Mr. Rivero about

  16    communications you had with two different taxing authorities.

  17    Do you remember that?

  18    A.   Yes.

  19    Q.   Okay.   One taxing authority, the one in Australia, what

  20    were they called?

  21    A.   The Australian Tax Office.

  22    Q.   And then the other taxing authority?

  23    A.   IRS.

  24    Q.   Okay.   And just so it won't get confusing, what was the

  25    last name of the agent that you dealt with in both places?                     Do

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   1    you remember?

   2    A.   Miller.

   3    Q.   Right.    Just a coincidence.              Two different Millers, right?

   4    A.   Yes.

   5    Q.   Okay.    Do you remember their first names?

   6    A.   I think Andrew and Tammy.

   7    Q.   Andrew is which one?

   8    A.   Is from the Australian Tax Office.

   9    Q.   Okay.    And there was some suggestion that you were pursuing

  10    or trying to pursue some sort of tax investigation.                      Is that

  11    what happened?

  12    A.   No, it didn't.

  13    Q.   So how did you first -- a US citizen, as the executor of

  14    the estate of your brother, a -- was your brother a US citizen?

  15    A.   Yes, he was.

  16    Q.   How did you as the -- a US citizen -- as executor of the

  17    estate of a US citizen, how did you first come in contact with

  18    the ATO?

  19    A.   They reached out to me.

  20    Q.   Okay.    And then you did have contact with the IRS, the US

  21    IRS?

  22    A.   Yes.

  23    Q.   How did that happen?         Did you reach out to them?

  24    A.   No.    They also reached out to -- excuse me.                    They reached

  25    out to me.

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   1    Q.   You have water up there?

   2    A.   Yeah.

   3    Q.   Okay.    They reached out to you?

   4    A.   Yes.

   5    Q.   Okay.    And I think you said they were some sort of conduit

   6    or they were forwarding requests from the Australians?

   7    A.   Yes.    I believe they were asking the questions on behalf of

   8    the ATO.

   9    Q.   It was not you who was trying to pursue a tax

  10    investigation?

  11    A.   That's correct.

  12    Q.   New topic.

  13         There was a question to you from Dr. Wright's counsel that

  14    said something to the effect of:                   "Are there any documents that

  15    show that it was Dr. Wright, as opposed to his wife, that

  16    formed W&K with Dave Kleiman?"

  17         Do you remember those questions?

  18    A.   Yes, I do.

  19                MR. BRENNER:     And if we could bring back up P164,

  20    which is in evidence.

  21    BY MR. BRENNER:

  22    Q.   We've looked at this before.                  Remind the jury what it is.

  23    A.   This is an email from Dr. Wright to myself.

  24    Q.   Okay.   Received when?

  25    A.   April 26th, 2014.

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   1    Q.   In this email, does Dr. Wright tell you who formed W&K and

   2    when and for what purpose?

   3    A.   I believe so.

   4    Q.   Okay.   So let's look at the next page.

   5         In 2011, it says:      "Founds a company in USA with Dave

   6    Kleiman, the business associate from forensic and

   7    security-related IT areas."

   8         Do you see that?

   9    A.   Yes, I do.

  10    Q.   And then if you go two lines down, it says:                      "The

  11    established company was W&K Info Defense"; is that correct?

  12    A.   Yes.

  13    Q.   Who did you understand Dr. Wright was telling you in 2011

  14    formed W&K?

  15    A.   My brother and himself.

  16    Q.   And then if you look -- it the next line down, does

  17    Dr. Wright tell you again -- long before this lawsuit exists,

  18    does he tell you the purpose of W&K?

  19    A.   Yes, he does.

  20    Q.   And two of those purposes I think we spent a lot of time on

  21    today, all sorts of research papers and stuff like that, right?

  22    A.   Yes.

  23    Q.   What is the third purpose that Dr. Wright told you in 2014

  24    that W&K was formed for?

  25    A.   To mine Bitcoin.

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   1    Q.   Okay.

   2                MR. BRENNER:     You could take that down, Ms. Vela.

   3                If you could bring back up P733 -- which is in

   4    evidence, Your Honor.

   5                THE COURT:    It is.

   6                MR. BRENNER:     And go to the second page.

   7                Oh, you know what?           I'm sorry.              Go back to the bottom

   8    of the first page, so we can get the beginning of that email.

   9                No.   The bottom.

  10                Right there.     And you -- great.                     Thank you.

  11    BY MR. BRENNER:

  12    Q.   Okay.    So we talked about this on direct exam.                       Do you

  13    remember that?

  14    A.   Yes.

  15    Q.   And do you remember Mr. Rivero also looked at this email

  16    with you?     Do you recall that?

  17    A.   Yes, I do.

  18    Q.   And do you recall that when he looked at it with you, he

  19    didn't talk at all or even show the response from Dr. Wright?

  20    Do you recall that?

  21    A.   Yes.

  22    Q.   Okay.    So let's focus first on what you said.                       This is your

  23    recounting to him.       What are you recounting to him, as far

  24    as -- is this the Thanksgiving dinner story we've heard so --

  25    we've heard about?

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   1    A.   Yes, it is.

   2    Q.   Okay.

   3                MR. BRENNER:     So let's go to the next page.

   4    BY MR. BRENNER:

   5    Q.   So when we read this email, the "I," the pronoun "I," is

   6    referring to whom?

   7    A.   Myself.

   8    Q.   And the pronoun "he" is referring to whom?

   9    A.   My brother.

  10    Q.   Right.    You were recounting a conversation between the two

  11    of you, right?

  12    A.   Yes.

  13    Q.   He tells you -- what does he tell you that he was doing?

  14    What was this project he was working on?

  15    A.   He was creating digital money.

  16    Q.   Okay.    In this --

  17                MR. BRENNER:     Yeah.         If you could go to the next page

  18    where it says it was digital money.

  19                Next -- two lines down.

  20                "And he said it was digital money."

  21    BY MR. BRENNER:

  22    Q.   Okay.    In this email, you're recounting to -- the

  23    conversation -- excuse me.             The conversation you're recounting

  24    to Dr. Wright in an email, are you telling him that you and

  25    your brother are discussing contracts to be submitted to the

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   1    Department of Homeland Security?

   2    A.   No.

   3    Q.   Are you telling Dr. Wright that you and your brother were

   4    discussing various research papers?

   5    A.   No.

   6    Q.   Are you telling Dr. Wright that you and your brother were

   7    discussing these TTAs?

   8    A.   No.

   9    Q.   Okay.    In fact, are you telling Dr. Wright -- as far as

  10    what you and your brother are discussing, you're discussing

  11    digital currency or digital money?

  12    A.   Yes.

  13    Q.   Okay.    Now, he said -- Mr. Rivero said to you:                  "In this

  14    email, Dave Kleiman never says:                  'I partnered with Craig

  15    Wright.'"

  16         Do you remember that?

  17    A.   Yes.

  18    Q.   And that's true, right?             If we look at this email --

  19                MR. BRENNER:     If you go down to where it says:              "I

  20    replied to him," in the middle of the second-to-last paragraph.

  21                You could scroll -- you could do to whole thing there,

  22    the whole paragraph, just the whole paragraph.

  23                You can do the beginning part, starting with "He."

  24    BY MR. BRENNER:

  25    Q.   Okay.    So you're telling him about this rich, foreign guy,

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   1    right?

   2    A.   Yes.

   3    Q.   Okay.    And read what it says:                "I replied to him."

   4         What did you say?

   5    A.   "I replied to him saying:              'Why don't you partner with this

   6    with guy?'"

   7    Q.   Now, what are you talking about?                     Partner on what?

   8    A.   Partner on this creation of digital money.

   9    Q.   Okay.    And what was Dave's response?

  10    A.   He just gave me a blank look and was silent, which was

  11    unusual.

  12    Q.   Okay.    So Dave does not say:               "We did partner."     Right?

  13    A.   Right.

  14    Q.   He looks at you silently, which as I read this, was

  15    unusual.     Meaning, he's, I guess -- was he loud?

  16    A.   What's that?

  17    Q.   You're on the quiet side.              Is your brother on the louder

  18    side?

  19    A.   Yes.    He was definitely on the louder side.

  20    Q.   And you're asking Dr. Wright:                  "Maybe he didn't want to

  21    directly come out and say you guys were already partners."

  22    Right?

  23    A.   Yes.

  24    Q.   But in fairness, Mr. Rivero was absolutely correct.                     Dave

  25    Kleiman did not say in that email -- or Dave Kleiman did not

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   1    say in the conversation with you -- he did not say:                     "We did

   2    partner."    Right?

   3    A.   Correct.

   4    Q.   But let's look at what Craig Wright said.

   5               MR. BRENNER:      If you go to the next paragraph, next

   6    email up, his response.

   7               Nope.   The next email up.                   Next page before.

   8               Nope.

   9               Nope.   Nope.

  10         (Pause in proceedings.)

  11               MR. BRENNER:      Okay.

  12    BY MR. BRENNER:

  13    Q.   Is that the response you got from Craig Wright?

  14    A.   Yes, it is.

  15    Q.   In response to this story you just told him about a

  16    conversation you had with your brother about creating digital

  17    money, where you had suggested that he partner with this rich,

  18    foreign guy, and had asked your brother and he had been

  19    strangely coy about it, what does Dr. Wright say?

  20    A.   "We did partner."

  21    Q.   Does Dr. Wright also go and confirm the other parts of the

  22    story regarding him being -- owning properties and things like

  23    that?

  24    A.   Yes, he does.

  25    Q.   But there's some follow-up to that, isn't there?

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   1                MR. BRENNER:     If we can go to the next email up.

   2    BY MR. BRENNER:

   3    Q.   You're now referring back to the original story because the

   4    original story that you relay to him involved the drawing of a

   5    logo, right?

   6    A.   Yes.

   7    Q.   So you say to Dr. Wright:               "I think the logo he drew for me

   8    had only one line going through the 'B,' not two"?

   9    A.   Yes.

  10    Q.   Does Dr. Wright write back and say:                         "Mr. Kleiman, you're

  11    mistaken.    The logo -- the only thing I did with him is DHS

  12    contracts, things like that"?

  13         Does he do that?

  14    A.   No, he doesn't.

  15    Q.   Okay.   Does he tell you he has no idea what you're talking

  16    about?

  17    A.   No.

  18    Q.   Okay.   Let's see what he does in response.

  19                MR. BRENNER:     Go to the top, please.

  20    BY MR. BRENNER:

  21    Q.   This is his response to your email to him saying that your

  22    brother had drawn the logo for the digital money, right?

  23    A.   Yes, it is.

  24    Q.   And he sends you four logos.                  What did you understand

  25    those -- and he says:        "Here you go.                 This is the first of the

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   1    first.    The later version" -- which is BC with a dollar through

   2    it, right?     The first two are BC?

   3    A.   Yes.

   4    Q.   And then there's one that's a "B" with -- I can't tell.

   5    It's a coin.     It's a "B" coin, right?

   6    A.   Yes.

   7    Q.   And then the last one is the "B" with the line through it?

   8    A.   Yes.

   9                MR. BRENNER:     May I consult with my colleagues, Your

  10    Honor?    May I have a moment?

  11                THE COURT:   You may.

  12         (Pause in proceedings.)

  13                MR. BRENNER:     Mr. Kleiman, thank you for your time

  14    over the last three days.

  15                Your Honor, I have no further questions for the

  16    witness.

  17                THE COURT:   All right.

  18                Ladies and Gentlemen, as I stated at the beginning of

  19    the trial, you have the opportunity to ask questions.                           Is there

  20    anyone that has a question for Mr. Kleiman?                            If you do, just

  21    raise your right hand, just so that I can give you the time to

  22    write your question down.

  23                Is there anyone that has a question for Mr. Kleiman?

  24                All right.   Seeing no hands raised.

  25                At this time, Mr. Kleiman, you may go ahead and have a

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   1    seat at counsel table.

   2         (Witness excused.)

   3               THE COURT:    And the Plaintiffs' next witness.

   4         (Pause in proceedings.)

   5               MR. FREEDMAN:      Your Honor, the Plaintiffs next call

   6    Mr. Jonathan Warren, who will testify in a video deposition

   7    taken July 24th, 2019.

   8               THE COURT:    All right.             Thank you.

   9         (Pause in proceedings.)

  10               MR. FREEDMAN:      May we proceed, Your Honor?

  11               THE COURT:    Yes.       Of course.

  12               MR. FREEDMAN:      Your Honor, I think there's -- there's

  13    an issue with the audio feed.

  14               COURTROOM DEPUTY:          Is it on our end?

  15               MR. FREEDMAN:      It doesn't appear to be working, Your

  16    Honor.

  17               THE COURT:    Liz, can you call IT, so we can ...

  18         (Pause in proceedings.)

  19               THE COURT:    Let's give it a try and we can call IT in

  20    the meantime.     There's no need to take a recess.                   Let's just

  21    give it a try.

  22         (Pause in proceedings.)

  23               THE COURT:    It needs to be louder.

  24               MR. FREEDMAN:      Can we make it louder, Your Honor?

  25               THE COURT:    Yeah.        It needs to be a lot louder.

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   1               MR. FREEDMAN:      Your Honor, I believe the audio

   2    controls are on your side of the bench.

   3               COURTROOM DEPUTY:          They are.             I just need you to play

   4    it.

   5               MR. FREEDMAN:      Sorry?

   6               COURTROOM DEPUTY:          Go ahead and play it again.

   7               MR. FREEDMAN:      Try again.

   8          (Video played 2:51 p.m. - 3:34 p.m.)

   9               MR. BRENNER:     Your Honor, this is a good place to --

  10               THE COURT:    Yes.       Let's go ahead and take a 15-minute

  11    stretch break.

  12               I'll see you back here in 15 minutes.

  13          (Jury not present, 3:34 p.m.)

  14               THE COURT:    Mr. Brenner, how much longer is this

  15    video?

  16               MR. BRENNER:     I think when we --

  17               COURT REPORTER:        I can't hear you.

  18               MR. BRENNER:     Yes.

  19               I think when we checked three minutes ago, it's like

  20    15 more minutes, 16 more minutes now.                       And then we have a

  21    17-minute video.

  22               THE COURT:    17-minute?

  23               MR. BRENNER:     So that's -- that would be the rest of

  24    the day, yeah.

  25               THE COURT:    Okay.        All right, then.

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   1               MR. BRENNER:     Okay.         So -- no.             It's like 15 here and

   2    then a 17-minute in addition.               So I think that will take us

   3    right around 4:30.

   4               THE COURT:    Okay.        All right.

   5               I'll see you back here in 15 minutes.

   6         (Recess from 3:35 p.m. to 3:48 p.m.)

   7               THE COURT:    Back on the record.

   8               Is there anything we need to address?

   9               MR. KASS:    Your Honor, yes, there is.                       It's our

  10    understanding that --

  11               COURT REPORTER:        Who is speaking?

  12               MR. KASS:    Oh, Zalman Kass.

  13               COURT REPORTER:        I'm sorry.              I didn't see you.

  14               MR. KASS:    Okay.       It's our understanding that after

  15    the deposition video that's being played now, Plaintiffs are

  16    then going to play the deposition video of Deborah Kobza.

  17               And we have an objection based on Rule of Evidence

  18    404(b), that the purpose of that testimony is to show that

  19    Plaintiffs believe a contract was not -- or that a contract was

  20    forged; however, that contract had nothing to do with the

  21    issues underlying this case, had nothing to do with Dave

  22    Kleiman, W&K, and is simple propensity evidence.

  23               And the argument is that if he did it over there

  24    before, he did it over there in this case.                            And that's

  25    prohibited.     And for that reason, we would like the Court not

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   1    to permit it.

   2               THE COURT:    All right.

   3               And the sole basis of her testimony is with regard to

   4    an unrelated contract?        I'm not sure who is responding on

   5    behalf of the Plaintiffs.

   6               MR. FREEDMAN:      Good morning, Your Honor -- good

   7    afternoon, Your Honor.

   8               First of all, obviously, the Court has already

   9    accepted objections.      The Court's already ruled on deposition

  10    designations for this witness.                Defendants had an opportunity

  11    to make this objection in the proper time and did not.                         So

  12    that's just an initial matter.

  13               Second of all, that's not true.                        Ms. Kobza is the

  14    president of GICSR, the Global Institute for Cybersecurity &

  15    Research.    When Dr. Wright reaches out to Patrick Paige, he

  16    mentions that Dave Kleiman's fortune may be within a GICSR

  17    trust.

  18               Ms. Kobza testifies that there was no such thing as a

  19    GICSR trust, that millions of dollar's worth of transactions

  20    that Dr. Wright claims occurred through GICSR trusts are

  21    completely fraudulent, that it never happened that way.                         And

  22    she claims that documents that Dr. Wright has produced, as

  23    signed by Ms. Kobza, are forgeries and not her own.

  24               And it shows a pattern of practice of Dr. Wright

  25    forging GICSR-related trust documents that he then represents

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   1    to Patrick Paige are relevant to Dave Kleiman's fortune, and

   2    which Patrick Paige then tells Mr. Kleiman, and then

   3    Mr. Kleiman responds to that.

   4               So that is an inaccurate portrayal of her testimony,

   5    Your Honor.

   6               THE COURT:    And, Mr. Kass, is the GICSR trust related

   7    to this case?

   8               MR. KASS:    Your Honor, there is a mention of a GICSR

   9    trust in an email; however, that contract, my recollection is,

  10    has nothing to do with that trust.                     The simple matter that they

  11    both say:    "GICSR" does not make it relevant to this lawsuit,

  12    that actual contract --

  13               THE COURT:    I appreciate the argument, but that wasn't

  14    my question.

  15               My question is:        Is the GICSR trust related to this

  16    case?

  17               MR. KASS:    It's mentioned in an email as to where

  18    potential Bitcoins could be.

  19               THE COURT:    All right.             So it is related.

  20               Is there anything further?

  21               MR. KASS:    If Your Honor would like me to address the

  22    timing issue, I could also address that.

  23               THE COURT:    I'm sorry?

  24               MR. KASS:    If Your Honor would like me to address the

  25    timing issue as to the objections -- or for the objections, I

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   1    can address that.

   2               THE COURT:    Well, in terms of the timing issue --

   3    you've made an argument under 404.                     And I'm finding that it's

   4    not collateral in the sense that it's related.

   5               So now, with regard to timing, what's the issue with

   6    regard to showing it today?

   7               MR. KASS:    No.     Then there is no issue.

   8               THE COURT:    Okay.

   9               MR. KASS:    I wasn't clear as to Your Honor's ruling.

  10    But now that I am, I have no issue.

  11               THE COURT:    All right.             Then let's bring the jury back

  12    in.

  13               All 10 of them are ready?

  14          (Before the Jury, 3:51 p.m.)

  15               THE COURT:    All right.             Welcome back, Ladies and

  16    Gentlemen.

  17               Please be seated.

  18               And we'll continue with the testimony of Jonathan

  19    Warren.

  20          (Video played 3:52 p.m. - 4:01 p.m.)

  21               MR. FREEDMAN:      Your Honor, the Plaintiffs' next

  22    witness would be Ms. Deborah Kobza by video deposition taken on

  23    December 18th, 2014.

  24               THE COURT:    All right.             Thank you.

  25          (Video played 4:01 p.m. - 4:19 p.m.)

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   1               MR. FREEDMAN:      Your Honor, the next witness we have is

   2    an hour-long video or an hour-and-20 read.                            So it's up to the

   3    Court.

   4               THE COURT:    All right.             So that will be presented on

   5    Monday?

   6               MR. FREEDMAN:      I think so, Your Honor, if that's

   7    acceptable to the Court.

   8               THE COURT:    All right.

   9               Then, at this point, Ladies and Gentlemen, since it's

  10    10 minutes before the time that we were going to adjourn for

  11    the day anyway, why don't we just adjourn early.

  12               Let me thank you, first and foremost, for your

  13    attentiveness, your eagerness to serve, and certainly being

  14    prompt every morning.       I do appreciate it, especially a day

  15    like today.

  16               Let me wish each of you a pleasant weekend.

  17               Please remember that the same rules apply.                         That is,

  18    you are not to discuss this case with anyone.                           You are not to

  19    permit anyone to discuss this case with you.                           Everything

  20    learned about the case is learned within this courtroom.

  21               I would ask that you place your juror notebooks on the

  22    table in the jury room.         It will remain secure.

  23               Next week's schedule will be Monday, Tuesday, and

  24    Wednesday from 10:00 to 5:00 p.m.                   As you know, Thursday is

  25    Veterans Day.     It is a holiday.              And certainly we will honor

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   1    individuals such as Mr. Barnett and Mr. Cabrera.

   2               And then the following day, on Friday, our Chief Judge

   3    has declared that as a court holiday as well.                            So we will not

   4    be in session on this date either.

   5               So Liz will see you out and answer any questions that

   6    you have.    Have a wonderful weekend.                    And if you will plan to

   7    be here Monday morning at 9:45, so we can be ready to come

   8    right into the courtroom.

   9               Have a pleasant weekend.

  10         (Jury not present, 4:20 p.m.)

  11               THE COURT:    All right.             Go ahead and have a seat.

  12               And let's address the additional exhibits that you

  13    have not reached an agreement on.

  14               MR. BRENNER:     Your Honor, can we confer for 15

  15    seconds?

  16               THE COURT:    Yes.       Certainly.

  17         (Pause in proceedings.)

  18               MR. FREEDMAN:      Your Honor, we still have not heard

  19    back about the video deposition exhibits.                             I think Ms. McGovern

  20    wanted to tackle them one by one.

  21               MS. MCGOVERN:      Your Honor, yes.                    We can go over the

  22    exhibits that were referred to in the videos that were -- have

  23    been played thus far.       If you would like, we can go through

  24    with the Plaintiffs one by one.                 We do have objections to

  25    certain of those exhibits.

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   1               THE COURT:    All right.             Have you been able to review

   2    the exhibits to see what you can agree upon?                          So perhaps we can

   3    start there.

   4               MS. MCGOVERN:      Yes.        Yes, Your Honor.             I can tell you

   5    right now.    If you would like, I can just refer to the video

   6    deposition by name.

   7               I'm looking at the exhibits that are referred to in

   8    the deposition of Jimmy Nguyen.                 We have actually objected to

   9    each and every one of the exhibits that are referred to there,

  10    Your Honor.

  11               THE COURT:    I'm sorry.             Let me stop you.          Because I

  12    have a list of Plaintiffs' exhibits to be admitted into

  13    evidence.    And under -- is it Nguyen Number 2?                       And for one is

  14    just three exhibits, the 403, 400, and 460.

  15               Is this what was given to the Court?

  16               MS. MCGOVERN:      Yeah.         Okay.         Your Honor, with respect

  17    to 400, Exhibit 400, we've objected on hearsay and relevance.

  18    It does not have anything to do with this case.                         It's a

  19    contracted services agreement between Jimmy Nguyen and EITC.

  20    Our objection is hearsay and relevance with respect to

  21    Exhibit 400 on that deposition, Your Honor.

  22               THE COURT:    Is there a response?

  23               MR. FREEDMAN:      Your Honor, I would have hoped we'd

  24    have had an opportunity to confer, since we provided it two

  25    days ago.    So I'm looking at the document now.

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   1               THE COURT:    I'm sorry.             Have you conferred?

   2               MS. MCGOVERN:      Yes, Your Honor.                    If I could explain.

   3               We were asked the other day to look at all of the

   4    exhibits that have been referred to in the videotaped

   5    depositions by noon.      We did.           We have objections to them.

   6               And with respect to this deposition, we're simply

   7    stating them because it's our position they're not withdrawing

   8    any of them and we have objected.

   9               So we have conferred.

  10               THE COURT:    All right.

  11               MR. FREEDMAN:      Your Honor -- I'm sorry, Ms. McGovern.

  12    That's not what I consider to be a meet and confer.

  13               We gave you the list of exhibits yesterday morning

  14    right before court started.             We asked you to come back to us by

  15    noon.    You did not come back to us by noon.                         You did not come

  16    back to us last night.        You did not come back to us this

  17    morning or this afternoon --

  18               MS. MCGOVERN:      Wait.         Wait.

  19               MR. FREEDMAN:      What you told me this morning is that

  20    you want --

  21               THE COURT:    Hold on.           Don't -- I don't need you to

  22    speak back to each other.

  23               MR. FREEDMAN:      Your Honor, we have not conferred.

  24               THE COURT:    When did you confer?

  25               MR. FREEDMAN:      We have not conferred, Your Honor.

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   1               THE COURT:    When did you confer, Ms. McGovern?

   2               MS. MCGOVERN:      Your Honor, this is my understanding.

   3    These exhibits to the depositions -- we were asked yesterday

   4    morning -- because we thought that Dr. Wright was going to go

   5    on the stand and they wanted to use these exhibits.

   6               They said:    "Tell us whether you can agree to the

   7    admission of these depositions.                 We're going to move them en

   8    masse to be admitted."

   9               I said:   "Let me look at them."

  10               I looked at them and I told them this morning:                      "We do

  11    not agree.    We have to address to the Court our objections to

  12    these depositions."

  13               THE COURT:    All right.             Did you advise which ones you

  14    didn't agree with or did you just say:                        "We don't agree"?

  15               MS. MCGOVERN:      I said:           "With respect to" -- I said:

  16    "We don't agree.     We have objections to them.                      We can't agree

  17    to the admission."

  18               THE COURT:    Well, but that's not conferring.

  19    Conferring is talking that:             "We can agree to A, B, and C, but

  20    we can't agree to D, E, and, F because of X, Y, and Z."                        I

  21    mean, conferring is discussing the exhibits.

  22               So if you haven't had a meaningful conferral, what I

  23    don't want to do is take the time --

  24               MS. MCGOVERN:      Understood.

  25               THE COURT:    -- when you can come to some agreement and

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   1    then we can truly address the ones that there is evidentiary

   2    basis.

   3               MS. MCGOVERN:      Yes.        I agree we can confer at any time

   4    with the Plaintiffs and we'll do that.

   5               THE COURT:    All right.             So I understand that some

   6    individuals do need to leave at a certain time.                       I would

   7    suggest that if you can take some time this weekend, I'm more

   8    than happy -- Liz, do we -- what time are we done on Monday?

   9         (Pause in proceedings.)

  10               MR. FREEDMAN:      Your Honor, if it helps with

  11    scheduling, I don't believe Dr. Wright will go on before lunch

  12    on Monday.    So if we can meet and confer over the weekend, if

  13    we can reach agreement -- anything that needs resolution, maybe

  14    we could take some time from lunch?

  15               THE COURT:    Could we plan on meeting here Monday

  16    morning at 9:30?

  17               MR. FREEDMAN:      Works for Plaintiff, Your Honor.

  18               MS. MCGOVERN:      That works for the Defendants as well.

  19               THE COURT:    Okay.

  20               MS. MCGOVERN:      And if you would like, I can stay and

  21    we can go over objections right now, Mr. Brenner.

  22               THE COURT:    All right.             Let's have a meaningful

  23    conferral, whether it's here in the courtroom -- you're

  24    certainly free to stay in the courtroom as long as you need

  25    to -- or this weekend.        And then I'll see the parties back here

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   1    at 9:30 on Monday morning.            All right?

   2               MS. MCGOVERN:      Thank you, Your Honor.

   3               THE COURT:    All right.             Have a pleasant weekend.

   4               MR. RIVERO:    You too, Your Honor.                        Thank you.

   5         (Proceedings adjourned at 4:26 p.m.)

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   1    UNITED STATES OF AMERICA                  )

   2    ss:

   3    SOUTHERN DISTRICT OF FLORIDA              )

   4                             C E R T I F I C A T E

   5                I, Yvette Hernandez, Certified Shorthand Reporter in

   6    and for the United States District Court for the Southern

   7    District of Florida, do hereby certify that I was present at

   8    and reported in machine shorthand the proceedings had the 5th

   9    day of November, 2021, in the above-mentioned court; and that

  10    the foregoing transcript is a true, correct, and complete

  11    transcript of my stenographic notes.

  12                I further certify that this transcript contains pages

  13    1 - 182.

  14                IN WITNESS WHEREOF, I have hereunto set my hand at

  15    Miami, Florida this 14th day of November, 2021.

  16

  17                            /s/Yvette Hernandez
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